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                      EXHIBIT 4
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                                     Amazon.com Inc

                                                  v.

                                   WDC Holdings LLC




                                        Timothy Lorman

                                        March 11, 2022




                                      EXHIBIT 4
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                                                    Services

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· · · · · IN THE UNITED STATES DISTRICT COURT                            ·1·   ·APPEARANCES
· · · · ·FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                         ·2·   · · · ·GIBSON, DUNN & CRUTCHER LLP
                                                                         · ·   · · · · · · By Todd W. Shaw, Esq.
· · · · · · · · ·ALEXANDRIA DIVISION                                     ·3·   · · · · · · By Alyse Ullery, Esq.
                                                                         · ·   · · · · · · By Claudia M. Barrett, Esq. (via Zoom)
Case No. 1:20-cv-484-RDA-TCB
                                                                         ·4·   · · · · · · · ·1050 Connecticut Avenue, N.W.
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                    · ·   · · · · · · · ·Washington, D.C. 20036-5306
                                                                         ·5·   · · · · · · · · · Appearing on behalf of Amazon.com,
VIDEO DEPOSITION OF TIMOTHY LORMAN                                       · ·   · · · · · · · · · Inc. and Amazon Data Services, Inc.
March 11, 2022                                                           ·6
                                                                         · ·   ·   ·   ·   ·   BURR & FORMAN LLP
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                    ·7·   ·   ·   ·   ·   · · By Adam Smart, Esq.· (via Zoom)
Plaintiffs:                                                              · ·   ·   ·   ·   ·   · · · ·222 Second Avenue South
                                                                         ·8·   ·   ·   ·   ·   · · · ·Suite 2000
AMAZON.COM, INC. and AMAZON DATA SERVICES, INC.,                         · ·   ·   ·   ·   ·   · · · ·Nashville, Tennessee 37201
                                                                         ·9·   ·   ·   ·   ·   · · · · · Appearing on behalf of Carleton
v.
                                                                         · ·   ·   ·   ·   ·   · · · · · Nelson and Cheshire Ventures
Defendants:                                                              10
                                                                         · ·   · · ·       ·BROWNSTEIN HYATT FARBER SCHRECK, LLP
WDC HOLDINGS LLC dba NORTHSTAR COMMERCIAL PARTNERS,                      11·   · · ·       · · · By Stanley L. Garnett, Esq.
et al.                                                                   · ·   · · ·       · · · By Neil Sandhu, Esq.
                                                                         12·   · · ·       · · · By Sara R. Bodner, Esq. (via Zoom)
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                    · ·   · · ·       · · · · ·410 17th Street
Intervening Interpleader Plaintiff/Intervening                           13·   · · ·       · · · · ·Suite 2200
                                                                         · ·   · · ·       · · · · ·Denver, Colorado 80202
Interpleader Counter-Defendant:                                          14·   · · ·       · · · · · · Appearing on behalf of WDC Holdings
                                                                         · ·   · · ·       · · · · · · LLC, Brian Watson, Sterling NCP FF,
800 HOYT LLC,
                                                                         15·   · · ·       · · · · · · LLC, Manassas NCP FF, LLC, NSIPI
v.                                                                       · ·   · · ·       · · · · · · Administrative Manager, and BW
                                                                         16·   · · ·       · · · · · · Holdings, LLC.
Interpleader Defendants:                                                 17·   ·Also       Present:
BRIAN WATSON, WDC HOLDINGS, LLC, and BW HOLDINGS,                        18·   · · ·       · Casey Kirschner (via Zoom)
                                                                         · ·   · · ·       · Carleton Nelson (via Zoom)
LLC.                                                                     19·   · · ·       · Brian Watson
Interpleader Defendants/Interpleader                                     · ·   · · ·       · Maryvonne Tompkins, Videographer
                                                                         20
Counter-Plaintiffs:                                                      21
                                                                         22
AMAZON.COM, INC. and AMAZON DATA SERVICES, INC.
                                                                         23
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                    24
                                                                         25
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·1·    · · · · · · · Pursuant to Subpoena and the Federal                ·1·   ·Exhibit 3·        ·   ·Purchase Agreement· · · · · · · · · · 98
                                                                         ·2·   ·Exhibit 4·        ·   ·Email to Lorman from· · · · · · · · · 98
·2·    ·Rules of Civil Procedure, the video deposition of                · ·   · · · · · ·        ·   ·Ramstetter, 3/4/2020, Subject:
·3·    ·TIMOTHY LORMAN, called by WDC Holdings LLC, Brian                ·3·   · · · · · ·        ·   ·FW:· Referral and attached
·4·    ·Watson, Sterling NCP FF, LLC, Manassas NCP FF, LLC,              · ·   · · · · · ·        ·   ·emails
                                                                         ·4
·5·    ·NSIPI Administrative Manager, and BW Holdings, LLC,              · ·   ·Exhibit 5·        ·   ·Email to Lorman from Huckel,· · · · · 99
·6·    ·was taken on Friday, March 11, 2022, commencing at               ·5·   · · · · · ·        ·   ·3/5/20, Subject:· RE:
·7·    ·9:11 a.m., at 410 17th Street, Suite 2200, Denver,               · ·   · · · · · ·        ·   ·Additional Files - 1, and
                                                                         ·6·   · · · · · ·        ·   ·attached emails
·8·    ·Colorado, before Sandra L. Bray, Registered Diplomate            ·7·   ·Exhibit 6·        ·   ·Email to Huckel from Lorman,· · · · · 99
·9·    ·Reporter, Certified Realtime Reporter, and Notary                · ·   · · · · · ·        ·   ·3/25/2020, Subject:· Update
10·    ·Public within Colorado.                                          ·8
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11                                                                       ·9·   · · · · · ·        ·   ·In Support of Plaintiffs'
12·    · · · · · · · · · · · ·I N D E X                                  · ·   · · · · · ·        ·   ·Supplemental Memorandum in
13·    ·EXAMINATION OF TIMOTHY LORMAN                                    10·   · · · · · ·        ·   ·Support of Show Cause Order
14·    ·EXAMINATION BY:· · · · · · · · · · · · · · · · · ·PAGE           · ·   · · · · · ·        ·   ·and Plaintiffs' Application
                                                                         11·   · · · · · ·        ·   ·for Preliminary Injunction
15·    · · · Mr. Garnett· · · · · · · · · · · · · · · · 8, 251           12·   ·Exhibit 8·        ·   ·Citywide Banks Outgoing Wire -· · · ·101
16·    · · · Mr. Smart· · · · · · · · · · · · · · · · 152, 263           · ·   · · · · · ·        ·   ·Advice of Debit 6/7/19
17·    · · · Ms. Ullery· · · · · · · · · · · · · · · · · · 181           13
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18                                                                       14·   · · · · · · · ·Worksheet provided by Kyle
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20                                                                       · ·   ·Exhibit 11· · Deed of Lease, IAD175· · · · · · · · 104
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21·    ······        ·   ·Agreement, Northstar                           · ·   ·Exhibit 12· · Exhibit 9,· Transcript of· · · · · · 104
                                                                         18·   · · · · · · · ·Northstar Recording:
··     ······        ·   ·Development, LLC with                          · ·   · · · · · · · ·September 27, 2019
22·    ······        ·   ·"Business Development                          19
··     ······        ·   ·Associate," 1/8/18                             · ·   ·Exhibit 13· · Northstar Commercial· · · · · · · · · --
                                                                         20·   · · · · · · · ·Partners' Response to:
23                                                                       · ·   · · · · · · · ·Amazon Web Services, Inc.
··     ·Exhibit 2·   ·   ·Northstar Commercial· · · · · · · · · 93       21·   · · · · · · · ·North Virginia RFP, 9/20/17
24·    ······        ·   ·Partners Response To:                          22
                                                                         23
··     ······        ·   ·Amazon Web Services, Inc.                      24
25·    ······        ·   ·North Virginia RFP, 9/20/17                    25

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·1·   ·Exhibit 14· · Declaration of Timothy Lorman· · · · 128            ·1·   · · · · · · · WHEREUPON, the following proceedings
· ·   · · · · · · · ·In Support of Plaintiffs'
·2·   · · · · · · · ·Supplemental Memorandum in                          ·2·   ·were taken pursuant to the Federal Rules of Civil
· ·   · · · · · · · ·Support of Show Cause Order
·3·   · · · · · · · ·and Plaintiffs' Application                         ·3·   ·Procedure.
· ·   · · · · · · · ·for Preliminary Injunction,
·4·   · · · · · · · ·Signed                                              ·4·   · · · · · ·*· · · ·*· · · ·*· · · ·*· · · *
·5·   ·Exhibit 15· · Declaration of Luke Gilpin· · · · · · --
· ·   · · · · · · · ·In Support of Plaintiffs'                           ·5·   · · · · · · · (At this time Mr. Casey Kirschner was
·6·   · · · · · · · ·Supplemental Memorandum in                          ·6·   ·not present.)
· ·   · · · · · · · ·Support of Show Cause Order
·7·   · · · · · · · ·and Plaintiffs' Application                         ·7·   · · · · · · · THE VIDEOGRAPHER:· The time is 9:11.· We
· ·   · · · · · · · ·for Preliminary Injunction,
·8                                                                       ·8·   ·are on the record.· Today is March 11th, 2022.· This
· ·   ·Exhibit 16· · Email to Lorman from· · · · · · · · ·186
·9·   · · · · · · · ·Ramstetter, 3/5/2020, Subject:                      ·9·   ·begins the recorded deposition of Timothy Lorman in
· ·   · · · · · · · ·FW:· Sterling Analysis, and
10·   · · · · · · · ·attached emails
                                                                         10·   ·the matter of Amazon.com and Amazon Data Services,
11·   ·Exhibit 17· · Email to Lorman and Christian· · · · 202            11·   ·Inc. versus WDC Holdings, LLC, et al.· This deposition
· ·   · · · · · · · ·Kirschner from Watson, 11/25/19,
12·   · · · · · · · ·Subject:· Re:· Discussion and                       12·   ·is being held at 410 17th Street, Suite 2200 in
· ·   · · · · · · · ·attached emails
13                                                                       13·   ·Denver, Colorado.
· ·   ·Exhibit 18· · Email to Watson from Gray,· · · · · ·207
14·   · · · · · · · ·12/6/19, Subject:· RE:· Call                        14·   · · · · · · · The court reporter is Sandra Bray.· The
· ·   · · · · · · · ·Times?, and attached emails                         15·   ·videographer is Maryvonne Tompkins.
15
· ·   ·Exhibit 19· · Email to Lorman from Gray,· · · · · ·210            16·   · · · · · · · The attorneys will introduce themselves,
16·   · · · · · · · ·3/16/2020, Subject:· FW:· Final
· ·   · · · · · · · ·Manassas Payment, and attached                      17·   ·starting with the Plaintiff, please.
17·   · · · · · · · ·emails
18·   ·Exhibit 20· · Email to Watson, et al. from· · · · ·216            18·   · · · · · · · MS. ULLERY:· Hi, Alyse Ullery,
· ·   · · · · · · · ·Gray, 2/3/2020, Subject:· RE:
19·   · · · · · · · ·Voice Message Attached from                         19·   ·representing Amazon.
· ·   · · · · · · · ·7202492240 - Brian Watson                           20·   · · · · · · · MR. SHAW:· This is Todd Shaw,
20
· ·   ·Exhibit 21· · Exhibit 14, Citywide Banks· · · · · ·224            21·   ·representing the Plaintiffs, Amazon.
21·   · · · · · · · ·Outgoing Wire - Advice of
· ·   · · · · · · · ·Debit, 8/7/19                                       22·   · · · · · · · MR. GARNETT:· Good morning, Mr. Lorman.
22
· ·   ·Exhibit 22· · Exhibit 7, Source:· Splits· · · · · ·226            23·   ·My name is Stan Garnett, and with me is Neil Sandhu;
23·   · · · · · · · ·Worksheet provided by Kyle
24·   ·Exhibit 23· · Email to Watson from Lorman,· · · · ·244            24·   ·and we represent Brian Watson and Northstar and the
· ·   · · · · · · · ·2/14/2020, and attached emails                      25·   ·Watson Defendants.· Nice to meet you.
25
                                                                Page 7                                                           Page 8
·1·   · · · · · · · THE DEPONENT:· Nice to meet you, too.                ·1·   · · · · · · · MR. GARNETT:· Great.· And I believe Sara
·2·   · · · · · · · MR. GARNETT:· Adam?                                  ·2·   ·Bodner from Brownstein is on.· Is that right,
·3·   · · · · · · · MR. SMART:· Good morning.· My name is                ·3·   ·Ms. Bodner?· I've seen her show up.
·4·   ·Adam Smart.· I'm with Burr & Forman, and I represent              ·4·   · · · · · · · Good.· All right.· Is there anybody that
·5·   ·Carleton Nelson and Cheshire Ventures.                            ·5·   ·we've missed?
·6·   · · · · · · · MR. GARNETT:· And I believe Claudia                  ·6·   · · · · · · · All right.· Swear the witness.
·7·   ·Barrett is with us.                                               ·7·   · · · · · · · · · · TIMOTHY LORMAN,
·8·   · · · · · · · MS. BARRETT:· Yes.· Good morning.                    ·8·   ·having been first duly sworn or affirmed, was examined
·9·   ·Claudia Barrett from Gibson Dunn & Crutcher                       ·9·   ·and testified as follows:
10·   ·representing (inaudible).                                         10·   · · · · · · · · · · · EXAMINATION
11·   · · · · · · · MR. GARNETT:· Great.· And --                         11·   ·BY MR. GARNETT:
12·   · · · · · · · MS. BARRETT:· Can you hear me now?                   12·   · · · · ·Q.· ·Good morning, Mr. Lorman.
13·   · · · · · · · MR. GARNETT:· We can, yes.· Thank you.               13·   · · · · ·A.· ·Good morning.
14·   · · · · · · · MS. BARRETT:· Claudia Barrett,                       14·   · · · · ·Q.· ·My name is Stan Garnett, and I represent
15·   ·representing Amazon plaintiffs.                                   15·   ·Brian Watson and the Northstar defendants in this
16·   · · · · · · · MR. GARNETT:· Let me just make sure.· Is             16·   ·case.· It's nice to meet you.· You and I have talked
17·   ·there anybody else listening in either with my firm or            17·   ·on the phone, I think, a couple of times; is that
18·   ·elsewhere that we need to indicate that you're on the             18·   ·right?
19·   ·line?                                                             19·   · · · · ·A.· ·Yes, we have.
20·   · · · · · · · MR. SMART:· Casey Kirschner is on.                   20·   · · · · ·Q.· ·And emailed a little bit about setting
21·   · · · · · · · MR. GARNETT:· Okay.· Thank you,                      21·   ·up the logistics for either a conversation or for this
22·   ·Mr. Kirschner.· Adam, is your client on?                          22·   ·deposition, right?
23·   · · · · · · · Sorry.· Couldn't hear you.                           23·   · · · · ·A.· ·Correct.
24·   · · · · · · · MR. SMART:· Yes, he is.· Carl Nelson is              24·   · · · · ·Q.· ·First of all, just so we're clear,
25·   ·listening in as well.                                             25·   ·you're appearing this morning under a subpoena that

                                                                EXHIBIT 4
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·1·   ·was issued that you received service for; is that         ·1·   · · · · ·A.· ·His name was Brian something.· I don't
·2·   ·right?                                                    ·2·   ·recall.
·3·   · · · · ·A.· ·That is correct.                             ·3·   · · · · ·Q.· ·Okay.· Do you know what firm he was at?
·4·   · · · · ·Q.· ·Okay.· Mr. Lorman, have you ever had         ·4·   · · · · ·A.· ·Yeah, it was a Jester over in the 199
·5·   ·your deposition taken before?                             ·5·   ·building, Jester something.
·6·   · · · · ·A.· ·No.                                          ·6·   · · · · ·Q.· ·Great.· Is this a lawyer that you've
·7·   · · · · ·Q.· ·Okay.· What have you done to prepare for     ·7·   ·worked with before?
·8·   ·your deposition?                                          ·8·   · · · · ·A.· ·I talked to him before I spoke with the
·9·   · · · · ·A.· ·The only thing that I did is I met with      ·9·   ·FBI in this matter.
10·   ·an attorney, who I don't have under representation,       10·   · · · · ·Q.· ·And has he -- did he represent you at
11·   ·just to ask him what the process was for a                11·   ·that stage?
12·   ·deposition --                                             12·   · · · · ·A.· ·No, he did not.
13·   · · · · ·Q.· ·Okay.                                        13·   · · · · ·Q.· ·But you just consulted with him from --
14·   · · · · ·A.· ·-- what I should be aware of and the         14·   · · · · ·A.· ·Just consulted.
15·   ·mechanics of a deposition.                                15·   · · · · ·Q.· ·Let me talk a little bit about -- and
16·   · · · · ·Q.· ·Great.· And how recent was that meeting?     16·   ·this Brian fellow may have told you this, but let me
17·   · · · · ·A.· ·Two, three weeks ago.                        17·   ·talk a little bit about the ground rules for the
18·   · · · · ·Q.· ·And who was that lawyer?                     18·   ·deposition.
19·   · · · · ·A.· ·I don't recall his name.· It was -- I'd      19·   · · · · ·A.· ·Okay.
20·   ·have to look it up and see.                               20·   · · · · ·Q.· ·First of all, we have under the rules
21·   · · · · ·Q.· ·Okay.· And I'm not -- obviously, I don't     21·   ·seven hours.· I don't anticipate it's going to take
22·   ·want to know what you guys discussed, but you're          22·   ·that long, but you never know.· As you know, there's a
23·   ·saying that as you sit here today you don't remember      23·   ·lot of lawyers with their fingers in this pie.
24·   ·the name of the lawyer you met with a couple weeks        24·   · · · · · · · I'll be questioning you initially.
25·   ·ago; is that right?                                       25·   · · · · ·A.· ·Okay.
                                                       Page 11                                                          Page 12
·1·   · · · · ·Q.· ·After that, either counsel for the           ·1·   ·orally.· In other words, if I ask you a question that
·2·   ·Plaintiffs or counsel for other Defendants may have       ·2·   ·you use words to answer, don't just go uh-huh or nod
·3·   ·questions, and then I'll probably have some questions     ·3·   ·your head or that kind of thing because that can be
·4·   ·at the end as well.                                       ·4·   ·confusing in the future.· Does that make sense?
·5·   · · · · ·A.· ·Okay.                                        ·5·   · · · · ·A.· ·Yes.
·6·   · · · · ·Q.· ·Does that make sense?                        ·6·   · · · · ·Q.· ·And then finally, as you've probably
·7·   · · · · ·A.· ·It does.                                     ·7·   ·gathered, I've been doing this a while, for better or
·8·   · · · · ·Q.· ·One of the things to watch for is --         ·8·   ·worse, and I've never taken a deposition in 40 years
·9·   ·you're obviously a bright guy and you're obviously        ·9·   ·where I didn't ask a few completely confusing
10·   ·able to figure out what I'm going to ask you before I     10·   ·questions because I'm kind of thinking as I go.· And
11·   ·finish asking it, and a lot of times I can figure out     11·   ·please know that if you answer a question, I'm going
12·   ·what you're going to say before you finish saying it.     12·   ·to assume that you understood what I was asking, and
13·   ·Unlike in a conversation where you can kind of talk       13·   ·if you don't understand what I'm asking, don't be shy
14·   ·over each other, because our court reporter is writing    14·   ·about saying, "I don't understand the question.· Can
15·   ·everything down, you and I need to discipline             15·   ·you clarify?"· All right?
16·   ·ourselves to make sure that you don't answer a            16·   · · · · ·A.· ·Okay.
17·   ·question until I finish asking it and I don't ask the     17·   · · · · ·Q.· ·Great.· So, now, Mr. Lorman, there's two
18·   ·next question until you're finished.· Does that make      18·   ·lawyers from Gibson Dunn here today.· Have you ever
19·   ·sense?                                                    19·   ·met these two folks before?
20·   · · · · ·A.· ·Yes.                                         20·   · · · · ·A.· ·By meet, do you mean face to face or had
21·   · · · · ·Q.· ·Okay.· Now, another thing to watch for       21·   ·any interaction with?
22·   ·is that even though you're on video here, the most        22·   · · · · ·Q.· ·Well, we're going to break it down.
23·   ·important thing that we have is the transcript that is    23·   ·Have you ever met these two folks?
24·   ·being taken of what you and I and the other lawyers       24·   · · · · ·A.· ·I don't recall meeting them, no.
25·   ·say, and it's very important that you answer questions    25·   · · · · ·Q.· ·Have you ever had any interaction with

                                                        EXHIBIT 4
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·1·   ·them?                                                     ·1·   ·conversation, and then they emailed me a draft.
·2·   · · · · ·A.· ·Not that I know of.                          ·2·   · · · · ·Q.· ·Okay.· All right.· Another name that's
·3·   · · · · ·Q.· ·You have had some interaction with           ·3·   ·come up in some of the other depositions is a fellow
·4·   ·Gibson Dunn lawyers, though?                              ·4·   ·named Huckel, an agent named Huckel, who works with
·5·   · · · · ·A.· ·I have.                                      ·5·   ·the FBI.· Do you know who that is?
·6·   · · · · ·Q.· ·Who did you interact with?                   ·6·   · · · · ·A.· ·I do.
·7·   · · · · ·A.· ·Patrick Stokes and one other woman. I        ·7·   · · · · ·Q.· ·Have you ever had a conversation with
·8·   ·think her name was Lora MacDonald or McDowell or          ·8·   ·him?
·9·   ·something like that.                                      ·9·   · · · · ·A.· ·Yes, I have.
10·   · · · · ·Q.· ·And that interaction, was it over the        10·   · · · · ·Q.· ·How many conversations have you had with
11·   ·phone?                                                    11·   ·Mr. Huckel?
12·   · · · · ·A.· ·Yes.                                         12·   · · · · ·A.· ·More than three.
13·   · · · · ·Q.· ·Have you ever met with them?                 13·   · · · · ·Q.· ·Okay.· Have you ever met with him in
14·   · · · · ·A.· ·Face to face?                                14·   ·person?
15·   · · · · ·Q.· ·Uh-huh.                                      15·   · · · · ·A.· ·I did.
16·   · · · · ·A.· ·No.                                          16·   · · · · ·Q.· ·Where did you meet with him in person?
17·   · · · · ·Q.· ·And it's my understanding -- we'll go        17·   · · · · ·A.· ·I met with him here in Denver.
18·   ·through some documents in a bit.· It's my                 18·   · · · · ·Q.· ·Okay.· And have you ever traveled
19·   ·understanding that they actually prepared an affidavit    19·   ·anywhere to meet with him?
20·   ·or a declaration for you at one point.· Is that right?    20·   · · · · ·A.· ·No.
21·   · · · · ·A.· ·Yes.                                         21·   · · · · ·Q.· ·How many times have you met with him
22·   · · · · ·Q.· ·And how was that preparation handled?        22·   ·face to face?
23·   ·Did they email it to you?· Did they -- how did that       23·   · · · · ·A.· ·Once.
24·   ·declaration come to be?                                   24·   · · · · ·Q.· ·Okay.· And we'll get into it in more
25·   · · · · ·A.· ·I believe that we had a phone                25·   ·detail, but I'm trying to put together the timeline
                                                       Page 15                                                          Page 16
·1·   ·here.                                                     ·1·   · · · · ·A.· ·I believe we spoke by phone subsequent
·2·   · · · · ·A.· ·Sure.                                        ·2·   ·to that meeting.
·3·   · · · · ·Q.· ·Roughly when did you meet with him?          ·3·   · · · · ·Q.· ·Okay.· Once, a few times?
·4·   · · · · ·A.· ·I'm going to say it was approximately        ·4·   · · · · ·A.· ·Two or three times.
·5·   ·February of 2020.                                         ·5·   · · · · ·Q.· ·When was the last time you spoke with
·6·   · · · · ·Q.· ·Okay.· And again, one other thing I          ·6·   ·this Huckel guy?
·7·   ·forgot to mention -- and hopefully it's clear -- this     ·7·   · · · · ·A.· ·I don't recall.· If I were to guess, it
·8·   ·is not intended to be an endurance contest.· If you       ·8·   ·was probably April or February -- April or May of that
·9·   ·get tired or want to take a break or go to the            ·9·   ·same year.
10·   ·bathroom or get a glass of water, just let us know,       10·   · · · · ·Q.· ·Of 2020?
11·   ·and as long as there's not a question pending, we're      11·   · · · · ·A.· ·Yeah.
12·   ·happy to make sure you get to do that.· Does that make    12·   · · · · ·Q.· ·All righty.· And have you ever talked
13·   ·sense?                                                    13·   ·with anybody else with the FBI?
14·   · · · · ·A.· ·Yes.                                         14·   · · · · ·A.· ·Yes.
15·   · · · · ·Q.· ·Okay.· So you met with Mr. Huckel.· He       15·   · · · · ·Q.· ·Okay.· Who else?
16·   ·came to Denver, you think, maybe in February of 2020?     16·   · · · · ·A.· ·I talked with two agents on another
17·   · · · · ·A.· ·Right.· Yes.                                 17·   ·matter not related to this matter.· There was a wire
18·   · · · · ·Q.· ·Great.· And had you talked with him on       18·   ·fraud transfer issue that we wrestled with, and I
19·   ·the phone before that?                                    19·   ·spoke to one or two agents regarding that matter.
20·   · · · · ·A.· ·Yes.                                         20·   · · · · ·Q.· ·And if I understand right, that was a
21·   · · · · ·Q.· ·Okay.· How many times do you think you'd     21·   ·matter that also had a connection with Northstar; is
22·   ·talked to him before that?                                22·   ·that right?
23·   · · · · ·A.· ·Two or three times.                          23·   · · · · ·A.· ·Correct.
24·   · · · · ·Q.· ·Okay.· And have you ever had a               24·   · · · · ·Q.· ·Can you explain to me -- I'm not sure I
25·   ·conversation with him since that meeting?                 25·   ·fully understand what that was all about.· What's

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                              13–16    YVer1f
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·1·   ·that?                                                     ·1·   · · · · ·A.· ·Yes.
·2·   · · · · ·A.· ·We had to make a wire transfer payment       ·2·   · · · · ·Q.· ·Who?
·3·   ·to a contractor.· There was an issue of fraud, and        ·3·   · · · · ·A.· ·I think it was me.
·4·   ·that wire transfer got intercepted and misappropriated    ·4·   · · · · ·Q.· ·Okay.· And what happened after you
·5·   ·to some unknown third party.                              ·5·   ·contacted them?
·6·   · · · · ·Q.· ·Okay.· Now, in terms of kind of              ·6·   · · · · ·A.· ·An investigation started, and I didn't
·7·   ·timeline, my understanding is you worked at Northstar     ·7·   ·really have any subsequent information.· It was
·8·   ·roughly from May of 2019 till April of 2020.· Is that     ·8·   ·difficult to contact the FBI for follow-up.· They
·9·   ·about right?                                              ·9·   ·didn't have any information to provide to us, and I
10·   · · · · ·A.· ·That's not correct.                          10·   ·really didn't have any other contact with them
11·   · · · · ·Q.· ·Okay.· What are those years?                 11·   ·subsequent to that.
12·   · · · · ·A.· ·So it's actually March -- I'm going to       12·   · · · · ·Q.· ·You don't remember the name of those two
13·   ·say March 20th of '19 until April 4th or 5.               13·   ·FBI agents?
14·   · · · · ·Q.· ·So I was off by a couple months?             14·   · · · · ·A.· ·I do not.
15·   · · · · ·A.· ·Sure.                                        15·   · · · · ·Q.· ·And was your conversation with them in
16·   · · · · ·Q.· ·And when did this wire fraud situation       16·   ·person or was it over the phone?
17·   ·happen?                                                   17·   · · · · · · · MS. ULLERY:· Objection, compound.
18·   · · · · ·A.· ·As I recall, it was around November or       18·   · · · · ·A.· ·Over the phone.
19·   ·December of '19.                                          19·   · · · · ·Q.· ·(BY MR. GARNETT)· That's true; it was
20·   · · · · ·Q.· ·And how much money was involved in that?     20·   ·compound.· Was it in person?
21·   · · · · ·A.· ·I believe it was approximately               21·   · · · · ·A.· ·It was not in person.
22·   ·$3 million.                                               22·   · · · · ·Q.· ·Was it over the phone?
23·   · · · · ·Q.· ·Okay.· And so you guys -- did                23·   · · · · ·A.· ·Yes.
24·   ·somebody -- somebody from Northstar contact the FBI       24·   · · · · ·Q.· ·All right.· Now, is that the only
25·   ·about that?                                               25·   ·time -- other than what we're going to chat about here
                                                       Page 19                                                          Page 20
·1·   ·involving this case, is that the only time you've ever    ·1·   ·real estate for a company called Denver Real Estate
·2·   ·interacted with the FBI?                                  ·2·   ·Group or DRG.
·3·   · · · · ·A.· ·In my entire life?                           ·3·   · · · · ·Q.· ·Let me make sure I understand your
·4·   · · · · ·Q.· ·Uh-huh.                                      ·4·   ·background.· Where did you go to high school?
·5·   · · · · ·A.· ·To the best of my knowledge, yes.            ·5·   · · · · ·A.· ·Bishop Noll Institute in Hammond,
·6·   · · · · ·Q.· ·And did Mr. Watson know that you'd           ·6·   ·Indiana.
·7·   ·reached out to the FBI in that wire fraud situation?      ·7·   · · · · ·Q.· ·All right.· And when did you graduate?
·8·   · · · · · · · MS. ULLERY:· Objection, speculative.         ·8·   · · · · ·A.· ·1982.
·9·   · · · · ·Q.· ·(BY MR. GARNETT)· You can answer.            ·9·   · · · · ·Q.· ·All right.· Do you have post high school
10·   · · · · ·A.· ·I believe so.                                10·   ·education?
11·   · · · · ·Q.· ·Did you tell him that you did?               11·   · · · · ·A.· ·I do.
12·   · · · · ·A.· ·I believe so.                                12·   · · · · ·Q.· ·Tell me about that.
13·   · · · · ·Q.· ·Or did he tell you to do that?               13·   · · · · ·A.· ·I went to Ball State University for
14·   · · · · ·A.· ·I don't recall.                              14·   ·undergrad.· I had graduate studies at University of
15·   · · · · ·Q.· ·Okay.· Was that money ever recovered?        15·   ·Wisconsin, and then I got graduate studies at
16·   ·What happened with that?                                  16·   ·University of New Mexico.
17·   · · · · ·A.· ·I don't know.                                17·   · · · · ·Q.· ·Okay.· Did you get a degree at Ball
18·   · · · · ·Q.· ·Okay.· So let me back up and ask you         18·   ·State?
19·   ·some questions about your personal background,            19·   · · · · ·A.· ·I did.
20·   ·Mr. Lorman.· How old are you?                             20·   · · · · ·Q.· ·What was that degree in?
21·   · · · · ·A.· ·I am 57.                                     21·   · · · · ·A.· ·Bachelor's of science.
22·   · · · · ·Q.· ·And where do you live?                       22·   · · · · ·Q.· ·In any particular --
23·   · · · · ·A.· ·I live in Littleton, Colorado.               23·   · · · · ·A.· ·Architecture.
24·   · · · · ·Q.· ·And what do you do for a living?             24·   · · · · ·Q.· ·And when did you get that degree?
25·   · · · · ·A.· ·I am the executive managing director of      25·   · · · · ·A.· ·1986.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·Okay.· And then you talked about             ·1·   · · · · ·Q.· ·There's a ski shop in Normal, Illinois?
·2·   ·graduate studies at the University of Wisconsin,          ·2·   · · · · ·A.· ·Yeah, back in the day.
·3·   ·University of New Mexico.· Did you get a degree from      ·3·   · · · · ·Q.· ·Okay.· And how long did you work there?
·4·   ·either of those institutions?                             ·4·   · · · · ·A.· ·Two years.
·5·   · · · · ·A.· ·I did not from University of Wisconsin.      ·5·   · · · · ·Q.· ·What were you doing, sales?
·6·   ·I did from University of New Mexico.                      ·6·   · · · · ·A.· ·Yes.
·7·   · · · · ·Q.· ·Okay.· What did you study at the             ·7·   · · · · ·Q.· ·Okay.· And then after that, what did you
·8·   ·University of Wisconsin?                                  ·8·   ·do?
·9·   · · · · ·A.· ·Recreation administration, education         ·9·   · · · · ·A.· ·Then I went to graduate school at
10·   ·administration.                                           10·   ·University of New Mexico.
11·   · · · · ·Q.· ·And what did you study -- actually,          11·   · · · · ·Q.· ·Okay.· And how long did that last?
12·   ·strike that.· How many -- you can't strike anything       12·   · · · · ·A.· ·Two years.
13·   ·anymore.· Let me just ask a better question,              13·   · · · · ·Q.· ·And what degree did you get there?
14·   ·hopefully.                                                14·   · · · · ·A.· ·Master's degree and Ph.D.
15·   · · · · ·A.· ·Sure.                                        15·   · · · · ·Q.· ·Okay.· In what areas?
16·   · · · · ·Q.· ·How long did you study at the University     16·   · · · · ·A.· ·Education administration.
17·   ·of Wisconsin?                                             17·   · · · · ·Q.· ·Okay.· In both, both the master's and
18·   · · · · ·A.· ·One year.                                    18·   ·the Ph.D.?
19·   · · · · ·Q.· ·And then did you go right to the             19·   · · · · ·A.· ·Correct.
20·   ·University of New Mexico?                                 20·   · · · · ·Q.· ·And if I'm following the timeline
21·   · · · · ·A.· ·I did not.                                   21·   ·correctly, you probably would have gotten those
22·   · · · · ·Q.· ·What did you do after the year at the        22·   ·degrees about 1990.· Is that about right?
23·   ·University of Wisconsin?                                  23·   · · · · ·A.· ·'92 and '93.
24·   · · · · ·A.· ·I moved to Normal, Illinois, and I           24·   · · · · ·Q.· ·Okay.· What did you do for work after
25·   ·worked at a ski shop, scuba shop, backpacking shop.       25·   ·you got those degrees?
                                                       Page 23                                                          Page 24
·1·   · · · · ·A.· ·I worked at Fort Lewis College.              ·1·   · · · · ·A.· ·I worked for them in Wisconsin, in
·2·   · · · · ·Q.· ·Doing what?                                  ·2·   ·Chicago, and in Denver.
·3·   · · · · ·A.· ·I was director of student activities.        ·3·   · · · · ·Q.· ·And were you actually practicing
·4·   · · · · ·Q.· ·And that's in Durango, right?                ·4·   ·architecture?
·5·   · · · · ·A.· ·Correct.                                     ·5·   · · · · ·A.· ·No.
·6·   · · · · ·Q.· ·How long did you do that?                    ·6·   · · · · ·Q.· ·What were you doing there?
·7·   · · · · ·A.· ·Three years.                                 ·7·   · · · · ·A.· ·So I was doing consulting, management
·8·   · · · · ·Q.· ·All right.· What did you do after that?      ·8·   ·consulting.· Gensler had a software product for space
·9·   · · · · ·A.· ·I worked -- I bought a bicycle store in      ·9·   ·management, and I was doing sales and implementation
10·   ·La Crosse, Wisconsin.                                     10·   ·for the software.
11·   · · · · ·Q.· ·Okay.· And did you go back and actually      11·   · · · · ·Q.· ·Do you have any licenses anywhere, like
12·   ·run the store or did you just buy it?                     12·   ·in architecture or anything like that?
13·   · · · · ·A.· ·I did.                                       13·   · · · · ·A.· ·I do not.
14·   · · · · ·Q.· ·How long did you work at that bicycle        14·   · · · · ·Q.· ·Okay.· What did you do after working at
15·   ·store?                                                    15·   ·Gensler?
16·   · · · · ·A.· ·Three years.                                 16·   · · · · ·A.· ·I worked for a company called TIAA-CREF.
17·   · · · · ·Q.· ·And were you kind of                         17·   · · · · ·Q.· ·Okay.· And TIAA-CREF has an office in
18·   ·owner/manager/salesman, that kind of thing?               18·   ·Denver.
19·   · · · · ·A.· ·Yes.                                         19·   · · · · ·A.· ·They do.
20·   · · · · ·Q.· ·What did you do after that?                  20·   · · · · ·Q.· ·Did you work here?
21·   · · · · ·A.· ·Worked for an architecture firm called       21·   · · · · ·A.· ·Yes.
22·   ·Gensler.                                                  22·   · · · · ·Q.· ·And what were you doing there?
23·   · · · · ·Q.· ·Gensler has a Denver office, I believe?      23·   · · · · ·A.· ·I was the director of space planning,
24·   · · · · ·A.· ·They do.                                     24·   ·space strategy.
25·   · · · · ·Q.· ·Where did you work for them?                 25·   · · · · ·Q.· ·And by space, we're talking about office

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·1·   ·space, not rocketships?                                   ·1·   · · · · ·Q.· ·Doing what?
·2·   · · · · ·A.· ·Correct.                                     ·2·   · · · · ·A.· ·I was in consulting for real estate,
·3·   · · · · ·Q.· ·How long did you have that job?              ·3·   ·location analytics and workplace strategy.
·4·   · · · · ·A.· ·Three years.                                 ·4·   · · · · ·Q.· ·Okay.· How long did you work for
·5·   · · · · ·Q.· ·What did you do after that?                  ·5·   ·Colliers?
·6·   · · · · ·A.· ·After that, I worked for a company           ·6·   · · · · ·A.· ·Two years.
·7·   ·called Serco, spelled S-e-r-c-o.                          ·7·   · · · · ·Q.· ·Okay.· And I want to make sure I'm
·8·   · · · · ·Q.· ·All right.· What did you do at Serco?        ·8·   ·keeping track of the time frame on this, although
·9·   · · · · ·A.· ·I did management consulting.                 ·9·   ·it'll all be in the record.· This must get you to the
10·   · · · · ·Q.· ·All right.· How long were you there?         10·   ·mid, early 2000s; is that about right?
11·   · · · · ·A.· ·Two years.                                   11·   · · · · ·A.· ·No, we're probably at -- after I left
12·   · · · · ·Q.· ·Was Serco based in Denver?                   12·   ·Colliers was, I believe, 2015.
13·   · · · · ·A.· ·They were not.· Their U.S. operations        13·   · · · · ·Q.· ·Okay.· Great.· What did you do after
14·   ·are based in Reston, Virginia.                            14·   ·leaving Colliers?
15·   · · · · ·Q.· ·So did you go back to Reston when you        15·   · · · · ·A.· ·Worked for a company called CBRE.
16·   ·worked there?                                             16·   · · · · ·Q.· ·And what did you do there?
17·   · · · · ·A.· ·From time to time.                           17·   · · · · ·A.· ·I was an account director.
18·   · · · · ·Q.· ·Were you based somewhere else but --         18·   · · · · ·Q.· ·CBRE is also a real estate company,
19·   · · · · ·A.· ·I was based in Denver.                       19·   ·isn't it?
20·   · · · · ·Q.· ·Okay.· And what did you do after working     20·   · · · · ·A.· ·Correct.
21·   ·at Serco?                                                 21·   · · · · ·Q.· ·What kind of -- what sector of real
22·   · · · · ·A.· ·I worked for a company called Colliers       22·   ·estate are they in?
23·   ·International.                                            23·   · · · · ·A.· ·They're in most different verticals.
24·   · · · · ·Q.· ·Okay.· In Denver?                            24·   ·They don't do residential, per se, except for large
25·   · · · · ·A.· ·Correct.                                     25·   ·multifamily, but primarily commercial real estate.
                                                       Page 27                                                          Page 28
·1·   · · · · ·Q.· ·Okay.· And in the various jobs that          ·1·   · · · · ·A.· ·Correct.
·2·   ·you've described prior to CBRE, had you been involved     ·2·   · · · · ·Q.· ·Is there a particular reason for that?
·3·   ·with commercial real estate anywhere?                     ·3·   · · · · ·A.· ·No.· It seemed that better opportunities
·4·   · · · · ·A.· ·Yes.· I was involved with commercial         ·4·   ·came along, so I took advantage of those.
·5·   ·real estate through Gensler as far as helping             ·5·   · · · · ·Q.· ·When did you first meet Brian Watson?
·6·   ·companies through location analytics understand which     ·6·   · · · · ·A.· ·My interview for the position that I had
·7·   ·properties would be best suited for acquisition.· At      ·7·   ·with Northstar.
·8·   ·TIAA-CREF, I was responsible for all their space          ·8·   · · · · ·Q.· ·Okay.· And let's talk about that.· How
·9·   ·strategy, which really informed whether they were         ·9·   ·did you find out about the possibility of working at
10·   ·going to be expanding space in locations, renewing        10·   ·Northstar?
11·   ·leases or canceling leases.· And then at Colliers and     11·   · · · · ·A.· ·I saw a posting on LinkedIn.
12·   ·CBRE, I was involved in managing real estate              12·   · · · · ·Q.· ·Okay.· And what -- do you remember what
13·   ·portfolios.                                               13·   ·was the position that was discussed on that posting?
14·   · · · · ·Q.· ·Okay.· When did you leave working at         14·   · · · · ·A.· ·Chief operating officer.
15·   ·CBRE?                                                     15·   · · · · ·Q.· ·Okay.· And did you respond to that
16·   · · · · ·A.· ·Immediately prior to working for             16·   ·posting?
17·   ·Northstar.                                                17·   · · · · ·A.· ·I did.
18·   · · · · ·Q.· ·Okay.· At any of the jobs that you've        18·   · · · · ·Q.· ·Do you remember when that -- if you
19·   ·gone through in the '80s and '90s, were you terminated    19·   ·started working there in March of 2019, do you
20·   ·from those jobs?                                          20·   ·remember when that posting was?
21·   · · · · ·A.· ·No.                                          21·   · · · · ·A.· ·That I saw it was in early March of
22·   · · · · ·Q.· ·Okay.· You left all of them voluntarily?     22·   ·2019.
23·   · · · · ·A.· ·Yes.                                         23·   · · · · ·Q.· ·So this happened pretty quickly?
24·   · · · · ·Q.· ·It's -- obviously, you stayed at most of     24·   · · · · ·A.· ·It was very quick.
25·   ·them just a couple years.                                 25·   · · · · ·Q.· ·All right.· So you responded to the

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·1·   ·posting?                                                  ·1·   ·was basically several interviews that day, and I met
·2·   · · · · ·A.· ·Uh-huh.                                      ·2·   ·with Brian and two other members of the firm; and then
·3·   · · · · ·Q.· ·And you then had an interview, I take        ·3·   ·I had a second interview with three or four other
·4·   ·it, with Mr. Watson; is that right?                       ·4·   ·members of the firm.
·5·   · · · · ·A.· ·Correct.                                     ·5·   · · · · ·Q.· ·Okay.· And, Mr. Lorman, prior to going
·6·   · · · · ·Q.· ·Okay.· And then when did you get hired?      ·6·   ·to work at Northstar, had you ever had any involvement
·7·   · · · · ·A.· ·About a week after my interview.             ·7·   ·with law enforcement?
·8·   · · · · ·Q.· ·Okay.· Did you have more than one            ·8·   · · · · ·A.· ·I have.
·9·   ·interview at Northstar or did you just interview with     ·9·   · · · · ·Q.· ·And tell me about that.
10·   ·Mr. Watson?                                               10·   · · · · ·A.· ·So in 2006, I joined the Douglas County
11·   · · · · · · · MS. ULLERY:· Objection, compound.            11·   ·Sheriff's Office as a civilian volunteer.· In 2015, I
12·   · · · · ·Q.· ·(BY MR. GARNETT)· You can answer.            12·   ·went to a reserve academy to get a reserve commission
13·   · · · · ·A.· ·Okay.· Sorry.· I wasn't sure.                13·   ·in the State of Colorado.· And from 2015 -- November
14·   · · · · ·Q.· ·That's fine.· Just so you know,              14·   ·is when we graduated -- up until September of this
15·   ·everybody makes objections.· We have a duty to do         15·   ·year, I was a reserve deputy with the Douglas County
16·   ·that.· Unless somebody tells you not to answer, go        16·   ·Sheriff's Office.
17·   ·ahead and answer, but if you don't understand it, let     17·   · · · · ·Q.· ·Are you a reserve deputy anywhere else
18·   ·me know and I'll try to clarify.                          18·   ·or just with the Douglas County Sheriff?
19·   · · · · ·A.· ·Could you repeat the question, please?       19·   · · · · ·A.· ·I'm not one anywhere at this point in
20·   · · · · ·Q.· ·Sure.· Did you just have the one             20·   ·time.
21·   ·interview with Northstar?                                 21·   · · · · ·Q.· ·Right.· Have you ever been a reserve
22·   · · · · ·A.· ·I did not.                                   22·   ·deputy anywhere other than the Douglas County
23·   · · · · ·Q.· ·Who else did you interview with?             23·   ·Sheriff's?
24·   · · · · ·A.· ·So my first interview was by phone with      24·   · · · · ·A.· ·No.
25·   ·Brian.· My second interview was a group interview.· It    25·   · · · · ·Q.· ·And I know sheriff's offices vary in
                                                       Page 31                                                          Page 32
·1·   ·Colorado, and there's 64 of them.· What did being a       ·1·   · · · · ·A.· ·Correct.
·2·   ·reserve officer with Douglas County, what did that        ·2·   · · · · ·Q.· ·During that time, do you have any idea
·3·   ·mean?· What did you do?                                   ·3·   ·how many days or how many hours you worked as a
·4·   · · · · ·A.· ·So sheriffs have different                   ·4·   ·reserve officer?
·5·   ·interpretations of the statutes as far as what they       ·5·   · · · · ·A.· ·Off the top of my head, I averaged
·6·   ·will allow reserves to do.· Our sheriff was more          ·6·   ·between 4 and 600 hours a year.
·7·   ·progressive, and so we were able to operate as a          ·7·   · · · · ·Q.· ·Okay.· And you were doing this work as a
·8·   ·first -- a Level 1 deputy.· And by that, I mean is we     ·8·   ·reserve officer in the Douglas County Sheriff's during
·9·   ·were allowed to go on patrol on our own, do any of the    ·9·   ·the time then that you worked for Northstar?
10·   ·same responsibilities as a Level 1 deputy.                10·   · · · · ·A.· ·Correct.
11·   · · · · ·Q.· ·Were you a peace officer?                    11·   · · · · ·Q.· ·And did you talk to Mr. Watson about
12·   · · · · ·A.· ·Yes.                                         12·   ·doing this work?
13·   · · · · ·Q.· ·And did you carry a weapon?                  13·   · · · · ·A.· ·I believe so.
14·   · · · · ·A.· ·Yes.                                         14·   · · · · ·Q.· ·And I take it he didn't have an
15·   · · · · ·Q.· ·Did you make -- were you authorized to       15·   ·objection to it?
16·   ·make arrests?                                             16·   · · · · ·A.· ·Not that I recall.
17·   · · · · ·A.· ·Yes.                                         17·   · · · · ·Q.· ·Okay.· And is there a reason why you
18·   · · · · ·Q.· ·Okay.· Did you make arrests?                 18·   ·stopped being a reserve officer recently?
19·   · · · · ·A.· ·Yes.                                         19·   · · · · ·A.· ·Yes, the training requirements were
20·   · · · · ·Q.· ·And in your -- so it sounds like you         20·   ·becoming too onerous.· We were approaching a point in
21·   ·were a reserve officer maybe six or seven years.· Is      21·   ·time where they were speculating that the training for
22·   ·that about right?                                         22·   ·2022 would approach 110 hours a year, and as a
23·   · · · · ·A.· ·So since 2015, whatever that math works      23·   ·volunteer, it was just too much to maintain a day job,
24·   ·out to be, yes.                                           24·   ·a family, and then have a part-time gig that required
25·   · · · · ·Q.· ·Until just recently?                         25·   ·that much time.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·Sure.· Makes sense.· Did you have            ·1·   · · · · ·A.· ·I believe it was two men.· One, I
·2·   ·different sheriffs in the time you were a reserve         ·2·   ·believe, was Kyle Henderson, and I don't recall who
·3·   ·officer or was it the same fellow?                        ·3·   ·the other one was.
·4·   · · · · ·A.· ·Same --                                      ·4·   · · · · ·Q.· ·Okay.· And what other interview did you
·5·   · · · · · · · MS. ULLERY:· Objection, relevance.           ·5·   ·have?
·6·   · · · · ·A.· ·Same officer.                                ·6·   · · · · ·A.· ·Then there was a second interview with
·7·   · · · · ·Q.· ·(BY MR. GARNETT)· And who was it?            ·7·   ·more people.
·8·   · · · · ·A.· ·Spurlock, Tony Spurlock.                     ·8·   · · · · ·Q.· ·And do you remember who was in that
·9·   · · · · ·Q.· ·All right.· So you interviewed with          ·9·   ·interview?
10·   ·Mr. Watson in March of 2019 by phone.· And then I take    10·   · · · · ·A.· ·I don't.
11·   ·it you then came and met at the offices; is that          11·   · · · · ·Q.· ·Okay.· Do you remember the kinds of
12·   ·right?                                                    12·   ·questions that people asked in those interviews?
13·   · · · · ·A.· ·Yes.                                         13·   · · · · ·A.· ·I do.
14·   · · · · ·Q.· ·Did you interview again with him in          14·   · · · · ·Q.· ·Tell me about that.
15·   ·person?                                                   15·   · · · · ·A.· ·General questions about what my
16·   · · · · ·A.· ·He was in the office interview, the very     16·   ·experience had been, how I approached interacting with
17·   ·first one.                                                17·   ·people.
18·   · · · · ·Q.· ·Okay.· And was that a group interview?       18·   · · · · ·Q.· ·Okay.· And did you do some research on
19·   · · · · ·A.· ·It was.                                      19·   ·Northstar before you applied there?
20·   · · · · ·Q.· ·Who was in that interview?                   20·   · · · · ·A.· ·I did.
21·   · · · · ·A.· ·I seem to recall there were two other        21·   · · · · ·Q.· ·What kind of research did you do?
22·   ·people who were in that interview.                        22·   · · · · ·A.· ·Basic Web search.
23·   · · · · ·Q.· ·Do you remember who they were?               23·   · · · · ·Q.· ·What did you find out?
24·   · · · · ·A.· ·No.                                          24·   · · · · ·A.· ·Just a little bit about the background,
25·   · · · · ·Q.· ·A man or a woman?                            25·   ·the history.
                                                       Page 35                                                          Page 36
·1·   · · · · ·Q.· ·Okay.· And I take it you were interested     ·1·   ·started?
·2·   ·in that and that's why you applied; is that right?        ·2·   · · · · ·A.· ·Yes.
·3·   · · · · ·A.· ·Yes.                                         ·3·   · · · · ·Q.· ·What kind of interactions did you have
·4·   · · · · ·Q.· ·Okay.· Did you understand that -- well,      ·4·   ·with them?
·5·   ·strike that.· When did you then actually start working    ·5·   · · · · ·A.· ·I didn't interact with them very much.
·6·   ·at Northstar?· Do you remember the first date?            ·6·   ·They weren't in the office much.
·7·   · · · · ·A.· ·It was the Monday of the last day of         ·7·   · · · · ·Q.· ·So you would interact what, by phone?
·8·   ·March of 2019, so 18th, 20th, somewhere around there.     ·8·   · · · · · · · MS. ULLERY:· Objection, form.
·9·   · · · · ·Q.· ·And what did you -- what was your title      ·9·   · · · · ·A.· ·Either email.· Rarely phone, but I'd
10·   ·when you started?                                         10·   ·talk with them when they were in the office.
11·   · · · · ·A.· ·Chief operating officer.                     11·   · · · · ·Q.· ·(BY MR. GARNETT)· What did you
12·   · · · · ·Q.· ·Had you ever been a chief operating          12·   ·understand their responsibilities were at Northstar?
13·   ·officer at anywhere prior to that?                        13·   · · · · ·A.· ·My understanding is they were leading
14·   · · · · ·A.· ·No.                                          14·   ·the project development for the Amazon projects in
15·   · · · · ·Q.· ·What was your salary when you started?       15·   ·Virginia.
16·   · · · · ·A.· ·I believe it was 260,000.                    16·   · · · · ·Q.· ·Okay.· And what -- in your role as chief
17·   · · · · ·Q.· ·Okay.· And how did that compare with         17·   ·operating officer, what involvement did you have in
18·   ·what you'd been making at some of these other jobs?       18·   ·those projects?
19·   ·Was it better?· Was it worse?                             19·   · · · · ·A.· ·I didn't have any at first, but I wanted
20·   · · · · ·A.· ·It was better.                               20·   ·to get involved with that.· So I reached out to them
21·   · · · · ·Q.· ·And when you came to work at Northstar,      21·   ·to try to schedule an opportunity.· They spent a lot
22·   ·did you come to know Kyle Ramstetter and Will             22·   ·of time in Virginia, so I wanted to go to Virginia as
23·   ·Camenson?                                                 23·   ·well to meet with the client and understand the
24·   · · · · ·A.· ·I had interactions with them.                24·   ·projects.
25·   · · · · ·Q.· ·Were they working there when you             25·   · · · · ·Q.· ·Sure.· And why did you want to get

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·1·   ·involved in those projects?                               ·1·   · · · · ·A.· ·No.
·2·   · · · · ·A.· ·Well, from my recollection -- excuse         ·2·   · · · · ·Q.· ·Okay.· Did you ever have any discussion
·3·   ·me --                                                     ·3·   ·with Mr. Watson about referral partners generally?
·4·   · · · · ·Q.· ·Sure.                                        ·4·   · · · · ·A.· ·I don't recall one.
·5·   · · · · ·A.· ·-- this was the largest projects that we     ·5·   · · · · ·Q.· ·Okay.· When did you have this
·6·   ·had in flight, and so I thought that was important, to    ·6·   ·conversation with Mr. Watson about Villanova Trust?
·7·   ·have an understanding of how they were functioning,       ·7·   · · · · ·A.· ·I think the first time that we discussed
·8·   ·who were the players, who were the stakeholders, and      ·8·   ·it was in June.
·9·   ·what the state of the projects were.                      ·9·   · · · · ·Q.· ·Okay.· So prior to that time, you'd not
10·   · · · · ·Q.· ·When you came to work at Northstar,          10·   ·heard anything about Villanova Trust?
11·   ·Mr. Lorman, did you learn about referral programs that    11·   · · · · ·A.· ·I don't recall hearing anything, no.
12·   ·Mr. Watson had had in place at Northstar over the         12·   · · · · ·Q.· ·All right.· You indicated that after you
13·   ·years?                                                    13·   ·started working at Northstar that you got interested
14·   · · · · ·A.· ·I did.                                       14·   ·in the Amazon projects in Virginia; is that right?
15·   · · · · ·Q.· ·Okay.· What did you learn about those        15·   · · · · ·A.· ·Correct.
16·   ·programs?                                                 16·   · · · · ·Q.· ·And you wanted to go visit them?
17·   · · · · ·A.· ·The only thing that I had learned was        17·   · · · · ·A.· ·Correct.
18·   ·that there was one referral partner that was Villanova    18·   · · · · ·Q.· ·Okay.· Did you go to Virginia?
19·   ·Trust, and that's -- the referral was a fee was paid      19·   · · · · ·A.· ·I didn't go to Virginia until September
20·   ·for Villanova Trust to introduce business in the firm.    20·   ·or October.
21·   · · · · ·Q.· ·Okay.· And how did you learn that?           21·   · · · · ·Q.· ·Okay.· And when you did go to Virginia,
22·   · · · · ·A.· ·Brian shared it with me.                     22·   ·did you -- what did you see?
23·   · · · · ·Q.· ·Okay.· And did you ever see on               23·   · · · · ·A.· ·I toured the projects, met with the
24·   ·Northstar's website a video discussing the referral       24·   ·contractor, attended OAC, which is the meetings --
25·   ·partner program?                                          25·   ·project status meetings.
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·1·   · · · · ·Q.· ·Okay.· Did you go to all three               ·1·   ·period of time that bothered you about working there?
·2·   ·locations?                                                ·2·   · · · · ·A.· ·Which period of time again?
·3·   · · · · ·A.· ·Have I visited each of the --                ·3·   · · · · ·Q.· ·From when you first started through
·4·   · · · · ·Q.· ·Yes.· I'm sorry.                             ·4·   ·September 1st of 2019.
·5·   · · · · ·A.· ·Yes, I have.                                 ·5·   · · · · ·A.· ·The only concern that I had is I had
·6·   · · · · ·Q.· ·And was that in that trip to Virginia in     ·6·   ·been approached a couple times about some concerns
·7·   ·September?                                                ·7·   ·with cash flow for the business.
·8·   · · · · ·A.· ·Yes.                                         ·8·   · · · · ·Q.· ·Okay.· And who had approached you with
·9·   · · · · ·Q.· ·Have you been to Virginia to see the         ·9·   ·those concerns?
10·   ·projects more than that one time?                         10·   · · · · ·A.· ·Brent Gray and Kristi Fisher.
11·   · · · · ·A.· ·Yes.                                         11·   · · · · ·Q.· ·And what did you understand their
12·   · · · · ·Q.· ·Okay.· When else?                            12·   ·positions to be?
13·   · · · · ·A.· ·Several times during the course of my        13·   · · · · ·A.· ·Kristi was an office manager, and Brent
14·   ·employment subsequent to September.                       14·   ·Gray was the chief financial officer.
15·   · · · · ·Q.· ·Okay.· But the first time was that           15·   · · · · ·Q.· ·And when they approached you -- strike
16·   ·September trip?                                           16·   ·that.· How many times did they approach you about cash
17·   · · · · ·A.· ·I believe so, yes.                           17·   ·flow concerns?
18·   · · · · ·Q.· ·Okay.· How did you find working for          18·   · · · · ·A.· ·More than once.
19·   ·Mr. Watson and working at Northstar from late March       19·   · · · · ·Q.· ·Okay.· And what kind of issues would
20·   ·until, say, September of 2019?                            20·   ·they bring to your attention?
21·   · · · · ·A.· ·I don't understand what you mean by how      21·   · · · · ·A.· ·Just a concern to make sure that we had
22·   ·did I find.                                               22·   ·funding for payroll.
23·   · · · · ·Q.· ·Did you like it?                             23·   · · · · ·Q.· ·All right.· And when you had those
24·   · · · · ·A.· ·I did.                                       24·   ·conversations with them, did you take any action based
25·   · · · · ·Q.· ·Did you -- was there anything in that        25·   ·on those conversations?

                                                        EXHIBIT 4
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·1·   · · · · ·A.· ·There was really no action I could take,     ·1·   ·officer, right, of WDC Holdings, which was Northstar?
·2·   ·no.                                                       ·2·   · · · · · · · MS. ULLERY:· Objection, form.
·3·   · · · · ·Q.· ·So you just listened to the concerns?        ·3·   · · · · ·A.· ·My title was chief operating officer,
·4·   · · · · ·A.· ·Yes.                                         ·4·   ·but I didn't have any signature authority in the firm.
·5·   · · · · ·Q.· ·Did you ever talk to Mr. Watson about        ·5·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· And we'll go
·6·   ·those issues?                                             ·6·   ·through some documents in a minute, but are you saying
·7·   · · · · ·A.· ·I don't recall doing that, no.               ·7·   ·as you sit here you don't believe you had a fiduciary
·8·   · · · · ·Q.· ·Okay.· Is there a reason you didn't talk     ·8·   ·duty to Northstar?
·9·   ·with him about them?                                      ·9·   · · · · ·A.· ·I do believe I did, yes.
10·   · · · · ·A.· ·Well, Brian, Kristi, and Brent would         10·   · · · · ·Q.· ·And did you ever bring issues of concern
11·   ·have regular meetings to go over the cash flow, and so    11·   ·to Mr. Watson that you'd heard about that you thought
12·   ·I assumed that was taken care of in those meetings.       12·   ·maybe he should be aware of prior to September 1 of
13·   · · · · ·Q.· ·Okay.· Well, so, in other words, you         13·   ·2019?
14·   ·were kind of a sounding board, but you didn't feel a      14·   · · · · ·A.· ·Yes.
15·   ·need to do anything about it?                             15·   · · · · ·Q.· ·What kinds of issues?
16·   · · · · ·A.· ·I don't recall doing --                      16·   · · · · ·A.· ·Anything that had come up.· We would
17·   · · · · · · · MS. ULLERY:· Objection, form.                17·   ·have a regular one-on-one meeting each week, and we
18·   · · · · ·A.· ·I don't recall doing anything, no.           18·   ·had an agenda we would go through where we would talk
19·   · · · · ·Q.· ·(BY MR. GARNETT)· Did they ever ask you      19·   ·about different issues.
20·   ·to do anything?                                           20·   · · · · ·Q.· ·Right.· And if something came up during
21·   · · · · ·A.· ·I don't recall that, no.                     21·   ·the week that you were concerned about, you'd make
22·   · · · · ·Q.· ·Did you understand that you had a            22·   ·sure they got on the agenda and talk to Mr. Watson
23·   ·fiduciary duty to Northstar when you worked there?        23·   ·about it?
24·   · · · · ·A.· ·I don't know what you mean.                  24·   · · · · · · · MS. ULLERY:· Objection, form.
25·   · · · · ·Q.· ·Okay.· Well, you understood you were an      25·   · · · · ·A.· ·Yes.
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·1·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· And those           ·1·   ·to be a good boss?
·2·   ·meetings were just you and Mr. Watson?                    ·2·   · · · · ·A.· ·No.
·3·   · · · · ·A.· ·Correct.                                     ·3·   · · · · ·Q.· ·And why not?
·4·   · · · · ·Q.· ·And you understood, I take it,               ·4·   · · · · ·A.· ·I think that's -- I found that Brian's
·5·   ·Mr. Lorman, that Mr. Watson was pretty hands-on in his    ·5·   ·leadership style didn't align well with what my
·6·   ·management of Northstar.                                  ·6·   ·leadership style was.
·7·   · · · · · · · MS. ULLERY:· Objection, form.                ·7·   · · · · ·Q.· ·Tell me about that.
·8·   · · · · ·Q.· ·(BY MR. GARNETT)· Would you think that's     ·8·   · · · · ·A.· ·I think Brian was a little bit more
·9·   ·correct?                                                  ·9·   ·autocratic, I guess is the right word, and seemed less
10·   · · · · ·A.· ·I would say yes.                             10·   ·collaborative.
11·   · · · · ·Q.· ·And, in fact, that he was not shy about      11·   · · · · ·Q.· ·Okay.· Did you understand -- had you
12·   ·making decisions or addressing issues as he saw them      12·   ·looked into the history of Northstar, kind of where it
13·   ·and saw that as his responsibility?                       13·   ·started and how it had grown through the years?
14·   · · · · · · · MS. ULLERY:· Objection, form.                14·   · · · · ·A.· ·At what point in time?
15·   · · · · ·A.· ·Yes.                                         15·   · · · · ·Q.· ·At any point.
16·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Now, I think        16·   · · · · ·A.· ·I had received anecdotal information
17·   ·you indicated you'd never met Mr. Watson prior to         17·   ·from conversations, but I didn't do anything
18·   ·March of 2019, and then it sounds like you were           18·   ·proactively to deeply research.
19·   ·working with him and interacting almost every day         19·   · · · · ·Q.· ·You understood that Mr. Watson had grown
20·   ·after you started.· Is that about right?                  20·   ·Northstar from pretty much a one-man operation in 2001
21·   · · · · ·A.· ·Yes.                                         21·   ·to what it was in 2019, when you started there, with
22·   · · · · ·Q.· ·Did you enjoy working with him in that       22·   ·him providing the leadership, right?
23·   ·period of time prior to September 1 of 2019?              23·   · · · · · · · MS. ULLERY:· Objection, form.
24·   · · · · ·A.· ·Yes.                                         24·   · · · · ·A.· ·Yes.
25·   · · · · ·Q.· ·And did you find him -- did you find him     25·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· And did you

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·1·   ·understand the importance of the referral partner         ·1·   ·Mr. Lorman, did Northstar have outside counsel that
·2·   ·program during that period of time or you just didn't     ·2·   ·you were aware of?
·3·   ·know anything about that?                                 ·3·   · · · · ·A.· ·Yes.
·4·   · · · · ·A.· ·So the two questions.· Did I understand      ·4·   · · · · ·Q.· ·And who was that?
·5·   ·anything about it?· I didn't understand much, so I        ·5·   · · · · ·A.· ·I think there was a variety of different
·6·   ·don't know that I could speak to its importance.          ·6·   ·outside counsels for a variety of different matters.
·7·   · · · · ·Q.· ·Okay.· When you came to work at              ·7·   ·The firm that I worked with most was Jones & Keller.
·8·   ·Northstar in March of 2019, did you know anything         ·8·   · · · · ·Q.· ·Okay.· Do you remember the names of the
·9·   ·about the Amazon projects?                                ·9·   ·lawyers that you worked with there?
10·   · · · · ·A.· ·No.                                          10·   · · · · ·A.· ·Yes, Lawrence Lee on employment issues
11·   · · · · ·Q.· ·Had they been discussed in your              11·   ·and Kerri Assell on real estate issues.
12·   ·interviews?                                               12·   · · · · ·Q.· ·All right.· And what about auditing?· In
13·   · · · · ·A.· ·I don't recall them being discussed.         13·   ·the time that you were COO of Northstar, were there
14·   · · · · ·Q.· ·When did you first find out that there       14·   ·outside auditors that were involved in any of
15·   ·were projects involving Amazon?                           15·   ·Northstar's work?
16·   · · · · ·A.· ·I believe it was shortly after I             16·   · · · · ·A.· ·Yes.
17·   ·started.                                                  17·   · · · · ·Q.· ·Okay.
18·   · · · · ·Q.· ·All right.· Do you know a person named       18·   · · · · ·A.· ·And that was Plan Moran, Plante Moran.
19·   ·Patricia Watson?                                          19·   · · · · ·Q.· ·All right.· And what about Ernst &
20·   · · · · ·A.· ·I've heard of her.                           20·   ·Young?· Did they have any involvement while you were
21·   · · · · ·Q.· ·Have you ever met her?                       21·   ·there?
22·   · · · · ·A.· ·No.                                          22·   · · · · · · · MS. ULLERY:· Objection, form.
23·   · · · · ·Q.· ·Have you ever talked to her?                 23·   · · · · ·A.· ·I don't recall Ernst & Young being
24·   · · · · ·A.· ·No.                                          24·   ·involved while I was there.
25·   · · · · ·Q.· ·Okay.· When you were at Northstar,           25·   · · · · ·Q.· ·(BY MR. GARNETT)· What kinds -- as COO,
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·1·   ·did you have any involvement with Plante Moran in         ·1·   ·make sure they got delivered?
·2·   ·connection with their audits?                             ·2·   · · · · ·A.· ·No.
·3·   · · · · ·A.· ·No.                                          ·3·   · · · · · · · MR. GARNETT:· Okay.· Great.· Let's take
·4·   · · · · ·Q.· ·Were you aware of what kind of auditing      ·4·   ·a ten-minute break, and we'll come back and start
·5·   ·they were doing?                                          ·5·   ·going through some other things.
·6·   · · · · ·A.· ·No.                                          ·6·   · · · · · · · THE VIDEOGRAPHER:· The time is 9:50.· We
·7·   · · · · ·Q.· ·And do you know whether they ever            ·7·   ·are going off the record.
·8·   ·audited anything in connection to the Amazon              ·8·   · · · · · · · (Recess taken.)
·9·   ·transactions?                                             ·9·   · · · · · · · THE VIDEOGRAPHER:· The time is 10:03.
10·   · · · · ·A.· ·I don't know.                                10·   ·We are back on the record.
11·   · · · · ·Q.· ·Okay.· How did you know that they were       11·   · · · · · · · MR. GARNETT:· Thank you.
12·   ·even involved?                                            12·   · · · · ·Q.· ·(BY MR. GARNETT)· Mr. Lorman, we are
13·   · · · · ·A.· ·Their name had come up when -- there was     13·   ·back on the record, and I'm sure you understand you
14·   ·an issue in preparing K-1s at one point in time, and I    14·   ·remain under oath.
15·   ·think there was an organizational change that had         15·   · · · · ·A.· ·Yes, I do.
16·   ·delayed the delivery of those; and that was a topic of    16·   · · · · ·Q.· ·So I want to talk a little bit about
17·   ·conversation.                                             17·   ·Kyle Ramstetter and Will Camenson.· You indicated when
18·   · · · · ·Q.· ·And again, you were there for about 14       18·   ·you first started working at Northstar in March of
19·   ·months.· So the K-1s would have been prepared when        19·   ·2019 that they were not in the office much.· Is that
20·   ·during that period of time?                               20·   ·right?
21·   · · · · ·A.· ·I believe that that was for the 2019 tax     21·   · · · · ·A.· ·Correct.
22·   ·year.· And so there was some friction about the           22·   · · · · ·Q.· ·Okay.· When did you first actually meet
23·   ·delivery of those.· I believe they were due at the end    23·   ·those two fellows?
24·   ·of January of 2020.                                       24·   · · · · ·A.· ·I don't recall the specific time.
25·   · · · · ·Q.· ·Okay.· And was it part of your job to        25·   · · · · ·Q.· ·Did you eventually meet them?

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·1·   · · · · ·A.· ·I did.                                       ·1·   · · · · ·Q.· ·And when you found out about the Amazon
·2·   · · · · ·Q.· ·Okay.· Was the fact that they were not       ·2·   ·projects, what was your reaction to that?
·3·   ·in the office anything that ever concerned you?           ·3·   · · · · ·A.· ·I was really excited about it because it
·4·   · · · · ·A.· ·Yes.                                         ·4·   ·sounded like it was going to be exciting work, working
·5·   · · · · ·Q.· ·Why did it concern you?                      ·5·   ·with a great client.
·6·   · · · · ·A.· ·Because we didn't feel like we had           ·6·   · · · · ·Q.· ·So if somebody said you came to work at
·7·   ·visibility into what we were working on with this,        ·7·   ·Northstar because of the Amazon projects, that would
·8·   ·that was our largest project.                             ·8·   ·not be correct?
·9·   · · · · ·Q.· ·Now, is it your testimony you didn't         ·9·   · · · · · · · MS. ULLERY:· Objection, leading.
10·   ·know anything about the Amazon projects before you        10·   · · · · ·A.· ·Correct, it was not a motivation.
11·   ·went to work at Northstar?                                11·   · · · · · · · (At this time Mr. Casey Kirschner joined
12·   · · · · ·A.· ·Correct.                                     12·   ·the proceedings.)
13·   · · · · ·Q.· ·In fact, those came up in some of the        13·   · · · · · · · MR. GARNETT:· Did somebody just join us?
14·   ·interview meetings with you, didn't they?                 14·   · · · · · · · MR. SMART:· Yeah, it's Casey.
15·   · · · · · · · MS. ULLERY:· Objection, misstates            15·   · · · · · · · MR. GARNETT:· That's great.· Yeah, I
16·   ·testimony.                                                16·   ·should have checked to see before we got started.
17·   · · · · ·A.· ·I don't recall conversations about           17·   · · · · ·Q.· ·(BY MR. GARNETT)· So you came to work at
18·   ·Amazon in the interviews.                                 18·   ·Northstar because of other reasons other than Amazon?
19·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· So when did you     19·   · · · · ·A.· ·Correct.
20·   ·first find out about the Amazon projects?                 20·   · · · · ·Q.· ·And do you ever remember Mr. Watson
21·   · · · · ·A.· ·I believe it was sometime shortly after      21·   ·talking to you about Will Camenson and Kyle Ramstetter
22·   ·I started employment.                                     22·   ·and asking for your help in managing them?
23·   · · · · ·Q.· ·So maybe late March 2019, maybe early        23·   · · · · · · · MS. ULLERY:· Objection, compound.
24·   ·April?                                                    24·   · · · · ·A.· ·So the first part was do I recall
25·   · · · · ·A.· ·Sure.                                        25·   ·them -- I would say no to both.
                                                       Page 51                                                          Page 52
·1·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· So if somebody      ·1·   ·Will Camenson?
·2·   ·said that Mr. Watson had asked you to help rein them      ·2·   · · · · ·A.· ·I did.· I reached out to them and said
·3·   ·in, that would not be correct?                            ·3·   ·that I wanted to, as I said, travel out to Virginia to
·4·   · · · · · · · MS. ULLERY:· Objection, leading.             ·4·   ·meet with the stakeholders and view the project.
·5·   · · · · ·A.· ·I don't recall a conversation about          ·5·   · · · · ·Q.· ·And when did you first do that?
·6·   ·Brian specifically instructing me.                        ·6·   · · · · ·A.· ·I would expect it was sometime in April.
·7·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Do you think it     ·7·   · · · · ·Q.· ·And how did they respond to that?
·8·   ·didn't happen or you just don't remember?                 ·8·   · · · · ·A.· ·They were negative towards it.
·9·   · · · · · · · MS. ULLERY:· Objection, compound.            ·9·   · · · · ·Q.· ·Negative meaning what?
10·   · · · · ·A.· ·I don't recall.                              10·   · · · · ·A.· ·They were concerned that they were
11·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Have you            11·   ·moving at a pace and had a relationship that they
12·   ·recalled the last name of the lawyer you met with a       12·   ·didn't want me to be disruptive to the project.
13·   ·few days ago?                                             13·   · · · · ·Q.· ·And what was your reaction to that?
14·   · · · · ·A.· ·No.· I didn't spend the time.· I would       14·   · · · · ·A.· ·I said I appreciate their viewpoint, but
15·   ·have looked it up on the break.                           15·   ·my concern was from a continuity perspective, that we
16·   · · · · ·Q.· ·Sure.· I'm just trying to figure out the     16·   ·had two people that we didn't have a lot of visibility
17·   ·memory situation here.· So you don't ever remember        17·   ·into what they were doing who were the only point of
18·   ·Mr. Watson talking to you about his concerns about        18·   ·contact with our largest project, and my concern was
19·   ·Kyle Ramstetter?                                          19·   ·that if something happened to either one of them from
20·   · · · · · · · MS. ULLERY:· Objection, asked and            20·   ·a business continuity perspective, we had no backup.
21·   ·answered.                                                 21·   ·So I wanted to be involved so I could better
22·   · · · · ·A.· ·I specifically do not recall a specific      22·   ·understand.
23·   ·conversation.                                             23·   · · · · ·Q.· ·Of course.· And, of course, your
24·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Did you ever        24·   ·position was COO, right?
25·   ·take any steps to try to manage Kyle Ramstetter and       25·   · · · · ·A.· ·Correct.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·And you considered this kind of thing to     ·1·   · · · · ·A.· ·Correct.· What I did try to do is attend
·2·   ·be the kind of thing you should pay attention to?         ·2·   ·those meetings, but there was nothing else I could do.
·3·   · · · · ·A.· ·Yes.                                         ·3·   ·I didn't have access to anything.
·4·   · · · · ·Q.· ·But you never felt it was your role as       ·4·   · · · · ·Q.· ·Even as COO, you didn't have access to
·5·   ·COO to take any steps in connection with the cash flow    ·5·   ·anything to deal with cash flow?
·6·   ·issues that people brought to you; is that right?         ·6·   · · · · · · · MS. ULLERY:· Objection, asked and
·7·   · · · · · · · MS. ULLERY:· Objection, leading.             ·7·   ·answered.
·8·   · · · · ·A.· ·I attempted to.· I thought it would be       ·8·   · · · · ·A.· ·No.
·9·   ·important for me to be in those cash flow meetings,       ·9·   · · · · ·Q.· ·(BY MR. GARNETT)· So what did you do to
10·   ·but I was told that that was between Brian, Brent, and    10·   ·try to attend those meetings?
11·   ·Kristi.                                                   11·   · · · · ·A.· ·I asked to get invited to the meetings,
12·   · · · · ·Q.· ·(BY MR. GARNETT)· So maybe I                 12·   ·and I was told no.
13·   ·misunderstood your earlier testimony.· You said you       13·   · · · · ·Q.· ·And who did you ask?
14·   ·did attempt to do something after they came and talked    14·   · · · · ·A.· ·I asked Brian.
15·   ·to you?                                                   15·   · · · · ·Q.· ·Okay.· And the meetings, as you
16·   · · · · ·A.· ·I did attempt to attend those meetings.      16·   ·understood it, were between Kristi Fisher, Brent Gray,
17·   · · · · ·Q.· ·Based on their coming and talking to         17·   ·and Brian?
18·   ·you?                                                      18·   · · · · ·A.· ·Correct.
19·   · · · · ·A.· ·Correct.· I thought that would be            19·   · · · · ·Q.· ·Now, are you aware that Brent Gray was
20·   ·appropriate for me to be a part of those                  20·   ·deposed yesterday?
21·   ·conversations.                                            21·   · · · · ·A.· ·No.
22·   · · · · ·Q.· ·Okay.· I just want to make sure I            22·   · · · · ·Q.· ·Okay.· When did you last talk to Brent
23·   ·understand what you're saying.· So earlier when you       23·   ·Gray?
24·   ·said you didn't do anything in reaction to them coming    24·   · · · · ·A.· ·Gosh, I'm going to say it was probably
25·   ·to you, that wasn't quite accurate.· Is that right?       25·   ·late April of 2020, after we both left.
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·1·   · · · · ·Q.· ·Okay.· Did you find him to be a reliable     ·1·   ·and then the same group with Will but not Kyle.
·2·   ·and honest employee at Northstar?                         ·2·   · · · · ·Q.· ·(BY MR. GARNETT)· Right.· And I wasn't
·3·   · · · · ·A.· ·Yes.                                         ·3·   ·actually asking who was at them yet.· I'm just trying
·4·   · · · · ·Q.· ·Okay.· Now, what further steps did you       ·4·   ·to lay a bookend just so we're clear.
·5·   ·take to visit the Virginia locations after, say,          ·5·   · · · · ·A.· ·Sorry.· So your question was a meeting
·6·   ·mid-April of 2019, when you were, it sounds like,         ·6·   ·where they were fired, and they weren't fired at that
·7·   ·rebuffed a bit by Will and Kyle?                          ·7·   ·meeting.
·8·   · · · · ·A.· ·I didn't take any further steps.             ·8·   · · · · ·Q.· ·Right.· There was a meeting in late
·9·   · · · · ·Q.· ·Okay.· How did you happen to get out         ·9·   ·September of 2019 where they were confronted with
10·   ·there in the first part of September?                     10·   ·concerns about what was called the White Peaks
11·   · · · · ·A.· ·It was actually towards the end -- it        11·   ·transaction.· Do you agree with that?
12·   ·was after all of the issues arose with the transaction    12·   · · · · ·A.· ·I agree with that.· There was two
13·   ·that occurred between Kyle and Amazon, and so we took     13·   ·meetings.
14·   ·it upon ourselves to go out there to figure out           14·   · · · · · · · MS. ULLERY:· Objection, leading.
15·   ·exactly, now that they were going to be gone, what do     15·   · · · · ·Q.· ·(BY MR. GARNETT)· And the -- and it was
16·   ·we need to do to step in and pick up -- pick up where     16·   ·after those meetings that you then went out to
17·   ·they left off.                                            17·   ·Virginia to see the projects?
18·   · · · · ·Q.· ·Okay.· And, again, I just want to make       18·   · · · · ·A.· ·Correct.
19·   ·sure the time frame is clear.· We'll go into it in        19·   · · · · ·Q.· ·Who did you go out to Virginia with?
20·   ·some detail, but there was a meeting in late September    20·   · · · · ·A.· ·I believe we brought John Schillingburg,
21·   ·of 2019 where Will Camenson and Kyle Ramstetter were      21·   ·who was our project manager.· I believe that was all.
22·   ·both fired.· Is that your understanding?                  22·   ·It was the two of us.
23·   · · · · · · · MS. ULLERY:· Objection, leading.             23·   · · · · ·Q.· ·Okay.· And did you fly commercial to get
24·   · · · · ·A.· ·There was a meeting between --               24·   ·out there?
25·   ·individually between Brian, Kyle, myself, and Brent,      25·   · · · · ·A.· ·Yes.

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·1·   · · · · ·Q.· ·All right.· Mr. Watson did not go on         ·1·   ·Amazon on that trip?
·2·   ·that trip?                                                ·2·   · · · · ·A.· ·Yeah, we interacted with a gentleman --
·3·   · · · · ·A.· ·No.                                          ·3·   ·I don't recall his name -- who was responsible for
·4·   · · · · ·Q.· ·Okay.· And when you -- how long were you     ·4·   ·facilities management, and part of what we wanted to
·5·   ·in Virginia looking at the projects?                      ·5·   ·understand is what our scope of work would be required
·6·   · · · · ·A.· ·I'm going to estimate two days.              ·6·   ·as the property managers for Amazon.
·7·   · · · · ·Q.· ·Okay.· And did you go to all the             ·7·   · · · · ·Q.· ·And so this fellow whose name you don't
·8·   ·projects?                                                 ·8·   ·remember was a facilities management person with
·9·   · · · · ·A.· ·I believe that we did.· I don't know if      ·9·   ·Amazon?· Is that what you're saying?
10·   ·we went to the Quail Ridge site.· I don't recall, but     10·   · · · · ·A.· ·Correct, correct.
11·   ·I believe that we saw all of them.                        11·   · · · · ·Q.· ·And was he involved in overseeing or
12·   · · · · ·Q.· ·And what condition -- what state were        12·   ·coordinating the construction at all?
13·   ·they in when you went and looked at them there?           13·   · · · · ·A.· ·No, not to my knowledge.· I believe his
14·   · · · · · · · MS. ULLERY:· Objection, vague.               14·   ·role was exclusively once the building was completed
15·   · · · · ·A.· ·As I recall, one building, the very          15·   ·how it was maintained.
16·   ·first, was completed, and the remainders were in          16·   · · · · ·Q.· ·Okay.· And was he keeping an eye on kind
17·   ·various stages of development.                            17·   ·of what stage these projects were in?
18·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· The one that        18·   · · · · · · · MS. ULLERY:· Objection, speculation.
19·   ·was completed, do you remember which of the projects      19·   · · · · ·A.· ·I don't know.
20·   ·it was that was completed at that point?                  20·   · · · · ·Q.· ·(BY MR. GARNETT)· And would you have a
21·   · · · · ·A.· ·It was the first one that we had             21·   ·record anywhere, like a calendar or anything, that
22·   ·started, and as far as completion, our scope of work      22·   ·would help you figure out this guy's name?
23·   ·was completed.· There was still some work that Amazon     23·   · · · · ·A.· ·No.· I don't have access to them.· It
24·   ·was doing on the final fit-out of the building.           24·   ·would have been my Northstar.
25·   · · · · ·Q.· ·Did you interact with anybody from           25·   · · · · ·Q.· ·Okay.· Did you coordinate this trip with
                                                       Page 59                                                          Page 60
·1·   ·him?· Like did you call ahead and say, "Hey, we're        ·1·   · · · · ·A.· ·I believe I stayed at the Hampton Inn,
·2·   ·coming out.· John and I are coming out.· We want to       ·2·   ·which was just, gosh, a couple blocks away from the
·3·   ·meet with you while we're there"?                         ·3·   ·site.
·4·   · · · · ·A.· ·Yes.                                         ·4·   · · · · ·Q.· ·Which site?
·5·   · · · · ·Q.· ·And how did you contact him?                 ·5·   · · · · ·A.· ·The primary -- the first site that was
·6·   · · · · ·A.· ·I would assume it was through email.         ·6·   ·there in Sterling.
·7·   · · · · ·Q.· ·How did you get his name?                    ·7·   · · · · ·Q.· ·Okay.· And were you guys there for --
·8·   · · · · ·A.· ·I believe that we got it through Reed --     ·8·   ·how many nights?· One night, two nights?
·9·   ·don't recall his last name; I think it was Mayer --       ·9·   · · · · · · · MS. ULLERY:· Objection, asked and
10·   ·who was the construction project manager for Amazon.      10·   ·answered.
11·   · · · · ·Q.· ·Okay.· So Reed Mayer                         11·   · · · · ·A.· ·I don't recall specifically.
12·   ·was a contact you got through Northstar?                  12·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Did you rent a
13·   · · · · ·A.· ·Correct.                                     13·   ·car for this trip?
14·   · · · · ·Q.· ·And you reached out to him, and he           14·   · · · · ·A.· ·I assume so, yes.
15·   ·referred you to this other fellow whose name you can't    15·   · · · · ·Q.· ·And was it -- did you and John report
16·   ·remember?                                                 16·   ·back to Brian Watson or anybody at Northstar during
17·   · · · · ·A.· ·As I remember, yes.                          17·   ·the trip?
18·   · · · · ·Q.· ·And you and John went out there for a        18·   · · · · ·A.· ·During the trip, I don't believe so.
19·   ·couple of days?                                           19·   · · · · ·Q.· ·Okay.· Did the fellow from Amazon who
20·   · · · · ·A.· ·Right.                                       20·   ·you met with, this facilities manager, did he express
21·   · · · · ·Q.· ·And among other things, you met with         21·   ·any concerns to you about the status of the projects?
22·   ·him?                                                      22·   · · · · ·A.· ·No.
23·   · · · · ·A.· ·Correct.                                     23·   · · · · ·Q.· ·He seemed pretty pleased?
24·   · · · · ·Q.· ·When you guys went out there, where did      24·   · · · · · · · MS. ULLERY:· Objection, leading.
25·   ·you stay?                                                 25·   · · · · ·A.· ·I don't know that he was pleased.· He

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·1·   ·didn't express any objections or questions about the      ·1·   · · · · ·A.· ·I believe that we had -- there was a
·2·   ·status.                                                   ·2·   ·construction meeting, and I believe that Reed was in
·3·   · · · · ·Q.· ·(BY MR. GARNETT)· Did he express any         ·3·   ·that meeting as well.
·4·   ·concerns about Will Camenson or Kyle Ramstetter?          ·4·   · · · · ·Q.· ·Oh, so you met with Reed in person on
·5·   · · · · ·A.· ·No.                                          ·5·   ·this trip?
·6·   · · · · ·Q.· ·Do you know if he had any idea who those     ·6·   · · · · ·A.· ·I think so.· We've had several trips out
·7·   ·folks were?                                               ·7·   ·there, Stan.· I'm not sure.
·8·   · · · · · · · MS. ULLERY:· Objection, speculation.         ·8·   · · · · ·Q.· ·Sure.· And all you can do is tell me
·9·   · · · · ·A.· ·No.                                          ·9·   ·what you remember, and all I can do is ask until I am
10·   · · · · ·Q.· ·(BY MR. GARNETT)· Did he tour the sites      10·   ·sure I understand what you're saying.
11·   ·with you or did you guys have a meeting with him?         11·   · · · · ·A.· ·Totally understand.
12·   · · · · ·A.· ·We met with him in front of the              12·   · · · · ·Q.· ·So you met Reed at some point?
13·   ·building.· Then we walked around the perimeter of the     13·   · · · · ·A.· ·Yes.
14·   ·buildings, and then we were allowed into the lobby of     14·   · · · · ·Q.· ·Maybe not in that first trip?
15·   ·the building.                                             15·   · · · · ·A.· ·Exactly.
16·   · · · · ·Q.· ·By him?                                      16·   · · · · ·Q.· ·And then it sounds like you had several
17·   · · · · ·A.· ·By him.                                      17·   ·trips out to Virginia after the first trip?
18·   · · · · ·Q.· ·So you were with him, what, maybe an         18·   · · · · ·A.· ·Correct.
19·   ·hour?                                                     19·   · · · · ·Q.· ·Okay.· How many more trips do you think?
20·   · · · · ·A.· ·Hour and a half, yeah.                       20·   · · · · ·A.· ·I'm going to say three or four.
21·   · · · · ·Q.· ·And then when you went to the other          21·   · · · · ·Q.· ·Okay.· And who did you go on those trips
22·   ·sites, did he come along with you?                        22·   ·with?
23·   · · · · ·A.· ·No.                                          23·   · · · · ·A.· ·Various people.· It was either with
24·   · · · · ·Q.· ·Did you meet with anybody from Amazon at     24·   ·John -- I'm trying to think if there's anybody else
25·   ·those other sites?                                        25·   ·who joined us.· Brent may have joined us for one trip.
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·1·   ·I can't think of who else.                                ·1·   · · · · ·Q.· ·And who was with you from Northstar on
·2·   · · · · ·Q.· ·Did you ever travel out there with Brian     ·2·   ·that trip?
·3·   ·Watson?                                                   ·3·   · · · · ·A.· ·John was usually traveling with me, so I
·4·   · · · · ·A.· ·Yeah.· We went out one time with Brian,      ·4·   ·would like to say it was probably -- he was there.
·5·   ·and that trip, the bankers from Santander wanted to       ·5·   · · · · ·Q.· ·Okay.· And you guys flew commercial on
·6·   ·tour the site.· So we all went there to show them         ·6·   ·these trips?
·7·   ·around and show them the properties.                      ·7·   · · · · ·A.· ·Yes.
·8·   · · · · ·Q.· ·And when was that, do you think?             ·8·   · · · · ·Q.· ·This Reed fellow, what does he look
·9·   · · · · ·A.· ·Gosh, I'm going to say that was probably     ·9·   ·like?
10·   ·November-ish.                                             10·   · · · · · · · MS. ULLERY:· Objection, relevance.
11·   · · · · ·Q.· ·And Santander had what role with the         11·   · · · · ·A.· ·He is probably about my height.· I seem
12·   ·project?                                                  12·   ·to recall he had a bushy beard.· Age range, probably
13·   · · · · ·A.· ·They were a lender on that project.          13·   ·early 40s.
14·   · · · · ·Q.· ·Okay.· So it was you, Mr. Watson, some       14·   · · · · ·Q.· ·(BY MR. GARNETT)· And what did you
15·   ·folks from Santander.· Anybody else?                      15·   ·understand his responsibility to be?
16·   · · · · ·A.· ·I believe Luke was out there from IPI.       16·   · · · · ·A.· ·He was the construction project manager,
17·   · · · · ·Q.· ·And did anybody express any concern          17·   ·so he was really the owner's rep for Amazon for the
18·   ·about the status of the projects in that trip?            18·   ·project.
19·   · · · · ·A.· ·No.                                          19·   · · · · ·Q.· ·Okay.· And he didn't express any
20·   · · · · ·Q.· ·Do you remember which of the trips you       20·   ·concerns about the status of the project to you?
21·   ·met Reed on?                                              21·   · · · · · · · MS. ULLERY:· Objection, asked and
22·   · · · · ·A.· ·I don't.· It was somewhere in between        22·   ·answered.
23·   ·those two.                                                23·   · · · · ·A.· ·Actually, Reed did have concerns on our
24·   · · · · ·Q.· ·It was another trip?                         24·   ·reporting.
25·   · · · · ·A.· ·Right.                                       25·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· What were those

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·1·   ·concerns?                                                 ·1·   · · · · ·A.· ·I didn't say that.· I said there were
·2·   · · · · ·A.· ·He had specific reporting that he needed     ·2·   ·questions about the budgets.
·3·   ·to provide to Amazon, and I recall that our work in       ·3·   · · · · ·Q.· ·Were the budgets -- were they over
·4·   ·progress reports weren't -- weren't formatted the way     ·4·   ·budget?
·5·   ·that he needed them formatted.· There was some            ·5·   · · · · ·A.· ·Well, there was some concern on one of
·6·   ·question about those particular reports and updates.      ·6·   ·the projects as far as there was a question about an
·7·   ·He needed updated reports that we were delayed in         ·7·   ·acquisition fee that was taken, whether or not that
·8·   ·getting to him.                                           ·8·   ·was appropriate.
·9·   · · · · ·Q.· ·Okay.· So did you as COO take action         ·9·   · · · · ·Q.· ·Who asked that question?
10·   ·with regard to those concerns?                            10·   · · · · ·A.· ·IPI.
11·   · · · · ·A.· ·Yeah, we leaned into them and wanted to      11·   · · · · ·Q.· ·Okay.
12·   ·clearly understand what he was looking for and work       12·   · · · · ·A.· ·Luke from IPI.· As they were doing their
13·   ·with a team to be able to produce those reports on a      13·   ·review about the budgets, they were concerned about a
14·   ·timely fashion for him.                                   14·   ·1.3ish-million-dollar fee.
15·   · · · · ·Q.· ·Okay.· And did that happen?                  15·   · · · · ·Q.· ·And when did you have that conversation
16·   · · · · ·A.· ·To the best of my knowledge, yes.            16·   ·with IPI?
17·   · · · · ·Q.· ·And some of the witnesses that have          17·   · · · · ·A.· ·I recall that being towards the end of
18·   ·testified have indicated that these projects were on      18·   ·November, first part of December.
19·   ·time and under budget.· Do you think that's accurate?     19·   · · · · ·Q.· ·Okay.· And was that a conversation you
20·   · · · · · · · MS. ULLERY:· Objection.                      20·   ·had during one of these trips?
21·   · · · · ·A.· ·We -- for all the projects that I'm          21·   · · · · ·A.· ·I don't believe so, no.
22·   ·aware of, they were delivered within the schedule, but    22·   · · · · ·Q.· ·Did they call you about it?· How did you
23·   ·there were questions about the budgets.                   23·   ·have that conversation?· That's what I'm asking.
24·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· So you're           24·   · · · · ·A.· ·Yeah, we met regularly by phone. I
25·   ·saying they were not under budget?                        25·   ·believe that we had a weekly meeting, and it either
                                                       Page 67                                                          Page 68
·1·   ·came up during one of those calls or a separate call.     ·1·   · · · · ·Q.· ·And what did he say?
·2·   · · · · ·Q.· ·Okay.· So after they raised that             ·2·   · · · · ·A.· ·He said that it should have been
·3·   ·question, what did you as COO do?                         ·3·   ·included in a lease and that Amazon would have
·4·   · · · · ·A.· ·So I shared that with Brian, and we had      ·4·   ·approved it.
·5·   ·to go through the budgets to figure out how it was        ·5·   · · · · ·Q.· ·Okay.· Did you ever talk with anybody
·6·   ·approved.                                                 ·6·   ·else about this issue?
·7·   · · · · ·Q.· ·Okay.· And did you do that?                  ·7·   · · · · ·A.· ·Worked through it with Brent, John,
·8·   · · · · ·A.· ·I worked through that, yes.                  ·8·   ·David Gomez, who was one of the project accountants.
·9·   · · · · ·Q.· ·And was IPI satisfied with how you           ·9·   · · · · ·Q.· ·And "worked through it," what does that
10·   ·worked through that?                                      10·   ·mean?
11·   · · · · ·A.· ·No.                                          11·   · · · · ·A.· ·Tried to understand.· There was a myriad
12·   · · · · ·Q.· ·And was it Luke Gilpin you were dealing      12·   ·of different budgets.· There was a myriad of different
13·   ·with?                                                     13·   ·spreadsheets, and we were trying to reconcile to find
14·   · · · · ·A.· ·Correct.                                     14·   ·out where the money was included.
15·   · · · · ·Q.· ·And tell me what IPI's position was.         15·   · · · · ·Q.· ·And were you able to do that?
16·   · · · · · · · MS. ULLERY:· Objection, speculative.         16·   · · · · ·A.· ·No.
17·   · · · · ·A.· ·IPI -- IPI told us what their concern        17·   · · · · ·Q.· ·All right.· Let's go back and talk about
18·   ·was, that this acquisition fee was not included in the    18·   ·September of 2019 because I want to make sure I'm
19·   ·approved lease budget.                                    19·   ·clear what occurred in that month.· At some point,
20·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· And how did         20·   ·were you made aware of what came to be called the
21·   ·that get resolved?                                        21·   ·White Peaks transaction?
22·   · · · · ·A.· ·I don't know.                                22·   · · · · ·A.· ·Yes.
23·   · · · · ·Q.· ·Okay.· Did you talk with Brian Watson        23·   · · · · ·Q.· ·Okay.· Tell me how you learned about
24·   ·about that?                                               24·   ·that.
25·   · · · · ·A.· ·Yes.                                         25·   · · · · ·A.· ·I was in the car driving to the office,

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·1·   ·and Brian called me and told me.                          ·1·   ·let's figure this out.
·2·   · · · · ·Q.· ·Okay.· Do you have any recollection when     ·2·   · · · · ·Q.· ·Okay.· What did he tell you high level
·3·   ·that was, roughly?                                        ·3·   ·that occurred?
·4·   · · · · ·A.· ·Gosh, it was probably a Thursday             ·4·   · · · · ·A.· ·He told me high level that Will and --
·5·   ·afternoon.                                                ·5·   · · · · ·Q.· ·Kyle.
·6·   · · · · ·Q.· ·That's pretty good.· Do you remember --      ·6·   · · · · ·A.· ·-- Kyle -- sorry, spacing out -- thank
·7·   ·in September?                                             ·7·   ·you -- that Will and Kyle had acquired a piece of land
·8·   · · · · ·A.· ·Yes.                                         ·8·   ·and turned around and sold it to Amazon at a
·9·   · · · · ·Q.· ·All right.· Well, that narrows it down       ·9·   ·significant profit the same day.
10·   ·to four days.· Do you remember late, early?               10·   · · · · ·Q.· ·Okay.· And we've had some testimony
11·   · · · · ·A.· ·Middle.                                      11·   ·about this situation, and I'm assuming that Mr. Watson
12·   · · · · ·Q.· ·And how do you remember it being a           12·   ·was somewhat upset about this.· Is that right?
13·   ·Thursday?                                                 13·   · · · · ·A.· ·Oh, yes.
14·   · · · · ·A.· ·I remember it being a Thursday because I     14·   · · · · ·Q.· ·Did you understand why he was upset?
15·   ·had an appointment that I went to, and so I was out of    15·   · · · · ·A.· ·Absolutely.
16·   ·the office; and I came back.· I think Brian was           16·   · · · · ·Q.· ·Why did you understand that his being
17·   ·somewhat frustrated that he couldn't get to me sooner,    17·   ·upset was appropriate?
18·   ·and just in my head I believe it was a Thursday.          18·   · · · · ·A.· ·Well, my understanding of why he was
19·   · · · · ·Q.· ·Okay.· And what did he tell you about        19·   ·upset is two of our employees engaged in a real estate
20·   ·this transaction?                                         20·   ·transaction, which was one of our primary businesses,
21·   · · · · ·A.· ·He asked me -- I seem to recall that he      21·   ·without the knowledge of the firm.
22·   ·asked me if I knew anything about it, and I didn't.       22·   · · · · ·Q.· ·Okay.· And did you understand that he
23·   · · · · ·Q.· ·Okay.                                        23·   ·saw this as a theft of corporate opportunity, if you
24·   · · · · ·A.· ·And then he told me high level what had      24·   ·will, from Northstar?
25·   ·happened, and I said I'm on my way to the office,         25·   · · · · ·A.· ·Yes.
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·1·   · · · · ·Q.· ·Okay.· And did you see it that way too       ·1·   · · · · ·A.· ·I did.
·2·   ·when it was explained to you?                             ·2·   · · · · ·Q.· ·And that was on a Saturday.· Does that
·3·   · · · · ·A.· ·Yes.                                         ·3·   ·sound right?
·4·   · · · · ·Q.· ·Okay.· So Thursday afternoon, you have       ·4·   · · · · ·A.· ·It does.
·5·   ·this call.· You tell Mr. Watson you're going to come      ·5·   · · · · ·Q.· ·Okay.· Was it the Saturday right after
·6·   ·to the office.· Did you go to the office?                 ·6·   ·the Thursday when you got that phone call?
·7·   · · · · ·A.· ·I did.                                       ·7·   · · · · ·A.· ·I believe so, yes.
·8·   · · · · ·Q.· ·Did you meet with him?                       ·8·   · · · · ·Q.· ·Okay.· My understanding is that on
·9·   · · · · ·A.· ·I did.                                       ·9·   ·Friday, you folks had a conversation -- the first of
10·   · · · · ·Q.· ·And how long was that meeting?               10·   ·the conversations with Will and Kyle; is that right?
11·   · · · · ·A.· ·An hour, hour and a half perhaps. I          11·   · · · · ·A.· ·Correct.
12·   ·don't recall.                                             12·   · · · · · · · MS. ULLERY:· Objection, facts not in
13·   · · · · ·Q.· ·Okay.· And was anybody else in the           13·   ·evidence.
14·   ·meeting?                                                  14·   · · · · ·Q.· ·(BY MR. GARNETT)· And tell me -- so --
15·   · · · · ·A.· ·We had several conversations.· I believe     15·   ·and again, I just want to walk through this, and then
16·   ·it was he and I at first, but then I believe Brent was    16·   ·we'll look at some documents, make sure I've got it
17·   ·included in that conversation, and I don't know           17·   ·straight.· So you had the conversation with Mr. Watson
18·   ·anybody else.                                             18·   ·on Thursday in the office.· Did you meet with Will and
19·   · · · · ·Q.· ·Okay.· Now, again, I'm just trying to        19·   ·Kyle on Thursday?
20·   ·get the timeline here.                                    20·   · · · · ·A.· ·I did not, no.
21·   · · · · ·A.· ·Sure.                                        21·   · · · · ·Q.· ·But there was a meeting with them on
22·   · · · · ·Q.· ·Do you remember that Mr. Watson got          22·   ·Friday?
23·   ·married in late September of 2019?                        23·   · · · · ·A.· ·Correct.
24·   · · · · ·A.· ·Uh-huh.                                      24·   · · · · ·Q.· ·All right.· Tell me what you recall
25·   · · · · ·Q.· ·Did you go to the wedding?                   25·   ·about that meeting.

                                                        EXHIBIT 4
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·1·   · · · · ·A.· ·I recall that we started out with            ·1·   · · · · ·A.· ·Yes, it was recorded on my phone.
·2·   ·myself, Brent, Brian, and both Will and Kyle in the       ·2·   · · · · ·Q.· ·Okay.· So both the meetings were
·3·   ·meeting.· I excused myself and took Will outside.· We     ·3·   ·recorded on your phone?
·4·   ·sat in the lobby while Brian, Brent, and Kyle met.        ·4·   · · · · ·A.· ·Correct.
·5·   ·Lasted a half hour, 45 minutes.· Then they left, and      ·5·   · · · · ·Q.· ·Okay.· After the meetings were recorded,
·6·   ·then I brought Will into the meeting.· Then the four      ·6·   ·do you know, Mr. Lorman, how did a transcript come to
·7·   ·of us met.                                                ·7·   ·be made of those meetings?
·8·   · · · · ·Q.· ·Okay.· And the -- what happened in the       ·8·   · · · · ·A.· ·I don't know.
·9·   ·meeting that you were present for?                        ·9·   · · · · ·Q.· ·Okay.· Did you give the recordings to
10·   · · · · ·A.· ·So Brian confronted Will on the              10·   ·somebody?
11·   ·situation.· Will denied all the allegations that were     11·   · · · · ·A.· ·I put them on the drive for Brian and
12·   ·put forth, was not cooperative in the conversation,       12·   ·Kristi.
13·   ·and then the conversation ended.                          13·   · · · · ·Q.· ·Okay.· Now, I'm just trying to envision
14·   · · · · ·Q.· ·Okay.· There's a transcript around of a      14·   ·this.· Roughly what time of day were the meetings that
15·   ·conversation on that date, part of which I think you      15·   ·you recorded?
16·   ·were present for.· Have you seen that transcript?         16·   · · · · ·A.· ·In the morning.
17·   · · · · ·A.· ·Yes.                                         17·   · · · · ·Q.· ·Okay.· And then the wedding was the next
18·   · · · · ·Q.· ·Okay.· Is that transcript generally          18·   ·day?
19·   ·accurate for the portion you were at?                     19·   · · · · ·A.· ·Correct.
20·   · · · · ·A.· ·Yes.                                         20·   · · · · ·Q.· ·All right.· And were Will -- Will and
21·   · · · · ·Q.· ·Do you know who recorded that                21·   ·Kyle were not actually fired in that meeting; is that
22·   ·conversation?                                             22·   ·what you're saying?
23·   · · · · ·A.· ·It was recorded on my phone.                 23·   · · · · ·A.· ·Correct.
24·   · · · · ·Q.· ·Okay.· In the meeting that you were not      24·   · · · · ·Q.· ·What happened?
25·   ·present at, do you know if that was recorded?             25·   · · · · ·A.· ·As I recall, the question was, "Do you
                                                       Page 75                                                          Page 76
·1·   ·want to be fired or do you want to be suspended?"· And    ·1·   · · · · ·Q.· ·Either -- any of those meetings.· Well,
·2·   ·they both elected to be suspended.                        ·2·   ·let me ask you this.· Did you agree with the position
·3·   · · · · ·Q.· ·Okay.· So they were suspended as of that     ·3·   ·he was taking about Mr. Ramstetter and Mr. Camenson?
·4·   ·date?                                                     ·4·   · · · · · · · MS. ULLERY:· Objection, vague.
·5·   · · · · ·A.· ·Yes.                                         ·5·   · · · · ·A.· ·Yeah, I guess the position that my
·6·   · · · · ·Q.· ·And were fired some time later?              ·6·   ·understanding was is that they weren't fired, but they
·7·   · · · · · · · MS. ULLERY:· Objection, leading.             ·7·   ·were suspended.· I agreed with that.
·8·   · · · · ·A.· ·Yes.                                         ·8·   · · · · ·Q.· ·(BY MR. GARNETT)· And they were fired at
·9·   · · · · ·Q.· ·(BY MR. GARNETT)· And then was there any     ·9·   ·some later time; is that your understanding?
10·   ·kind of a meeting with employees of Northstar after       10·   · · · · ·A.· ·Yes, the following week.
11·   ·the recorded meetings to explain what was going on?       11·   · · · · ·Q.· ·Was there a meeting in connection with
12·   · · · · ·A.· ·Yes.                                         12·   ·that firing?
13·   · · · · ·Q.· ·Tell me about that.                          13·   · · · · ·A.· ·I don't recall there being a meeting.
14·   · · · · ·A.· ·There was an all-hands meeting in the        14·   · · · · ·Q.· ·So you went to the wedding the next day.
15·   ·cafeteria area, and Brian spoke to the group,             15·   · · · · ·A.· ·Uh-huh.
16·   ·explained to them what had happened.                      16·   · · · · ·Q.· ·Are people talking about this at the
17·   · · · · ·Q.· ·And what do you remember him saying had      17·   ·wedding?
18·   ·happened?                                                 18·   · · · · ·A.· ·A little bit, yeah.
19·   · · · · ·A.· ·Just at a high level that a little           19·   · · · · ·Q.· ·Will and Kyle were not at the wedding, I
20·   ·overview of what Will and Kyle had done and how that      20·   ·take it?
21·   ·wasn't acceptable for our firm and they were no longer    21·   · · · · ·A.· ·I did not see them at the wedding.
22·   ·going to be a part of the firm.                           22·   · · · · ·Q.· ·Mr. Watson was?
23·   · · · · ·Q.· ·And did you agree with Mr. Watson's          23·   · · · · ·A.· ·At the wedding?
24·   ·position in that meeting?                                 24·   · · · · ·Q.· ·Yes.
25·   · · · · ·A.· ·Which meeting?                               25·   · · · · ·A.· ·Yes.

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·1·   · · · · ·Q.· ·What kinds of things -- what kind of         ·1·   ·started leading weekly meetings at Northstar?
·2·   ·conversations were there about all this at the            ·2·   · · · · ·A.· ·No.
·3·   ·wedding?                                                  ·3·   · · · · ·Q.· ·Okay.· You'd been doing weekly meetings
·4·   · · · · · · · MS. ULLERY:· Objection, speculative.         ·4·   ·for a while, right?
·5·   · · · · ·A.· ·The only conversations that I                ·5·   · · · · · · · MS. ULLERY:· Objection, leading.
·6·   ·participated in were just kind of gee, whiz, I can't      ·6·   · · · · ·A.· ·I had a variety of meetings that I would
·7·   ·believe that happened.                                    ·7·   ·host.
·8·   · · · · ·Q.· ·(BY MR. GARNETT)· And how did firing         ·8·   · · · · ·Q.· ·(BY MR. GARNETT)· So as COO, you would
·9·   ·Will and Kyle change your responsibilities as COO?        ·9·   ·from time to time have meetings?
10·   · · · · ·A.· ·Well, I took it upon myself to be more       10·   · · · · ·A.· ·Yes.
11·   ·involved in the Amazon projects because we didn't have    11·   · · · · ·Q.· ·Here, you're talking about weekly
12·   ·anybody else.· We didn't know anything.· There was --     12·   ·meetings, which I'm assuming means kind of regular
13·   ·after they left, went through their emails.· There was    13·   ·meetings to take a look at this --
14·   ·very few files.· So we really had to try to piece         14·   · · · · ·A.· ·Right.
15·   ·together what the current state was and what needed to    15·   · · · · ·Q.· ·-- is that what you're saying?
16·   ·be done.                                                  16·   · · · · ·A.· ·Yes.
17·   · · · · ·Q.· ·And you say "we."· Who was "we"?             17·   · · · · ·Q.· ·Prior to this meeting, did you have
18·   · · · · ·A.· ·It was John and I and Brent and Dave         18·   ·regular meetings that you chaired?
19·   ·Gomez.· We all -- we would have weekly meetings to        19·   · · · · ·A.· ·Yes, we had a meeting of the senior
20·   ·just update who's doing what and how are we going         20·   ·leadership team, the department heads, on a weekly
21·   ·to -- how are we going to tackle this.                    21·   ·basis.
22·   · · · · ·Q.· ·Were you the chair of these weekly           22·   · · · · ·Q.· ·Okay.· And were you chair of those
23·   ·meetings?                                                 23·   ·meetings?
24·   · · · · ·A.· ·I led them, yes.                             24·   · · · · ·A.· ·Yes.
25·   · · · · ·Q.· ·Okay.· Was this the first time you'd         25·   · · · · ·Q.· ·Okay.· Would there be, like, an agenda,
                                                       Page 79                                                          Page 80
·1·   ·that kind of thing?                                       ·1·   ·to Villanova Trust pursuant to that agreement?
·2·   · · · · ·A.· ·Yes.                                         ·2·   · · · · ·A.· ·Yes.
·3·   · · · · ·Q.· ·Okay.· And in those meetings, was there      ·3·   · · · · ·Q.· ·And so when you refer to commissions,
·4·   ·ever discussion of the Amazon projects?                   ·4·   ·you're talking about Villanova Trust provided for
·5·   · · · · ·A.· ·Not very many discussions because            ·5·   ·commissions to be paid?
·6·   ·Will -- or, excuse me, Kyle only attended one or two.     ·6·   · · · · ·A.· ·Yeah.· I wanted to go over what our
·7·   ·He was not usually available, and we usually talked       ·7·   ·receivables were for fees that were due to us and then
·8·   ·about other issues.                                       ·8·   ·those fees that would result in a commission to them
·9·   · · · · ·Q.· ·So there's a couple of names that come       ·9·   ·and when those were going to be due.
10·   ·up in various depositions.· One is a fellow named         10·   · · · · ·Q.· ·Fees that would result in a commission
11·   ·Christian Kirschner.· I think you've mentioned him.       11·   ·to Villanova Trust?
12·   ·Have you ever met Christian Kirschner?                    12·   · · · · ·A.· ·Correct.
13·   · · · · ·A.· ·No.                                          13·   · · · · ·Q.· ·Okay.· And how did you calculate those?
14·   · · · · ·Q.· ·Have you ever talked with him?               14·   ·How did you figure that out?
15·   · · · · ·A.· ·Yes.                                         15·   · · · · ·A.· ·So we looked at what the spreadsheet was
16·   · · · · ·Q.· ·Okay.· Tell me about that.                   16·   ·of all of the fees that were associated with the
17·   · · · · ·A.· ·Yeah, in late November, Brian had a          17·   ·development project, when those fees would be paid,
18·   ·phone call meeting, and I spoke with him because I had    18·   ·and then once they were paid, then what portion would
19·   ·to go over what outstanding commissions were and what     19·   ·go then to Villanova Trust as part of the referral
20·   ·the progress was on the Amazon projects as far as         20·   ·agreement.
21·   ·commissions that would be paid as a result of status      21·   · · · · ·Q.· ·And who would do the calculation of
22·   ·of receivables.                                           22·   ·that?
23·   · · · · ·Q.· ·Okay.· And I want to make sure I             23·   · · · · ·A.· ·Brent.
24·   ·understand what you're saying.· So was this discussion    24·   · · · · ·Q.· ·Okay.
25·   ·a discussion about payments that would need to be made    25·   · · · · ·A.· ·Or Kristi.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·All right.· And again, that would make       ·1·   · · · · ·A.· ·I assume so.
·2·   ·sense with their responsibilities?                        ·2·   · · · · ·Q.· ·Did he seem satisfied with whatever was
·3·   · · · · ·A.· ·Uh-huh.                                      ·3·   ·being explained about these commissions?
·4·   · · · · ·Q.· ·To calculate these kind of things?           ·4·   · · · · · · · MS. ULLERY:· Objection, speculative.
·5·   · · · · ·A.· ·Uh-huh.                                      ·5·   · · · · ·A.· ·As I recall, yes.
·6·   · · · · · · · MS. ULLERY:· Objection, leading.             ·6·   · · · · ·Q.· ·(BY MR. GARNETT)· Is that the only time
·7·   · · · · ·Q.· ·(BY MR. GARNETT)· And did you                ·7·   ·you've talked with Christian Kirschner?
·8·   ·double-check them to make sure the numbers seemed         ·8·   · · · · ·A.· ·To the best of my knowledge, yes.
·9·   ·about right?                                              ·9·   · · · · ·Q.· ·Okay.· And what about Casey Kirschner?
10·   · · · · ·A.· ·No.                                          10·   ·Have you ever yourself spoken with him?
11·   · · · · ·Q.· ·So did you understand them to be             11·   · · · · ·A.· ·I have.
12·   ·calculating them off the terms of the Villanova Trust     12·   · · · · ·Q.· ·Okay.· How many times have you spoken
13·   ·agreement?                                                13·   ·with him?
14·   · · · · ·A.· ·I would assume so, yes.                      14·   · · · · ·A.· ·Once.
15·   · · · · ·Q.· ·Okay.· And then, how does the                15·   · · · · ·Q.· ·Okay.· Tell me about that.
16·   ·conversation with Christian Kirschner fit into this?      16·   · · · · ·A.· ·There was some question when we go back
17·   · · · · ·A.· ·So my belief was since I was involved in     17·   ·to the $1.3 million acquisition fee.· I recall that
18·   ·the Amazon projects as far as what the current state      18·   ·Brian wanted me to touch base with Casey to make sure
19·   ·was that I was speaking towards the progress of the       19·   ·that we had approval for that $1.3 million fee.
20·   ·projects and if there's any risk in delay of those        20·   · · · · ·Q.· ·And so was that a phone call when you
21·   ·payments being paid based upon the project state.         21·   ·actually called Casey?
22·   · · · · ·Q.· ·Okay.· How long did you talk to              22·   · · · · ·A.· ·I did.
23·   ·Christian Kirschner in that call?                         23·   · · · · ·Q.· ·All right.· How long did you talk to
24·   · · · · ·A.· ·10, 15 minutes.                              24·   ·him?
25·   · · · · ·Q.· ·And was it a friendly call?                  25·   · · · · ·A.· ·10, 15 minutes.
                                                       Page 83                                                          Page 84
·1·   · · · · ·Q.· ·And if I'm following the timeline right,     ·1·   ·discussion about that conversation?
·2·   ·that was probably mid-November?                           ·2·   · · · · ·A.· ·I don't recall any email discussion.
·3·   · · · · ·A.· ·Mid-December.                                ·3·   · · · · ·Q.· ·And was anyone else on that call other
·4·   · · · · ·Q.· ·Mid-December.· Okay.· And that was to        ·4·   ·than you and Casey Kirschner?
·5·   ·talk to him about the acquisition fee?                    ·5·   · · · · ·A.· ·No.
·6·   · · · · ·A.· ·Correct.                                     ·6·   · · · · ·Q.· ·After that call, did you report back to
·7·   · · · · · · · MS. ULLERY:· Objection, asked and            ·7·   ·Mr. Watson?
·8·   ·answered.                                                 ·8·   · · · · ·A.· ·Yes.
·9·   · · · · ·Q.· ·(BY MR. GARNETT)· And what do you            ·9·   · · · · ·Q.· ·And tell me about that conversation.
10·   ·remember about that conversation?                         10·   · · · · ·A.· ·Just stated that Casey said that that
11·   · · · · ·A.· ·Casey, as I recall, was adamant that         11·   ·wasn't a part of the -- he would not approve that.
12·   ·that fee would not be appropriate, that he couldn't       12·   · · · · ·Q.· ·Okay.· And what did Mr. Watson say?
13·   ·sign off on that fee.                                     13·   · · · · ·A.· ·I don't recall.
14·   · · · · ·Q.· ·Okay.· What did you tell him about the       14·   · · · · ·Q.· ·Okay.· Did you have any other
15·   ·fee?· Tell me kind of -- did he seem surprised you        15·   ·involvement in that $1.3 million acquisition fee?
16·   ·were calling about that fee?                              16·   · · · · ·A.· ·Only for the fact that we were never --
17·   · · · · ·A.· ·I don't know.                                17·   ·I was never able to resolve whether or not that was
18·   · · · · · · · MS. ULLERY:· Objection, leading.             18·   ·actually a part of the lease or not.
19·   · · · · ·A.· ·The conversation was I explained to him      19·   · · · · ·Q.· ·All right.· There's a name that has come
20·   ·that we had a $1.3 million acquisition fee that was       20·   ·up a couple times, a fellow named Bart Mancuso.· Do
21·   ·our contention that should have been a part of the        21·   ·you know who that is?
22·   ·lease but it's not in the lease, would he sign an         22·   · · · · ·A.· ·I do.
23·   ·addendum or provide some kind of approval for that,       23·   · · · · ·Q.· ·Who is Bart Mancuso?
24·   ·and he was adamant he was not.                            24·   · · · · ·A.· ·He was a project manager that we hired,
25·   · · · · ·Q.· ·(BY MR. GARNETT)· Was there any email        25·   ·I believe, in December to step into the role that was

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·1·   ·vacated by Kyle.                                          ·1·   · · · · · · · MR. SANDHU:· All right.
·2·   · · · · ·Q.· ·Okay.· And he only worked at Northstar       ·2·   · · · · ·Q.· ·(BY MR. GARNETT)· So we're going to
·3·   ·for a couple of months; is that right?                    ·3·   ·Agile Law, which hopefully you have in front of you,
·4·   · · · · · · · MS. ULLERY:· Objection, leading.             ·4·   ·Mr. Lorman.· If not, we'll figure out how to refresh
·5·   · · · · ·A.· ·I believe it was, gosh, almost just a        ·5·   ·it.
·6·   ·month.                                                    ·6·   · · · · · · · MR. SANDHU:· It should be shown to you
·7·   · · · · ·Q.· ·(BY MR. GARNETT)· And do you know where      ·7·   ·now.· One second.· I can reveal the marked exhibits.
·8·   ·Mr. Mancuso is now?                                       ·8·   · · · · · · · MR. GARNETT:· Yes, mark it.· Do you
·9·   · · · · ·A.· ·No.                                          ·9·   ·want -- I'll tell you what.· We could take a short
10·   · · · · ·Q.· ·When did you last speak with him?            10·   ·break if you want to load them all and mark them.
11·   · · · · ·A.· ·Probably about a year ago.                   11·   · · · · · · · MR. SANDHU:· That sounds fine.· Are you
12·   · · · · ·Q.· ·Okay.· And what did you talk to him          12·   ·fine with me BC 1 through whatever?
13·   ·about in that conversation?                               13·   · · · · · · · MR. GARNETT:· No, let's call this Lorman
14·   · · · · ·A.· ·We both talked about jobs that we were       14·   ·1 through whatever.· Does that make sense to you guys?
15·   ·pursuing.                                                 15·   · · · · · · · MR. SHAW:· Sure, yes.
16·   · · · · ·Q.· ·Okay.· Do you know what he's doing now?      16·   · · · · · · · MR. GARNETT:· And that way, if they want
17·   · · · · ·A.· ·I do not.                                    17·   ·to add some.
18·   · · · · ·Q.· ·And do you know where he lives now?          18·   · · · · · · · MR. SANDHU:· Sounds good.
19·   · · · · ·A.· ·I do not.                                    19·   · · · · · · · MR. GARNETT:· Okay.· Let's go ahead and
20·   · · · · ·Q.· ·Okay.· All right.· Let me show you some      20·   ·take a break, Mr. Lorman.· This will be more
21·   ·exhibits and see if I can do this right.                  21·   ·efficient.· We'll come back in 10 minutes.
22·   · · · · · · · MR. GARNETT:· We can be on the record.       22·   · · · · · · · THE DEPONENT:· Sounds good.
23·   ·To try to keep this from being too bizarre, let's just    23·   · · · · · · · THE VIDEOGRAPHER:· The time is 10:38.
24·   ·go through and mark them all, and then I'll go back       24·   ·We are going off the record.
25·   ·and ask some questions.· Does that make sense?            25·   · · · · · · · (Recess taken.)
                                                       Page 87                                                          Page 88
·1·   · · · · · · · (Deposition Exhibits 1 through 14 were       ·1·   ·think, that was brought to Mr. Watson.· That's how he
·2·   ·marked.)                                                  ·2·   ·learned about it.· Is that what you understand?
·3·   · · · · · · · THE VIDEOGRAPHER:· The time is 10:52.        ·3·   · · · · ·A.· ·Correct, correct.
·4·   ·We are back on the record.                                ·4·   · · · · ·Q.· ·And did he show you the article when you
·5·   · · · · ·Q.· ·(BY MR. GARNETT)· Mr. Lorman, we're back     ·5·   ·came in on that Thursday?
·6·   ·on the record, and, of course, you're still under         ·6·   · · · · ·A.· ·Yes.
·7·   ·oath.· And I'm going to turn to some exhibits here in     ·7·   · · · · ·Q.· ·And did you find out that, in fact, the
·8·   ·a minute, but before we do that, I want to make sure      ·8·   ·White Peaks transaction had been something that had
·9·   ·I'm clear on a couple of things.                          ·9·   ·occurred over several months and it involved kind of a
10·   · · · · · · · So the first you had found out about         10·   ·flip for profit of land?· Is that what you understood?
11·   ·anything about this so-called White Peaks transaction     11·   · · · · · · · MS. ULLERY:· Objection, compound.
12·   ·was in -- with that phone call you got from Mr. Watson    12·   · · · · ·A.· ·Yes.
13·   ·on the Thursday before his wedding in late September      13·   · · · · ·Q.· ·(BY MR. GARNETT)· And the flip occurred
14·   ·of 2019; is that right?                                   14·   ·in a pretty short period of time and it was quite a
15·   · · · · ·A.· ·Yes.                                         15·   ·bit of profit; is that fair to say?
16·   · · · · ·Q.· ·And did you eventually find out some         16·   · · · · · · · MS. ULLERY:· Objection, leading.
17·   ·more about kind of what was involved in the White         17·   · · · · ·A.· ·Yes.
18·   ·Peaks transaction?                                        18·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· And you
19·   · · · · ·A.· ·Yes.                                         19·   ·indicated that Mr. Watson was pretty upset about this
20·   · · · · ·Q.· ·What did you find out?                       20·   ·when you talked to him?
21·   · · · · ·A.· ·Just from the news -- the letter -- or,      21·   · · · · ·A.· ·Yes.
22·   ·excuse me, the article that was in the Washington         22·   · · · · ·Q.· ·And did you also understand that this
23·   ·Business Journal had some details about it, and           23·   ·was the first he had heard about it, was this whatever
24·   ·then -- that's the primary source.                        24·   ·occurred on that Thursday?
25·   · · · · ·Q.· ·And it was actually that article, I          25·   · · · · ·A.· ·That's what I heard from him, yes.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·Okay.· Now, you've described Will and        ·1·   ·project other than just Will and Kyle.
·2·   ·Kyle being kind of absent and out of the office a lot     ·2·   · · · · ·Q.· ·Did you ever hear those two fellows,
·3·   ·in the time when you were there after you started in      ·3·   ·Will and Kyle, called cowboys, they're acting like
·4·   ·late March of 2019, and that's one of those awkward       ·4·   ·cowboys?
·5·   ·questions, but generally how I understand you             ·5·   · · · · ·A.· ·I don't recall specifically.
·6·   ·describing it.· Is that right?                            ·6·   · · · · ·Q.· ·Okay.· Do you think that would be an
·7·   · · · · ·A.· ·That's correct.                              ·7·   ·accurate description of what they were -- kind of how
·8·   · · · · ·Q.· ·And their absence is something that          ·8·   ·they were acting in those months?
·9·   ·concerned you, right?                                     ·9·   · · · · · · · MS. ULLERY:· Objection, vague.
10·   · · · · ·A.· ·Yes.                                         10·   · · · · ·A.· ·Well, depending upon --
11·   · · · · ·Q.· ·Did you understand that it also              11·   · · · · ·Q.· ·(BY MR. GARNETT)· Go ahead.
12·   ·concerned Mr. Watson?                                     12·   · · · · ·A.· ·Depending on how we would define cowboy.
13·   · · · · ·A.· ·I believe so, yes.                           13·   · · · · ·Q.· ·True.· How would you define cowboy in a
14·   · · · · ·Q.· ·And, in fact, did the two of you talk        14·   ·context like this?
15·   ·about kind of taking steps to get those guys under        15·   · · · · ·A.· ·I would say that operating with few
16·   ·control?                                                  16·   ·rules, heightened sense of entitlements, heightened
17·   · · · · ·A.· ·Yes.                                         17·   ·sense of ownership.
18·   · · · · ·Q.· ·Okay.· Did Mr. Watson ever ask you to do     18·   · · · · ·Q.· ·And who knows whether cowboys would
19·   ·anything particular in that regard?                       19·   ·agree with that, but that's --
20·   · · · · ·A.· ·I don't recall anything specific, no.        20·   · · · · ·A.· ·Don't know.
21·   · · · · ·Q.· ·Did you have any ideas about how to kind     21·   · · · · ·Q.· ·-- how they worked.· Would you agree?
22·   ·of get those guys under control?                          22·   · · · · ·A.· ·I would.
23·   · · · · ·A.· ·Yeah, I believe that we discussed about      23·   · · · · ·Q.· ·Okay.· And that concerned Mr. Watson
24·   ·trying to get visibility with the stakeholders and        24·   ·too?
25·   ·having some other people in the firm involved with the    25·   · · · · ·A.· ·I believe so.
                                                       Page 91                                                          Page 92
·1·   · · · · ·Q.· ·And, in fact, when you found out about       ·1·   · · · · ·A.· ·I see it now, Document 1.
·2·   ·the White Peaks transaction, were you able to             ·2·   · · · · ·Q.· ·-- Lorman Number 1.· And is this a copy
·3·   ·determine that the White Peaks transaction had been       ·3·   ·of the Villanova Trust agreement?
·4·   ·going on in this period of time?                          ·4·   · · · · ·A.· ·I assume so.
·5·   · · · · ·A.· ·I'm not following you on the question.       ·5·   · · · · ·Q.· ·Okay.· Well, take a look.· Did you ever
·6·   · · · · ·Q.· ·Yeah.· Do you know what the date of the      ·6·   ·actually see the agreement?
·7·   ·flip of the White Peaks transaction was?                  ·7·   · · · · ·A.· ·I believe so.· It would appear to be.
·8·   · · · · ·A.· ·I think subsequent through looking at        ·8·   · · · · ·Q.· ·Okay.· And just so we're clear what
·9·   ·emails and things like that after they left, I believe    ·9·   ·we're all looking at, it's several pages of a
10·   ·it was in July.                                           10·   ·document.· It's got initials, and then it's got some
11·   · · · · ·Q.· ·Okay.· Of 2019?                              11·   ·signatures on the last page.· Is that fair to say?
12·   · · · · ·A.· ·Yeah.                                        12·   · · · · ·A.· ·Correct.
13·   · · · · ·Q.· ·And there were a fair number of weeks of     13·   · · · · ·Q.· ·Okay.· Did you understand that this
14·   ·negotiation and such prior to that?                       14·   ·document was actually drafted by a lawyer named Rod
15·   · · · · ·A.· ·Probably.                                    15·   ·Atherton?
16·   · · · · ·Q.· ·Let's go through these exhibits.· Do you     16·   · · · · ·A.· ·No.
17·   ·have them now?                                            17·   · · · · ·Q.· ·Did you have any understanding with
18·   · · · · ·A.· ·I do.                                        18·   ·regard to that?
19·   · · · · ·Q.· ·And I'm going to go through them just so     19·   · · · · ·A.· ·No.
20·   ·I know I've got everything marked, and then some, I'll    20·   · · · · ·Q.· ·You agree it looks like a lawyer drafted
21·   ·have specific questions about, and others, I won't.       21·   ·this?
22·   ·Okay.· Do you have Exhibit 1 in front of you?             22·   · · · · ·A.· ·It looks like it.
23·   · · · · ·A.· ·I don't know if it's Exhibit 1.· It's        23·   · · · · ·Q.· ·And did you have any idea who the lawyer
24·   ·independent contractor agreement.                         24·   ·might have been that would have drafted it?
25·   · · · · ·Q.· ·Yeah.· It should be --                       25·   · · · · ·A.· ·No.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·Now, Mr. Lorman, did you understand that     ·1·   · · · · ·Q.· ·Okay.· This is -- and I may through
·2·   ·prior to this agreement, which is dated, I think on       ·2·   ·being too diligent have multiple copies of exhibits,
·3·   ·the first page, January 8th of 2018 -- do you see         ·3·   ·but worse things have happened.· Lorman 2 is a
·4·   ·that?                                                     ·4·   ·Northstar Commercial Partners' response to an RFP from
·5·   · · · · ·A.· ·I do.                                        ·5·   ·Amazon Web Services dated September 20th, 2017.· Have
·6·   · · · · ·Q.· ·Which, again, is about -- that's about       ·6·   ·you ever seen this before?
·7·   ·14 months before you came to work at the company?         ·7·   · · · · ·A.· ·I believe so.
·8·   · · · · ·A.· ·Uh-huh.                                      ·8·   · · · · ·Q.· ·Okay.· When would you have seen this?
·9·   · · · · ·Q.· ·Yes?                                         ·9·   · · · · ·A.· ·I believe I saw it in the fall.· There
10·   · · · · · · · (The deponent nodded head up and down.)      10·   ·was an opportunity that we were going to submit a
11·   · · · · ·Q.· ·Did you understand that there was a          11·   ·proposal for a project in California, and I believe I
12·   ·previous agreement between Northstar and Christian        12·   ·looked at this document as an example of what we had
13·   ·Kirschner personally?                                     13·   ·submitted before.
14·   · · · · ·A.· ·No.                                          14·   · · · · ·Q.· ·Okay.· And so just so I understand this,
15·   · · · · ·Q.· ·Did you know anything about an agreement     15·   ·it would have been in the fall of 2019?
16·   ·like that?                                                16·   · · · · ·A.· ·I believe so, yeah.
17·   · · · · ·A.· ·No.                                          17·   · · · · ·Q.· ·And was it an opportunity with Amazon
18·   · · · · ·Q.· ·Okay.· And you've certainly never seen       18·   ·Web Services?
19·   ·an agreement like that?                                   19·   · · · · ·A.· ·It was, yes.
20·   · · · · ·A.· ·Not that I recall.                           20·   · · · · ·Q.· ·So you were going back to look at this
21·   · · · · ·Q.· ·Okay.· Take a look at Exhibit 2.             21·   ·response to the RFP to see what had kind of worked in
22·   ·This -- oops.· Hang on a second here.· You know what?     22·   ·the past?
23·   ·Go to Document 3, which is Lorman Exhibit 2.· Are you     23·   · · · · ·A.· ·Right.
24·   ·there?                                                    24·   · · · · ·Q.· ·Did you put together a response to an
25·   · · · · ·A.· ·Yeah.                                        25·   ·RFP in connection with that opportunity?
                                                       Page 95                                                          Page 96
·1·   · · · · ·A.· ·Yeah, it was a form that we completed.       ·1·   ·did as well, too.· I think David as well.
·2·   · · · · ·Q.· ·Okay.· And what kind of -- what was the      ·2·   · · · · ·Q.· ·What was Don Marcott's role at Northstar
·3·   ·opportunity?                                              ·3·   ·while you were there?
·4·   · · · · ·A.· ·I believe that it was for a data center      ·4·   · · · · ·A.· ·So he was a partner of Brian's on
·5·   ·in the central part of California, around Gilroy          ·5·   ·development projects, and he brought his experience in
·6·   ·perhaps.                                                  ·6·   ·having done other development projects.· It felt like
·7·   · · · · ·Q.· ·Okay.· All right.· And were you the          ·7·   ·it was a separate organization.
·8·   ·primary person putting together that RFP response?        ·8·   · · · · ·Q.· ·So he was not an employee of Northstar?
·9·   · · · · ·A.· ·I was.                                       ·9·   · · · · ·A.· ·Not to the best of my knowledge, no.
10·   · · · · ·Q.· ·Okay.· And did it get submitted?             10·   · · · · ·Q.· ·Was he at the offices from time to time?
11·   · · · · ·A.· ·I believe so.                                11·   · · · · ·A.· ·He was.
12·   · · · · ·Q.· ·And whatever happened to it?                 12·   · · · · ·Q.· ·And this -- what happened with the
13·   · · · · ·A.· ·Never heard anything.                        13·   ·California project?
14·   · · · · ·Q.· ·Okay.                                        14·   · · · · ·A.· ·I never heard.
15·   · · · · · · · MR. GARNETT:· Did somebody just join us?     15·   · · · · ·Q.· ·Now, you said it was the fall of 2019.
16·   ·Maybe we just lost Ms. Barrett.                           16·   ·Was it before or after the meetings that resulted in
17·   · · · · · · · MR. SMART:· Stan, this is Adam and Casey     17·   ·the suspension and then eventual firing of Will and
18·   ·coming back in.                                           18·   ·Kyle?
19·   · · · · · · · MR. GARNETT:· All right.                     19·   · · · · ·A.· ·It would have been after.
20·   · · · · ·Q.· ·(BY MR. GARNETT)· And did anybody else       20·   · · · · ·Q.· ·After.· Was it long after?· Was it in
21·   ·help you in providing the RFP that you put together       21·   ·like October, November?
22·   ·for the California opportunity?                           22·   · · · · ·A.· ·Yeah, it felt like November, December
23·   · · · · ·A.· ·Yes.                                         23·   ·period of time.
24·   · · · · ·Q.· ·Who?                                         24·   · · · · ·Q.· ·So there certainly wasn't -- even
25·   · · · · ·A.· ·I think Kristi helped me.· I think Brent     25·   ·December, towards the end of the year?

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·1·   · · · · ·A.· ·Yes.                                         ·1·   · · · · ·Q.· ·Can you take a look at this document,
·2·   · · · · ·Q.· ·So there was nothing at that time that       ·2·   ·which for the record is marked -- we have a marking
·3·   ·caused you to feel like you shouldn't make a proposal     ·3·   ·here somewhere.
·4·   ·to Amazon?                                                ·4·   · · · · ·A.· ·Well, this is 111 pages.
·5·   · · · · ·A.· ·No.                                          ·5·   · · · · ·Q.· ·Yes.
·6·   · · · · ·Q.· ·And was Mr. Watson involved in this RFP?     ·6·   · · · · ·A.· ·Okay.
·7·   · · · · ·A.· ·He was.                                      ·7·   · · · · ·Q.· ·Just so we're clear, it's marked Lorman
·8·   · · · · ·Q.· ·Did he sign off on it?                       ·8·   ·3, and I'm certainly not going to go through 111
·9·   · · · · ·A.· ·I don't know that we had a signature         ·9·   ·pages.· I'm just going to ask you generally whether
10·   ·that he had to file.                                      10·   ·you recognize this document.
11·   · · · · ·Q.· ·Fair enough.· Did he approve it before       11·   · · · · ·A.· ·I don't recall having seen it before.
12·   ·you submitted it?                                         12·   · · · · ·Q.· ·Okay.
13·   · · · · ·A.· ·I believe so, yes.                           13·   · · · · ·A.· ·I'm trying to get all the way through it
14·   · · · · ·Q.· ·And again, that would be the way that        14·   ·so I can see what it is.· This is a purchase
15·   ·things were run at Northstar; he would approve            15·   ·agreement.· Again, as I said, I don't recall seeing
16·   ·anything as significant as that?                          16·   ·this.
17·   · · · · ·A.· ·Uh-huh.                                      17·   · · · · ·Q.· ·Okay.· That's fine.· If you don't recall
18·   · · · · · · · MS. ULLERY:· Objection, vague.               18·   ·seeing it, I won't ask you questions about it.
19·   · · · · ·Q.· ·(BY MR. GARNETT)· Yes?· And just so          19·   · · · · · · · Can you go to Document 5?
20·   ·we're clear, your answer is yes?                          20·   · · · · ·A.· ·Okay.
21·   · · · · ·A.· ·Yes.                                         21·   · · · · ·Q.· ·And this is a series of emails that are
22·   · · · · ·Q.· ·Go to Document 4.· And this is a             22·   ·marked, I think, Lorman 4.
23·   ·several-page document, and hopefully you're able to       23·   · · · · ·A.· ·Yep.
24·   ·figure out how to look through it.                        24·   · · · · ·Q.· ·Yeah.· Take a look at these.· These
25·   · · · · ·A.· ·I am.                                        25·   ·appear to be Kyle Ramstetter to you, dated March 4th,
                                                       Page 99                                                          Page 100
·1·   ·and some back and forth; is that right?                   ·1·   ·a Bates stamp for this?
·2·   · · · · ·A.· ·Yeah, so what this would have been is in     ·2·   · · · · · · · MR. GARNETT:· I don't think so yet, but
·3·   ·us going through Kyle's computer, and I sent the email    ·3·   ·we're working on it.
·4·   ·to myself so I had a copy of the email.                   ·4·   · · · · · · · MS. ULLERY:· Have these been produced?
·5·   · · · · ·Q.· ·Okay.· All right.· We'll come back to        ·5·   · · · · · · · MR. GARNETT:· Yes.· They're all
·6·   ·it.· Let's go to Document 5, which is -- or Document      ·6·   ·third-party documents and I believe were produced
·7·   ·6, which is Lorman Exhibit 5.                             ·7·   ·yesterday morning.
·8·   · · · · ·A.· ·Okay.                                        ·8·   · · · · · · · MS. BARRETT:· Stan, can you make sure
·9·   · · · · ·Q.· ·Do you see this?                             ·9·   ·you double-check with Catherine?· Because we haven't
10·   · · · · ·A.· ·I do.                                        10·   ·received any productions yesterday.
11·   · · · · ·Q.· ·And this looks like some emails between      11·   · · · · · · · MR. GARNETT:· I will.· I will
12·   ·yourself, your personal email, and a fellow named Josh    12·   ·double-check, Claudia, and I'll update you guys on the
13·   ·Huckel, who I think we established worked for the FBI,    13·   ·next break.
14·   ·right?                                                    14·   · · · · ·Q.· ·(BY MR. GARNETT)· We'll come back to
15·   · · · · ·A.· ·Correct.                                     15·   ·this, Mr. Lorman, but when did you first get in touch
16·   · · · · ·Q.· ·And this is dated March 5th of 2020?         16·   ·with Mr. Huckel of the FBI?
17·   · · · · ·A.· ·Yes.                                         17·   · · · · ·A.· ·He approached me.
18·   · · · · ·Q.· ·Okay.· Let's go to Document 7, which is      18·   · · · · ·Q.· ·And when was that?
19·   ·Lorman 6.· And this is another set of emails between      19·   · · · · ·A.· ·Probably about February.
20·   ·yourself and Mr. Huckel, is that right?                   20·   · · · · ·Q.· ·Can we go to Exhibit 7?
21·   · · · · ·A.· ·Correct.                                     21·   · · · · ·A.· ·I thought that was 7.
22·   · · · · ·Q.· ·And you've got some things attached to       22·   · · · · ·Q.· ·I'm sorry.· Document 8, Exhibit 7.· Do
23·   ·this Document 6.· What are those attachments?             23·   ·you have it?
24·   · · · · ·A.· ·Those were provided in my submittal.         24·   · · · · ·A.· ·I do.
25·   · · · · · · · MS. ULLERY:· Stan, I'm sorry.· Is there      25·   · · · · ·Q.· ·And as you look at this, do you

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·1·   ·recognize this as your declaration that we were            ·1·   · · · · ·Q.· ·Okay.· Let's go to Exhibit 9.
·2·   ·discussing -- I think we discussed briefly at the          ·2·   · · · · ·A.· ·I'm on Document 9.· I don't see any
·3·   ·beginning?                                                 ·3·   ·other documents.· Oh, wait a minute.· Let me stroll
·4·   · · · · ·A.· ·I do.                                         ·4·   ·here.
·5·   · · · · ·Q.· ·And was this declaration -- this one is       ·5·   · · · · ·Q.· ·Yes, we're actually on Document 10,
·6·   ·unsigned, but you did eventually sign this and approve     ·6·   ·Exhibit 9.
·7·   ·this; is that right?                                       ·7·   · · · · ·A.· ·Yeah.· I just found the scroll.
·8·   · · · · ·A.· ·I don't know if I signed and approved         ·8·   · · · · ·Q.· ·That's okay.· Are you on Document 10,
·9·   ·this one.                                                  ·9·   ·Exhibit 9?
10·   · · · · ·Q.· ·Okay.· We'll come back and take a look        10·   · · · · ·A.· ·I am.
11·   ·at it.· Exhibit 9 -- I mean Document 9, which is           11·   · · · · ·Q.· ·And what is this?
12·   ·Exhibit 8, what is this, if you know?                      12·   · · · · ·A.· ·This appears to be a spreadsheet showing
13·   · · · · ·A.· ·It appears to be a wire transfer --           13·   ·some transactions.
14·   · · · · ·Q.· ·Okay.                                         14·   · · · · ·Q.· ·Have you ever seen it before?
15·   · · · · ·A.· ·-- instructions.                              15·   · · · · ·A.· ·It looks familiar.
16·   · · · · ·Q.· ·All right.· And this reflects transfer        16·   · · · · ·Q.· ·Okay.· Do you know who prepared it?
17·   ·to Villanova Trust?                                        17·   · · · · ·A.· ·I do not.
18·   · · · · ·A.· ·It appears to be.                             18·   · · · · ·Q.· ·Do you know whose initials are over
19·   · · · · ·Q.· ·Have you seen this before?                    19·   ·there in kind of the right-hand column?
20·   · · · · ·A.· ·I don't know if I've seen this specific       20·   · · · · ·A.· ·I don't recognize those.
21·   ·one.· I've seen several.                                   21·   · · · · ·Q.· ·Do you recognize the handwriting?
22·   · · · · ·Q.· ·And did you provide this document to the      22·   · · · · ·A.· ·The handwriting?· No.
23·   ·FBI at some point?                                         23·   · · · · ·Q.· ·Okay.· And do you know what these
24·   · · · · ·A.· ·I don't know if I provided this one.          24·   ·numbers represent?
25·   ·I've provided documents that were similar.                 25·   · · · · ·A.· ·Is there a way to make this brighter?
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·1·   ·I'm sorry to --                                            ·1·   ·This shows -- appears to show another transfer to
·2·   · · · · ·Q.· ·I'm sure there is.· It may take us half       ·2·   ·Villanova Trust.· Is that what it appears to show you?
·3·   ·an hour to figure it out.· It's just really dark and       ·3·   · · · · ·A.· ·It does.
·4·   ·hard to see.                                               ·4·   · · · · ·Q.· ·Okay.· Do you know whether this transfer
·5·   · · · · · · · MR. SANDHU:· I can give it a shot.· Do        ·5·   ·was made pursuant to the referral agreement with
·6·   ·you want to go off the record?                             ·6·   ·Villanova Trust?
·7·   · · · · · · · MR. GARNETT:· No.                             ·7·   · · · · ·A.· ·I do not.
·8·   · · · · ·A.· ·I hate to interrupt.· It's just really        ·8·   · · · · ·Q.· ·Okay.· Did you have anything to do with
·9·   ·dark.· I think if we just do function.                     ·9·   ·calculating this amount?
10·   · · · · · · · MR. SMART:· Right click on the battery        10·   · · · · ·A.· ·I did not.
11·   ·down at the bottom, and that usually brings it up.         11·   · · · · ·Q.· ·Okay.· Let's go to Document 12, which is
12·   · · · · · · · THE DEPONENT:· We got it, we got it.          12·   ·Exhibit 11.· Can you take a look at this?
13·   · · · · · · · MR. GARNETT:· Wow.· Thanks.                   13·   · · · · ·A.· ·Yep.
14·   · · · · ·Q.· ·(BY MR. GARNETT)· Now that you can read       14·   · · · · ·Q.· ·And do you recognize what this is?
15·   ·it, do you notice anything else about it?                  15·   · · · · ·A.· ·It appears to be a lease for IAD175.
16·   · · · · ·A.· ·I do not.· It seems to be just recording      16·   · · · · ·Q.· ·Okay.· Have you ever seen it before?
17·   ·certain transactions.                                      17·   · · · · ·A.· ·I don't know if I've seen this specific
18·   · · · · ·Q.· ·Up on the top on the left-hand side, it       18·   ·version, but I've seen leases for this property.
19·   ·says splits worksheet provided by Kyle.· Do you know       19·   · · · · ·Q.· ·Okay.· And finally, take a look at
20·   ·what that means?                                           20·   ·Document 13, which is Lorman Exhibit 12.
21·   · · · · ·A.· ·I do not.                                     21·   · · · · ·A.· ·Okay.
22·   · · · · ·Q.· ·Did Kyle Ramstetter ever explain to you       22·   · · · · ·Q.· ·And is this a transcript of the
23·   ·what this document was?                                    23·   ·conversation that we were talking about a bit before
24·   · · · · ·A.· ·He did not.                                   24·   ·that occurred in late September of 2019?
25·   · · · · ·Q.· ·Let's go to Document 11, Exhibit 10.          25·   · · · · ·A.· ·It appears to be.

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·1·   · · · · ·Q.· ·Okay.· And have you seen this transcript      ·1·   · · · · ·Q.· ·And just so we're clear, the brothers
·2·   ·before?                                                    ·2·   ·you're talking about are Christian Kirschner and Casey
·3·   · · · · ·A.· ·I believe so, yes.                            ·3·   ·Kirschner?
·4·   · · · · ·Q.· ·And have you reviewed it to see whether       ·4·   · · · · ·A.· ·Correct.
·5·   ·it appears to be generally accurate?                       ·5·   · · · · ·Q.· ·So the fact that the two Kirschners are
·6·   · · · · ·A.· ·I believe I skimmed through it, but I         ·6·   ·brothers, that caused you concern?
·7·   ·didn't judge it for accuracy.                              ·7·   · · · · ·A.· ·It raised an eyebrow, yes.
·8·   · · · · ·Q.· ·Okay.· So at any point in 2019,               ·8·   · · · · ·Q.· ·Okay.· Did you go and talk to Mr. Watson
·9·   ·Mr. Lorman, did you become concerned that there was        ·9·   ·about that?
10·   ·something improper occurring in connection with the        10·   · · · · ·A.· ·I did.
11·   ·Amazon transactions?                                       11·   · · · · ·Q.· ·And tell me about that conversation.
12·   · · · · ·A.· ·I did.                                        12·   · · · · ·A.· ·He explained it as a referral agreement,
13·   · · · · ·Q.· ·And tell me about that.                       13·   ·that Christian had made the introduction, and so
14·   · · · · ·A.· ·My first concern was the fact that one        14·   ·stated with that that he would earn a referral fee,
15·   ·of the Amazon employees and our referral partner were      15·   ·that he was making other introductions besides Amazon
16·   ·brothers and that based upon the transaction that one      16·   ·as well, too.
17·   ·brother generated, ultimately the other brother would      17·   · · · · ·Q.· ·Okay.
18·   ·benefit from, and that seemed concerning.                  18·   · · · · ·A.· ·And that was -- that was it.
19·   · · · · ·Q.· ·Okay.· When did you first find that out?      19·   · · · · ·Q.· ·And in that conversation, did Mr. Watson
20·   · · · · ·A.· ·I don't recall.· I would say probably         20·   ·tell you that he'd had a referral agreement in place
21·   ·late summer.                                               21·   ·with Mr. Christian Kirschner personally well prior to
22·   · · · · ·Q.· ·Okay.                                         22·   ·January of 2018?
23·   · · · · ·A.· ·Because at first, I was introduced to         23·   · · · · ·A.· ·I don't recall if he did or not.
24·   ·what Villanova Trust was, and I didn't know who            24·   · · · · ·Q.· ·Okay.· Did you understand that
25·   ·participated in Villanova Trust.                           25·   ·Mr. Watson had known Mr. Kirschner for a number of
                                                       Page 107                                                          Page 108
·1·   ·years?                                                     ·1·   · · · · ·Q.· ·Did you understand that she had
·2·   · · · · ·A.· ·I did.                                        ·2·   ·represented Northstar as well in the lease
·3·   · · · · ·Q.· ·And that, in fact, they'd worked              ·3·   ·negotiations in connection with the -- and the other
·4·   ·together at Cushman & Wakefield at one point?              ·4·   ·negotiations in connection with the Amazon projects?
·5·   · · · · · · · MS. ULLERY:· Objection, leading.              ·5·   · · · · ·A.· ·I believe I knew that, yeah.
·6·   · · · · ·A.· ·I don't recall if I knew that                 ·6·   · · · · ·Q.· ·Okay.· And did you know that Amazon, in
·7·   ·specifically, but . . .                                    ·7·   ·fact, had had counsel involved in reviewing those
·8·   · · · · ·Q.· ·(BY MR. GARNETT)· But you knew they had       ·8·   ·transactions?
·9·   ·known each other for a while?                              ·9·   · · · · · · · MS. ULLERY:· Objection, leading.
10·   · · · · ·A.· ·Yes.                                          10·   · · · · ·A.· ·I'm not aware of that at all.
11·   · · · · ·Q.· ·So after you had that conversation with       11·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· It wouldn't
12·   ·Mr. Watson, did you do anything in connection with         12·   ·surprise you if a company like Amazon would have
13·   ·that?                                                      13·   ·counsel looking at those things?
14·   · · · · ·A.· ·No.                                           14·   · · · · · · · MS. ULLERY:· Objection to form.
15·   · · · · ·Q.· ·Okay.· Did Mr. Watson say anything to         15·   · · · · ·A.· ·It would not surprise me, no.
16·   ·you in that conversation about counsel having reviewed     16·   · · · · ·Q.· ·(BY MR. GARNETT)· Did you know that they
17·   ·and approved the Villanova Trust contract?                 17·   ·had both in-house and outside counsel reviewing those
18·   · · · · ·A.· ·I don't recall that, no.                      18·   ·contracts?
19·   · · · · ·Q.· ·Okay.· In the time that you worked at         19·   · · · · ·A.· ·No.
20·   ·Northstar, how much contact did you have with the          20·   · · · · ·Q.· ·Okay.· All right.· So after the
21·   ·lawyers at Jones & Keller, who represented Northstar?      21·   ·conversation you had with Mr. Watson -- it sounds like
22·   · · · · ·A.· ·The only contact I had, which was fairly      22·   ·that was in maybe August of 2019 --
23·   ·significant, was with Kerri Assell, and she was the        23·   · · · · ·A.· ·It could have been, yes.
24·   ·one who really represented us in the lease                 24·   · · · · · · · MS. ULLERY:· Objection, leading.
25·   ·negotiations, so working through leasing issues.           25·   · · · · ·Q.· ·-- about the Kirschners.· Was there

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·1·   ·another time when you came to have concerns about the      ·1·   · · · · ·Q.· ·So after the White Peaks blowup, if you
·2·   ·Amazon transactions?                                       ·2·   ·will, the next Monday, Mr. Watson is talking to
·3·   · · · · ·A.· ·Yeah, after we -- I think it was the          ·3·   ·Mr. Kirschner on the phone; is that right?
·4·   ·Monday after Brian's wedding, Brian had me in his          ·4·   · · · · ·A.· ·Correct.
·5·   ·office, and he was concerned to make sure that             ·5·   · · · · ·Q.· ·And does -- and you're in the room for
·6·   ·Casey -- our relationship with Amazon wasn't damaged       ·6·   ·part of that conversation?
·7·   ·due to what had happened with Will and Kyle.· So I was     ·7·   · · · · ·A.· ·Correct.
·8·   ·on a conversation with him.· And at one point in time,     ·8·   · · · · ·Q.· ·Did -- were you there when Mr. Watson
·9·   ·I recall Casey saying, "I really never liked Kyle that     ·9·   ·actually dialed Mr. Kirschner?
10·   ·much anyway.· He figured out what we were up to in two     10·   · · · · ·A.· ·Yes.
11·   ·weeks."· And at that point in time, I got up and left      11·   · · · · ·Q.· ·Okay.· And what did you understand the
12·   ·Brian's office.                                            12·   ·reason for dialing Mr. Kirschner was?
13·   · · · · ·Q.· ·(BY MR. GARNETT)· So let me sort that         13·   · · · · · · · MS. ULLERY:· Objection, speculative.
14·   ·out.· And again, we've established, I think, the only      14·   · · · · ·A.· ·It's my understanding that we were
15·   ·one-to-one conversation you've had with Casey              15·   ·touching base with Casey just to assess if there was
16·   ·Kirschner was the one about the -- was it development      16·   ·any damage from what had transpired with the White
17·   ·fee?                                                       17·   ·Peaks transaction.
18·   · · · · ·A.· ·Acquisition fee.                              18·   · · · · ·Q.· ·(BY MR. GARNETT)· And given what had
19·   · · · · ·Q.· ·Acquisition fee in December?                  19·   ·happened with the White Peaks transaction, did that
20·   · · · · ·A.· ·Correct.                                      20·   ·seem like a reasonable thing to be doing at that
21·   · · · · ·Q.· ·Other than that, you've never talked to       21·   ·point?
22·   ·him one on one?                                            22·   · · · · ·A.· ·Yes.
23·   · · · · ·A.· ·I have not.                                   23·   · · · · ·Q.· ·Okay.· So you didn't think there was
24·   · · · · ·Q.· ·And you've never met him?                     24·   ·anything wrong with him calling Casey Kirschner?
25·   · · · · ·A.· ·No.                                           25·   · · · · ·A.· ·No.
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·1·   · · · · ·Q.· ·Okay.· So he calls him, and then they         ·1·   ·figured out what we were up to two weeks in.
·2·   ·start talking?                                             ·2·   · · · · ·Q.· ·(BY MR. GARNETT)· And what did you --
·3·   · · · · ·A.· ·Uh-huh.                                       ·3·   ·what did you think that meant?
·4·   · · · · ·Q.· ·Yes?                                          ·4·   · · · · ·A.· ·I stepped out because I felt like the
·5·   · · · · ·A.· ·Uh-huh.                                       ·5·   ·conversation was going in a personal nature that
·6·   · · · · ·Q.· ·And I'm sorry.                                ·6·   ·wasn't appropriate for me to be a part of that
·7·   · · · · ·A.· ·Yes.· Sorry, sorry.                           ·7·   ·conversation.· So I stepped away.
·8·   · · · · ·Q.· ·It's all right.· You're doing great.          ·8·   · · · · ·Q.· ·Okay.· Well, let me ask you this.· Did
·9·   · · · · · · · And they talked for a while.· How long        ·9·   ·Mr. Watson ask you to step out?
10·   ·were you in the room?                                      10·   · · · · ·A.· ·He did not.
11·   · · · · ·A.· ·Ten minutes maybe.                            11·   · · · · ·Q.· ·And did he gesture at you or anything?
12·   · · · · ·Q.· ·All right.· And what are they talking         12·   · · · · ·A.· ·No.
13·   ·about?                                                     13·   · · · · ·Q.· ·So that was a decision that you made?
14·   · · · · ·A.· ·They're talking about what transpired         14·   · · · · ·A.· ·Yes.
15·   ·with the White Peaks transaction.                          15·   · · · · ·Q.· ·All right.· And you then left?
16·   · · · · ·Q.· ·And what does Mr. Watson say about that?      16·   · · · · ·A.· ·Yes.
17·   · · · · ·A.· ·It was just a general check-in.· I don't      17·   · · · · ·Q.· ·And how much longer did the conversation
18·   ·recall anything specific about it.· I think at that        18·   ·go on?
19·   ·point in time he told Casey that Will and Kyle were no     19·   · · · · ·A.· ·I don't know.
20·   ·longer going to be with the company.                       20·   · · · · ·Q.· ·All right.· Did you at some point come
21·   · · · · ·Q.· ·Okay.· And how did Casey react to that?       21·   ·back and talk to Mr. Watson about it?
22·   · · · · · · · MS. ULLERY:· Objection, speculative.          22·   · · · · ·A.· ·I came back, and we talked about what
23·   · · · · ·A.· ·What Casey stated on the call was what        23·   ·next steps were going to be through the whole thing,
24·   ·I've said.· He said -- I remember him saying it's a        24·   ·but I don't recall referencing that.
25·   ·good thing because I didn't trust him anyway, he           25·   · · · · ·Q.· ·You didn't say something to him like,

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·1·   ·"What the heck was that?· What was Casey talking           ·1·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· But you didn't
·2·   ·about?"                                                    ·2·   ·do anything about it?
·3·   · · · · · · · MS. ULLERY:· Object to the form.              ·3·   · · · · ·A.· ·I did not.
·4·   · · · · ·A.· ·No.                                           ·4·   · · · · ·Q.· ·Okay.· Did something else happen that
·5·   · · · · ·Q.· ·(BY MR. GARNETT)· Why not?                    ·5·   ·caused you to be concerned about the Amazon --
·6·   · · · · ·A.· ·I didn't feel -- I didn't feel                ·6·   · · · · ·A.· ·Yes.
·7·   ·comfortable talking about it.                              ·7·   · · · · ·Q.· ·-- transactions?
·8·   · · · · ·Q.· ·Well, you're the COO of Northstar,            ·8·   · · · · ·A.· ·Yes.
·9·   ·correct?                                                   ·9·   · · · · ·Q.· ·Tell me about that.
10·   · · · · ·A.· ·Correct.                                      10·   · · · · ·A.· ·So what my concern was is that as we
11·   · · · · ·Q.· ·And you're now saying you thought there       11·   ·were going through -- and this was in December --
12·   ·was something improper about that?                         12·   ·trying to determine where the $1.3 million acquisition
13·   · · · · ·A.· ·Uh-huh.                                       13·   ·fee lived within the leases, I was digging through,
14·   · · · · ·Q.· ·Yes?                                          14·   ·and there was many variations of lease budgets and
15·   · · · · ·A.· ·Yes.                                          15·   ·construction budgets.· So it took a lot of time to
16·   · · · · ·Q.· ·But you didn't feel it would have been        16·   ·sort through that, and not everything lined up.· So
17·   ·appropriate to raise that to Brian Watson?                 17·   ·what we're trying to do is figure out is there any
18·   · · · · ·A.· ·I did not, no.                                18·   ·document that Amazon would have signed that would have
19·   · · · · ·Q.· ·Even to ask him for an explanation?           19·   ·approved this $1.3 million acquisition fee, and we
20·   · · · · ·A.· ·I did not.                                    20·   ·couldn't find out anything.· So IPI was pushing on us
21·   · · · · ·Q.· ·So you just assumed it was something          21·   ·because they thought the money should be returned,
22·   ·nefarious, essentially?                                    22·   ·that we should not have taken the acquisition fee.
23·   · · · · · · · MS. ULLERY:· Objection, misstates             23·   · · · · · · · So as I'm going through the budgets, I
24·   ·testimony and form.                                        24·   ·noticed that there was a couple of line items -- one
25·   · · · · ·A.· ·I assumed that it was uncomfortable.          25·   ·or two line items, one of which was Adrenaline
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·1·   ·Capital.· So I asked IPI.· I said, "What is Adrenaline     ·1·   ·not privy to what happens with the money that we pay
·2·   ·Capital?"                                                  ·2·   ·from the referral fee --
·3·   · · · · · · · They said, "Oh, that's our referral fee       ·3·   · · · · ·Q.· ·Okay.
·4·   ·for," I believe it was Childress or something like         ·4·   · · · · ·A.· ·-- and so it should be appropriate.
·5·   ·that, who was paid for making some type of referral        ·5·   · · · · ·Q.· ·And did you believe Mr. Watson when he
·6·   ·associated with the transaction.                           ·6·   ·told you that?
·7·   · · · · · · · And I noticed that there was no               ·7·   · · · · ·A.· ·Which part?· All of the statements?
·8·   ·reference to Villanova as being a referral fee, and        ·8·   · · · · ·Q.· ·Yes.
·9·   ·looking at the documents associated with the               ·9·   · · · · ·A.· ·Yes, I believed him.
10·   ·partnership, the NS-IPI partnership, clearly stated        10·   · · · · ·Q.· ·And so between the conversation with
11·   ·that all financial transactions were communicated with     11·   ·Casey Kirschner that you walked out of and this event
12·   ·all of the partners.· I didn't see any evidence of         12·   ·in December, nothing else caused you to be concerned
13·   ·that, so that was my concern.                              13·   ·about the Amazon relationship; is that right?
14·   · · · · · · · And then kind of putting several things       14·   · · · · · · · MS. ULLERY:· Objection, misstates
15·   ·together, there was no reference to the Villanova.         15·   ·testimony.
16·   ·There was some behind the scenes, the relationship         16·   · · · · ·A.· ·I had several concerns just in our
17·   ·with the parties.· It began to make me concerned that      17·   ·ability to be able to execute on the contracts.· We
18·   ·there was something inappropriate that was happening.      18·   ·had gotten -- we had had some issues with our draws
19·   · · · · ·Q.· ·And did you go and talk to Mr. Watson         19·   ·and getting our reporting done.· So it was an overall
20·   ·about your concerns?                                       20·   ·performance about our ability to complete the --
21·   · · · · ·A.· ·I believe that I did, yes.                    21·   ·complete the work.
22·   · · · · ·Q.· ·Okay.· Tell me about that conversation.       22·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· But there was
23·   · · · · ·A.· ·It was the same conversation about            23·   ·nothing that caused you to be concerned that there was
24·   ·Villanova as far as that's our referral agreement,         24·   ·something nefarious about this arrangement?
25·   ·lawyers have taken a look at the documents, and I'm        25·   · · · · · · · MS. ULLERY:· Objection to form.

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·1·   · · · · ·A.· ·Beyond what I said, no.                       ·1·   ·give him a call?
·2·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Between the          ·2·   · · · · ·A.· ·I did.
·3·   ·conversation with Casey Kirschner and the IPI-related      ·3·   · · · · ·Q.· ·And did he tell you what he wanted to
·4·   ·review that you just described in December?                ·4·   ·talk to you about?
·5·   · · · · ·A.· ·Correct.                                      ·5·   · · · · ·A.· ·He did.
·6·   · · · · ·Q.· ·As a matter of fact, you went ahead and       ·6·   · · · · ·Q.· ·What did he tell you?
·7·   ·made the proposal -- put together the RFP response for     ·7·   · · · · ·A.· ·He wanted to talk to me about the White
·8·   ·an Amazon transaction in probably October or November;     ·8·   ·Plains transaction.
·9·   ·is that right?                                             ·9·   · · · · ·Q.· ·White Peaks?
10·   · · · · · · · MS. ULLERY:· Objection, form.                 10·   · · · · ·A.· ·White Peaks transaction, correct.
11·   · · · · ·A.· ·Yes.                                          11·   · · · · ·Q.· ·And were you at work when he made this
12·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Let's take a         12·   ·call to you initially?
13·   ·look at Exhibit 7, which is Document 8.· And before we     13·   · · · · ·A.· ·No, I was driving.
14·   ·get into this, I asked you before whether you had          14·   · · · · ·Q.· ·And do you know how he had gotten your
15·   ·contacted Mr. Huckel, and I think the answer was no,       15·   ·phone number to call you?
16·   ·he contacted you.· Is that right?                          16·   · · · · ·A.· ·I don't.
17·   · · · · ·A.· ·Correct.                                      17·   · · · · ·Q.· ·Okay.· And you then set up a meeting?
18·   · · · · ·Q.· ·And that was sometime in February?            18·   · · · · ·A.· ·Correct.
19·   · · · · ·A.· ·Right.                                        19·   · · · · ·Q.· ·All right.· And where did that meeting
20·   · · · · ·Q.· ·All right.· Tell me about that.· How did      20·   ·take place?
21·   ·that come about?                                           21·   · · · · ·A.· ·The phone call or the face-to-face
22·   · · · · ·A.· ·I just received a phone call from him         22·   ·meeting?
23·   ·one day and said he wanted to set up a meeting and         23·   · · · · ·Q.· ·Oh.· Well, was there first a more
24·   ·wanted me to give him a call.                              24·   ·substantive phone call and then a face-to-face
25·   · · · · ·Q.· ·And did you know -- okay.· And you did        25·   ·meeting?
                                                       Page 119                                                          Page 120
·1·   · · · · ·A.· ·I believe there was a couple substantive      ·1·   ·which I think is about five pages.· Did you -- as I
·2·   ·phone calls that we had, and then he organized a           ·2·   ·understand it, you eventually reviewed and signed off
·3·   ·face-to-face meeting.                                      ·3·   ·on a final version of this; is that right?
·4·   · · · · ·Q.· ·Okay.· And he was, I'm assuming, in           ·4·   · · · · ·A.· ·Correct.
·5·   ·these calls elaborating for you on what he wanted to       ·5·   · · · · ·Q.· ·Can you take a look at Exhibit 7 and see
·6·   ·talk about.· Is that right?                                ·6·   ·if this appears to you to be the version that you
·7·   · · · · ·A.· ·Correct.                                      ·7·   ·approved?
·8·   · · · · ·Q.· ·And was he asking you questions?              ·8·   · · · · ·A.· ·I'm sorry.· It took me a second to
·9·   · · · · ·A.· ·He was.                                       ·9·   ·figure out how to scroll.
10·   · · · · ·Q.· ·What do you remember about those phone        10·   · · · · ·Q.· ·Yes, of course.· No problem.
11·   ·calls?                                                     11·   · · · · · · · MS. ULLERY:· Objection, form.
12·   · · · · ·A.· ·Just that he was asking me questions          12·   · · · · ·A.· ·It appears to be.
13·   ·about what I knew that had taken place.· He had very       13·   · · · · ·Q.· ·(BY MR. GARNETT)· So this appears to be
14·   ·specific questions, and I provided answers.                14·   ·the final version that you signed?
15·   · · · · ·Q.· ·Okay.· When you met with him, did you         15·   · · · · ·A.· ·It appears to be.
16·   ·provide him with documents?                                16·   · · · · · · · MS. ULLERY:· Objection, form.
17·   · · · · ·A.· ·When I met with him face to face?· No.        17·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Do you
18·   · · · · ·Q.· ·Okay.· Did you provide him with               18·   ·remember, were there other drafts of this or was it
19·   ·documents prior to that?                                   19·   ·just presented to you and you reviewed it and you
20·   · · · · ·A.· ·I don't believe so, no.                       20·   ·signed it?
21·   · · · · ·Q.· ·Okay.· Let's take a look now at Exhibit       21·   · · · · · · · MS. ULLERY:· Objection, form.
22·   ·7.· This, I believe I've indicated --                      22·   · · · · ·A.· ·There was one prior draft, and I believe
23·   · · · · ·A.· ·Is this the declaration?                      23·   ·that I made some changes to it and then sent back
24·   · · · · ·Q.· ·Yes.· Which is a document to make it as       24·   ·those changes.
25·   ·confusing as possible.· Let's take a look at this,         25·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Do you remember

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·1·   ·what changes you made?                                     ·1·   · · · · ·Q.· ·And did the lawyers from Gibson Dunn
·2·   · · · · ·A.· ·I do not.                                     ·2·   ·explain to you what they were going to use this
·3·   · · · · ·Q.· ·Okay.· Who drafted this?· What did you        ·3·   ·declaration for?
·4·   ·understand?                                                ·4·   · · · · ·A.· ·As a part of their argument or case or
·5·   · · · · ·A.· ·I believe it was attorneys from Gibson.       ·5·   ·whatever you want to call it.
·6·   · · · · ·Q.· ·And was it Patrick Stokes?                    ·6·   · · · · ·Q.· ·Did you understand they were trying to
·7·   · · · · ·A.· ·I don't know.                                 ·7·   ·get an injunction against Brian Watson and Northstar
·8·   · · · · ·Q.· ·Do you know who the lawyers from Gibson       ·8·   ·for over $20 million?
·9·   ·were?                                                      ·9·   · · · · · · · MS. ULLERY:· Objection, leading.
10·   · · · · · · · MS. ULLERY:· Objection, asked and             10·   · · · · ·A.· ·I wasn't -- I just simply gave them the
11·   ·answered.                                                  11·   ·information they were looking for.· I wasn't privy to
12·   · · · · ·A.· ·I only spoke with Patrick and I believe       12·   ·outcomes.
13·   ·it was Lora.                                               13·   · · · · ·Q.· ·(BY MR. GARNETT)· They didn't explain to
14·   · · · · ·Q.· ·(BY MR. GARNETT)· Lora MacDonald?             14·   ·you what they were trying to do in the case?
15·   · · · · ·A.· ·Yeah.                                         15·   · · · · · · · MS. ULLERY:· Objection, form.
16·   · · · · ·Q.· ·Okay.· Great.· And did you understand         16·   · · · · ·A.· ·I don't recall that.
17·   ·what this was going to be used for?                        17·   · · · · · · · THE DEPONENT:· Sorry.
18·   · · · · ·A.· ·It was a document of my statements, and       18·   · · · · ·Q.· ·(BY MR. GARNETT)· That's okay.· You
19·   ·I assumed it was going to be used in this process.         19·   ·indicate here that before you were at Northstar, you'd
20·   · · · · ·Q.· ·Okay.· Let's take a look, just go             20·   ·worked in commercial real estate for about 20 years.
21·   ·through this and make sure I'm clear what you're           21·   ·That's at the various companies you've described?
22·   ·saying here.· Those are -- in Paragraph 2, those are       22·   · · · · ·A.· ·Correct.
23·   ·the dates of your employment at Northstar, March 5th,      23·   · · · · ·Q.· ·So your wife is a construction manager
24·   ·2019 to April 7th, 2020.· Does that sound right?           24·   ·for -- at Amazon, and she got that job shortly after
25·   · · · · ·A.· ·Yes.                                          25·   ·you stepped in to take over for Kyle and Will; is that
                                                       Page 123                                                          Page 124
·1·   ·right?                                                     ·1·   · · · · ·Q.· ·(BY MR. GARNETT)· Are you indicating you
·2·   · · · · · · · MS. ULLERY:· Objection, leading.              ·2·   ·didn't know about that until late 2019?
·3·   · · · · ·A.· ·I believe so.                                 ·3·   · · · · ·A.· ·No.· I think I was familiar with that
·4·   · · · · ·Q.· ·(BY MR. GARNETT)· October 21st, 2019.         ·4·   ·midsummer.
·5·   ·Does she still work at Amazon?                             ·5·   · · · · ·Q.· ·Okay.
·6·   · · · · ·A.· ·She does.                                     ·6·   · · · · ·A.· ·I'm not sure why it states that.
·7·   · · · · ·Q.· ·Okay.· You indicated that "Northstar          ·7·   · · · · ·Q.· ·Paragraph 8, you indicate that you
·8·   ·interacted primarily with Amazon through an Amazon         ·8·   ·observed a number of indicia of a close personal
·9·   ·transaction manager named Casey Kirschner, although my     ·9·   ·relationship between Brian Watson and Casey Kirschner.
10·   ·interactions with him were not extensive."                 10·   ·"On information and belief, Brian Watson communicated
11·   · · · · · · · What was the basis for saying that?           11·   ·with Casey Kirschner and another Amazon transaction
12·   · · · · ·A.· ·I didn't have regular interaction with        12·   ·manager Carleton Nelson through their Gmail accounts."
13·   ·him.                                                       13·   · · · · · · · When you say "on information and
14·   · · · · ·Q.· ·Right.· But why did you conclude that         14·   ·belief," is that -- you're saying you believe that's
15·   ·Northstar interacted with Amazon primarily with Casey      15·   ·true but you can't really prove it?· What are you
16·   ·Kirschner?                                                 16·   ·saying?
17·   · · · · ·A.· ·Because that's who both Brian and Kyle        17·   · · · · · · · MS. ULLERY:· Objection; speculative,
18·   ·stated they primarily interacted with.                     18·   ·leading.
19·   · · · · ·Q.· ·Here, you indicate that you later             19·   · · · · ·A.· ·I seem to recall that I'd seen some
20·   ·identified that Christian Kirschner was a trustee of       20·   ·communications from Casey, from his personal email
21·   ·the Villanova Trust --                                     21·   ·account.
22·   · · · · · · · MS. ULLERY:· I'm sorry, Stan, can you --      22·   · · · · ·Q.· ·(BY MR. GARNETT)· And you assumed that
23·   · · · · · · · MR. GARNETT:· I'm sorry.· Paragraph 7.        23·   ·because it was a personal email account there was
24·   · · · · · · · MS. ULLERY:· Thank you.                       24·   ·something inappropriate about it?
25·   · · · · · · · MR. GARNETT:· Yes, thanks, Counsel.           25·   · · · · · · · MS. ULLERY:· Objection, misstates

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·1·   ·testimony.                                                 ·1·   ·Northstar?
·2·   · · · · ·A.· ·No.                                           ·2·   · · · · ·A.· ·Yeah, we did -- we'd go to C Lazy U
·3·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· But that was         ·3·   ·Ranch.· We went up there for our Christmas party.
·4·   ·the basis for your concluding that he and Mr. Watson       ·4·   · · · · ·Q.· ·Okay.· And what kinds of things would
·5·   ·had a close personal relationship?                         ·5·   ·happen there?
·6·   · · · · ·A.· ·Yes.                                          ·6·   · · · · ·A.· ·There were activities, horseback riding
·7·   · · · · ·Q.· ·Okay.· Then you indicate, "On                 ·7·   ·and hiking.· I believe that we had a cornhole
·8·   ·information and belief, on or around December 5th,         ·8·   ·tournament, dinners.
·9·   ·2018, Brian Watson invited Casey Kirschner and             ·9·   · · · · ·Q.· ·Okay.· How many times did you go to the
10·   ·Carleton Nelson on a hunting trip to New Zealand."· Do     10·   ·C Lazy U Ranch?
11·   ·you see that?                                              11·   · · · · ·A.· ·I only recall once.
12·   · · · · ·A.· ·I do.                                         12·   · · · · ·Q.· ·Okay.· Paragraph 9, here we're
13·   · · · · ·Q.· ·And then again you say, "On information       13·   ·referencing what we've been through in terms of
14·   ·and belief, at least Casey Kirschner attended this         14·   ·finding out about the White Peaks transaction?
15·   ·trip."· Again, when you're saying "on information and      15·   · · · · ·A.· ·Uh-huh.
16·   ·belief," I'm assuming you mean you believe it to be        16·   · · · · ·Q.· ·When you indicate in Paragraph 9, "We
17·   ·the case, but you don't have personal knowledge.· Is       17·   ·learned that Nova WPC had purchased land," by "we,"
18·   ·that what you're saying?                                   18·   ·are you including Mr. Watson?
19·   · · · · · · · MS. ULLERY:· Objection to form.               19·   · · · · ·A.· ·Yes.
20·   · · · · ·A.· ·So that would be based upon after             20·   · · · · ·Q.· ·In other words, that he learned about it
21·   ·reviewing email traffic from Kyle when we had access       21·   ·when you learned about it, essentially?
22·   ·to his computer.· There was communications.                22·   · · · · ·A.· ·Correct.
23·   · · · · ·Q.· ·(BY MR. GARNETT)· In the time that you        23·   · · · · · · · MS. ULLERY:· Objection, misstates
24·   ·worked at Northstar, Mr. Lorman, did you participate       24·   ·testimony.
25·   ·in any relationship-building trips or activities at        25·   · · · · ·Q.· ·(BY MR. GARNETT)· Paragraph 11, you
                                                       Page 127                                                          Page 128
·1·   ·indicate that Brian Watson in this meeting "demanded       ·1·   · · · · ·Q.· ·And was there anything about that that
·2·   ·that Kyle Kirschner 'do the right thing and pay us the     ·2·   ·you thought was inappropriate, him settling this theft
·3·   ·money immediately' from the profits made on the NOVA       ·3·   ·of corporate opportunity situation?
·4·   ·WPC Transaction."· Do you remember Mr. Watson saying       ·4·   · · · · ·A.· ·No.
·5·   ·that?                                                      ·5·   · · · · ·Q.· ·You certainly didn't object to it?
·6·   · · · · ·A.· ·I do.                                         ·6·   · · · · ·A.· ·No.
·7·   · · · · ·Q.· ·Okay.· And did you, in fact, think that       ·7·   · · · · ·Q.· ·Oh, just so we're clear --
·8·   ·would have been the right thing for Mr. Ramstetter to      ·8·   · · · · · · · MR. GARNETT:· Thank you, Mr. Sandhu.
·9·   ·do?                                                        ·9·   · · · · ·Q.· ·(BY MR. GARNETT)· Mr. Lorman, take a
10·   · · · · ·A.· ·I don't recall having an opinion about        10·   ·look at Document 14, which also happens to be
11·   ·that.                                                      11·   ·Exhibit 14, and that appears to be your signed
12·   · · · · ·Q.· ·Well, you certainly -- you didn't object      12·   ·declaration.· If you can just confirm that for me.
13·   ·to that suggestion, right?                                 13·   · · · · ·A.· ·Yes.
14·   · · · · ·A.· ·No.                                           14·   · · · · ·Q.· ·Okay.· So that's the one that you
15·   · · · · ·Q.· ·Okay.· And then in Paragraph 12, you're       15·   ·actually signed, right?
16·   ·talking about the following Monday, September 30th,        16·   · · · · ·A.· ·Yes.
17·   ·and here, you're discussing the conversation where         17·   · · · · ·Q.· ·Okay.· Go back to Document 7, Exhibit 6.
18·   ·Casey Kirschner was on the call; is that right?            18·   · · · · ·A.· ·Got it.
19·   · · · · ·A.· ·Correct.                                      19·   · · · · ·Q.· ·Now, this is one of your emails to
20·   · · · · ·Q.· ·In Paragraph 13, you learned sometime in      20·   ·Mr. Huckel, right?
21·   ·October that Mr. Watson had settled the dispute with       21·   · · · · ·A.· ·Correct.
22·   ·Mr. Ramstetter and Mr. Camenson?                           22·   · · · · ·Q.· ·And are you aware, Mr. Lorman, that
23·   · · · · ·A.· ·Uh-huh.                                       23·   ·Mr. Huckel has been removed from this investigation?
24·   · · · · ·Q.· ·Yes?                                          24·   · · · · ·A.· ·I am not.
25·   · · · · ·A.· ·Yes.                                          25·   · · · · ·Q.· ·Okay.· Do you have any idea who's

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·1·   ·replaced him?                                              ·1·   ·Mr. Watson -- Mr. Lorman, that Mr. Watson had
·2·   · · · · ·A.· ·I have not.                                   ·2·   ·significant financial obligations to his ex-wife?
·3·   · · · · ·Q.· ·You haven't had any contact with the          ·3·   · · · · · · · MS. ULLERY:· Objection to form.
·4·   ·FBI, it sounds like?                                       ·4·   · · · · ·Q.· ·(BY MR. GARNETT)· Did you understand
·5·   · · · · ·A.· ·No.                                           ·5·   ·that?
·6·   · · · · ·Q.· ·Let's take a look at this email.· It          ·6·   · · · · ·A.· ·I believe that.
·7·   ·says, "Josh, the situation here is deteriorating           ·7·   · · · · ·Q.· ·Did he tell you that?
·8·   ·rapidly.· A few important updates for you.· One, we        ·8·   · · · · ·A.· ·I don't recall a specific conversation
·9·   ·could meet the current payroll, however this will be       ·9·   ·about that.
10·   ·the last."                                                 10·   · · · · ·Q.· ·Okay.· And who sent you this information
11·   · · · · · · · Why are you expressing these concerns         11·   ·about this?
12·   ·about payroll and cash flow to the FBI?                    12·   · · · · ·A.· ·I don't recall.
13·   · · · · ·A.· ·The concern was whether or not the            13·   · · · · ·Q.· ·Okay.· And why did you send this to the
14·   ·business would still be in place.· I believe Josh had      14·   ·FBI?
15·   ·mentioned that they wanted to come in and potentially      15·   · · · · ·A.· ·As further evidence of some of the
16·   ·grab files out of the office, and so letting him know      16·   ·financial difficulties which were impairing our
17·   ·that we may not be there when he comes to do that.         17·   ·viability.
18·   · · · · ·Q.· ·Okay.· You indicate here, additionally,       18·   · · · · ·Q.· ·Okay.· And at this time, late March of
19·   ·"Attached is a communication from his ex-wife."· And I     19·   ·2020, do you remember Mr. Watson talking to you about
20·   ·assume that's -- you're referring to Patricia Watson.      20·   ·concerns about whether IPI was going to make a payment
21·   ·Is that right?                                             21·   ·of over $3 million that was due?
22·   · · · · ·A.· ·Correct.                                      22·   · · · · · · · MS. ULLERY:· Objection, form.
23·   · · · · ·Q.· ·And it says, "He bounced a $312,000           23·   · · · · ·A.· ·I don't recall that.
24·   ·check to her.· Included in that amount was money due       24·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Did you know
25·   ·to her via a court order."· You understood,                25·   ·anything at this time about payments that IPI owed to
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·1·   ·Northstar?                                                 ·1·   · · · · ·A.· ·No.
·2·   · · · · ·A.· ·I would have to think about that. I           ·2·   · · · · ·Q.· ·Okay.· You're also telling Mr. Huckel
·3·   ·recall that there was concern about the $1.3 million       ·3·   ·about Mr. Watson owning a private jet, and you give
·4·   ·acquisition fee, that IPI felt should have been            ·4·   ·him the tail number of that jet.· Why did you do that?
·5·   ·refunded and that we should not have taken, and I          ·5·   · · · · ·A.· ·In case there was some concern that
·6·   ·believe that there was some amount of money that was       ·6·   ·Brian might just leave based upon the fact that we
·7·   ·due to us from IPI that was being held up because of       ·7·   ·were experiencing some significant financial
·8·   ·that.                                                      ·8·   ·difficulties, and so that if he tried to just fly
·9·   · · · · ·Q.· ·So the $1.5 million acquisition fee --        ·9·   ·away, that they would know where to find him.
10·   · · · · ·A.· ·1.3.                                          10·   · · · · ·Q.· ·Okay.· Let's go back to Document 5,
11·   · · · · ·Q.· ·Sorry, 1.3.· That's what you were             11·   ·which is Exhibit 4.· Do you have that?
12·   ·talking about with IPI back in December?                   12·   · · · · ·A.· ·I have Document 5.· Is this the email?
13·   · · · · ·A.· ·Correct.                                      13·   · · · · ·Q.· ·Yeah, these are -- I think you indicated
14·   · · · · ·Q.· ·And as far as you know, that never got        14·   ·you downloaded this from Kyle's computer.
15·   ·resolved?                                                  15·   · · · · ·A.· ·Yes.· That's correct.
16·   · · · · ·A.· ·I have no idea.                               16·   · · · · ·Q.· ·And when you did this, was Mr. Watson
17·   · · · · ·Q.· ·You've never seen documents tying that        17·   ·involved in helping you do this?
18·   ·together, pro formas or otherwise?                         18·   · · · · ·A.· ·No.
19·   · · · · ·A.· ·Tying what together?                          19·   · · · · ·Q.· ·How did you have access to Kyle
20·   · · · · ·Q.· ·The $1.3 million acquisition fee that         20·   ·Ramstetter's computer at this point?
21·   ·you were concerned about.                                  21·   · · · · ·A.· ·When he had left, we retained his
22·   · · · · ·A.· ·To any lease documents or anything like       22·   ·computers, and it was standard practice that when an
23·   ·that?                                                      23·   ·employee left, that we had access to their computer.
24·   · · · · ·Q.· ·Or any of the documents in the                24·   · · · · ·Q.· ·And who helped you then -- when you say
25·   ·transaction.                                               25·   ·"we," who helped you go through the computer?

                                                        EXHIBIT 4
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·1·   · · · · ·A.· ·Kristi.                                       ·1·   · · · · ·A.· ·Yes.
·2·   · · · · ·Q.· ·And did you do the same with Will             ·2·   · · · · ·Q.· ·Okay.· And what did they tell you when
·3·   ·Camenson's computer?                                       ·3·   ·they contacted you?
·4·   · · · · ·A.· ·We did.                                       ·4·   · · · · ·A.· ·Just had some questions about my
·5·   · · · · ·Q.· ·And "we" means you and Kristi?                ·5·   ·experience at Northstar.
·6·   · · · · ·A.· ·Correct.                                      ·6·   · · · · ·Q.· ·Okay.· And did they have an investigator
·7·   · · · · ·Q.· ·Great.                                        ·7·   ·interview you or did just the lawyers talk to you?
·8·   · · · · · · · MR. GARNETT:· I've got a few cleanup          ·8·   · · · · ·A.· ·I don't know --
·9·   ·questions.· Let me do those, then take a short break.      ·9·   · · · · · · · MS. ULLERY:· Objection, compound.
10·   ·Then I'll turn it over to you, and we're happy to take     10·   · · · · ·A.· ·I don't know what their roles were, but
11·   ·whatever break for lunch we need to do.                    11·   ·I assume if they were lawyers, it was, again, Lora and
12·   · · · · · · · MS. ULLERY:· Okay.· Was Nelson's counsel      12·   ·Patrick.
13·   ·going to be asking questions as well?                      13·   · · · · ·Q.· ·Okay.· Did you feel that you had any
14·   · · · · · · · MR. GARNETT:· Oh, yeah.· Let me finish        14·   ·obligation of confidentiality to Northstar at that
15·   ·here.· We'll take a break.· We'll figure out the           15·   ·point?
16·   ·order.                                                     16·   · · · · ·A.· ·Any obligation of confidentiality?
17·   · · · · ·Q.· ·(BY MR. GARNETT)· So, Mr. Lorman, you         17·   · · · · ·Q.· ·And let me just ask you.· Here's why I'm
18·   ·got the call from the FBI in February.                     18·   ·asking.
19·   · · · · ·A.· ·Uh-huh.                                       19·   · · · · ·A.· ·Sure.
20·   · · · · ·Q.· ·How did you end up getting in touch with      20·   · · · · ·Q.· ·You're an ex-COO of a company, and
21·   ·Gibson Dunn's lawyers?                                     21·   ·within a few weeks of you leaving the company, lawyers
22·   · · · · ·A.· ·I believe they contacted me.                  22·   ·from somebody else call you up and start asking you
23·   · · · · ·Q.· ·Okay.· And when did that happen?              23·   ·about financial and other information about that
24·   · · · · ·A.· ·I'm going to say April-ish.                   24·   ·company.· Did you have any concern about talking to
25·   · · · · ·Q.· ·After you'd left working at Northstar?        25·   ·them?
                                                       Page 135                                                          Page 136
·1·   · · · · · · · MS. ULLERY:· Objection, form.                 ·1·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Did you ever
·2·   · · · · ·A.· ·I did not.                                    ·2·   ·have any reason to believe that the payments to
·3·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Why not?             ·3·   ·Villanova Trust were other than what was laid out and
·4·   · · · · ·A.· ·I don't know.                                 ·4·   ·appropriated in the Villanova Trust agreement that we
·5·   · · · · ·Q.· ·Okay.· At some point, somebody starts         ·5·   ·looked at a while ago?
·6·   ·using the word "kickback."                                 ·6·   · · · · ·A.· ·No.· The only time that I questioned
·7·   · · · · ·A.· ·Okay.                                         ·7·   ·that is in reading court documents and learning that
·8·   · · · · · · · MS. ULLERY:· Objection to form.               ·8·   ·both Carl and Casey had access to the account.
·9·   · · · · ·Q.· ·(BY MR. GARNETT)· Do you know that word?      ·9·   · · · · ·Q.· ·Okay.· So -- and by "access to the
10·   · · · · ·A.· ·I've heard the term.                          10·   ·account," what do you mean?
11·   · · · · ·Q.· ·Have you heard it in connection with          11·   · · · · ·A.· ·Just what it said in the court documents
12·   ·Amazon?                                                    12·   ·that I had read.
13·   · · · · ·A.· ·Specifically, no.                             13·   · · · · ·Q.· ·And there's been a lot of court
14·   · · · · ·Q.· ·Okay.· Did Mr. Huckel use the word            14·   ·documents.
15·   ·"kickback"?                                                15·   · · · · ·A.· ·There's been a lot.
16·   · · · · ·A.· ·I don't recall.                               16·   · · · · ·Q.· ·I'm trying to figure out -- you don't
17·   · · · · ·Q.· ·Have you ever used the word "kickback"        17·   ·have to tell me.· I'm trying to figure out what it is
18·   ·to describe what was somehow happening with the Amazon     18·   ·you understood from what you were looking at that
19·   ·transactions?                                              19·   ·somehow Casey and Carl --
20·   · · · · ·A.· ·I don't know that I used that specific        20·   · · · · ·A.· ·Had withdrawal privileges from the
21·   ·term.                                                      21·   ·account.
22·   · · · · ·Q.· ·Did you use another term that's maybe         22·   · · · · ·Q.· ·Okay.· Anything else that led you to
23·   ·similar to "kickback"?                                     23·   ·believe that the money that was paid from Northstar to
24·   · · · · · · · MS. ULLERY:· Objection, vague.                24·   ·Villanova Trust was somehow going to be paid to Casey
25·   · · · · ·A.· ·I think -- no.                                25·   ·and Carl?

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·1·   · · · · · · · MS. ULLERY:· Objection to form.               ·1·   ·there may have been multiple times, but the results
·2·   · · · · ·A.· ·My only knowledge of that just came from      ·2·   ·were the same thing -- that Brian stated that once
·3·   ·reading court documents, you know, various                 ·3·   ·Villanova gets paid, he has no knowledge where the
·4·   ·transcripts.· There was transcripts of other phone         ·4·   ·money goes from there.
·5·   ·conversations, I believe, that were in there as well,      ·5·   · · · · ·Q.· ·Okay.· And do you believe that was true?
·6·   ·too, so . . .                                              ·6·   · · · · ·A.· ·I don't know.
·7·   · · · · ·Q.· ·(BY MR. GARNETT)· And certainly all of        ·7·   · · · · ·Q.· ·Okay.· And did Mr. Watson tell you that
·8·   ·those court documents that you would have read were        ·8·   ·counsel had reviewed the Villanova Trust arrangement
·9·   ·drafted and put together well after you left --            ·9·   ·and approved it?
10·   · · · · ·A.· ·Absolutely.                                   10·   · · · · · · · MS. ULLERY:· Objection, asked and
11·   · · · · ·Q.· ·-- on April 7th?                              11·   ·answered.
12·   · · · · ·A.· ·Absolutely.                                   12·   · · · · ·A.· ·Yes.
13·   · · · · ·Q.· ·And, of course, we're getting to the          13·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· What do you
14·   ·point now where you are very good at figuring out what     14·   ·know about the internal approval process of Amazon for
15·   ·I'm going to ask.· Let me get the question out.            15·   ·approving transactions like this?
16·   · · · · ·A.· ·Absolutely.                                   16·   · · · · · · · MS. ULLERY:· Objection to foundation.
17·   · · · · ·Q.· ·And did you ever have a conversation          17·   · · · · ·A.· ·Nothing.
18·   ·with Brian Watson about whether or not any of the          18·   · · · · ·Q.· ·(BY MR. GARNETT)· Did your wife's
19·   ·money that was paid to Villanova was being paid to         19·   ·getting a job at Amazon have anything to do with your
20·   ·Carl and Casey?                                            20·   ·employment at Northstar?
21·   · · · · ·A.· ·Yes.                                          21·   · · · · ·A.· ·No.
22·   · · · · ·Q.· ·When did you have that conversation?          22·   · · · · · · · MS. ULLERY:· Objection, vague.
23·   · · · · ·A.· ·I don't recall.                               23·   · · · · ·Q.· ·(BY MR. GARNETT)· Did you ever do
24·   · · · · ·Q.· ·And tell me about that conversation.          24·   ·anything to try to -- strike that.· Did you ever
25·   · · · · ·A.· ·The only conversation that we had -- and      25·   ·present any of your concerns about or discomfort about
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·1·   ·things, as you've described it, with the Amazon            ·1·   · · · · ·Q.· ·Okay.
·2·   ·relationship to Mr. Watson?                                ·2·   · · · · ·A.· ·Is that the correct date?
·3·   · · · · ·A.· ·I believe so, yes.                            ·3·   · · · · ·Q.· ·Well, there is -- yes, there is an email
·4·   · · · · ·Q.· ·And -- and I may object to my own             ·4·   ·dated April 2nd.· Are you -- do you understand that
·5·   ·question.· That's when he says it's been approved by       ·5·   ·the FBI visited Mr. Watson at his house on April 2nd?
·6·   ·counsel, right?                                            ·6·   · · · · ·A.· ·I do.
·7·   · · · · · · · MS. ULLERY:· Object to form.                  ·7·   · · · · ·Q.· ·Okay.· And putting aside the email --
·8·   · · · · ·A.· ·Right.                                        ·8·   · · · · ·A.· ·Okay.
·9·   · · · · ·Q.· ·(BY MR. GARNETT)· And is that after the       ·9·   · · · · ·Q.· ·-- that you're referring -- and he sent
10·   ·conversation you overheard with Casey Kirschner in         10·   ·an email out about that in the evening.· Did you get a
11·   ·late September of 2019?                                    11·   ·copy of that email?
12·   · · · · ·A.· ·I don't recall.                               12·   · · · · ·A.· ·I did.
13·   · · · · ·Q.· ·If I understand your testimony -- and         13·   · · · · ·Q.· ·Prior to that email, did you find out
14·   ·I'm just trying to clarify -- it sounds like you may       14·   ·that the FBI had visited him that morning?
15·   ·have had conversations with him about that topic both      15·   · · · · ·A.· ·Yes.
16·   ·before or after?                                           16·   · · · · ·Q.· ·Okay.· How did you find out about that?
17·   · · · · · · · MS. ULLERY:· Objection, form.                 17·   · · · · ·A.· ·He told me.
18·   · · · · ·A.· ·Yes.                                          18·   · · · · ·Q.· ·What did he tell you?
19·   · · · · ·Q.· ·(BY MR. GARNETT)· All right.· Let's talk      19·   · · · · ·A.· ·I believe he was calling me on his
20·   ·about April 2nd.· Do you remember April 2nd of 2020?       20·   ·wife's phone because I think the FBI took his phone
21·   · · · · ·A.· ·I do.                                         21·   ·and just stated that the FBI had been to his house.
22·   · · · · ·Q.· ·Okay.· And what do you remember about         22·   ·The conversation started out talking about the wire
23·   ·that day?                                                  23·   ·fraud issue, migrated into this particular issue, and
24·   · · · · ·A.· ·I'm assuming that's the date when Brian       24·   ·they'd taken all of his electronic equipment.
25·   ·sent out his letter and had his suicidal thoughts.         25·   · · · · ·Q.· ·Okay.· Was he upset about this?

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·1·   · · · · ·A.· ·Yes.                                          ·1·   · · · · ·A.· ·That was the next day, on the 3rd.
·2·   · · · · ·Q.· ·Okay.                                         ·2·   · · · · ·Q.· ·Okay.· Why did you make that offer?
·3·   · · · · ·A.· ·I don't know if he was, but he sounded        ·3·   · · · · ·A.· ·A number -- we were flooded with phone
·4·   ·upset.                                                     ·4·   ·calls from people he sent that email to, from
·5·   · · · · ·Q.· ·Fair enough.· Did you meet with him in        ·5·   ·investors, stakeholders, a variety of people, who
·6·   ·person on that day?                                        ·6·   ·asked us what's going to happen to Brian, is he
·7·   · · · · ·A.· ·I don't recall meeting with him in            ·7·   ·stepping away, are you stepping in.· And so we talked
·8·   ·person.                                                    ·8·   ·amongst ourselves and said, "Clearly somebody who's in
·9·   · · · · ·Q.· ·Okay.· And then in the evening, you got       ·9·   ·the state of mind to send out the email he did is
10·   ·a copy of his email?                                       10·   ·probably not going to be coming back to work for a
11·   · · · · ·A.· ·I did.                                        11·   ·while," and really focus on taking care of yourself.
12·   · · · · ·Q.· ·Prior to that, did you have a meeting         12·   ·We talked about if that's the case, what do we do
13·   ·with Mr. Watson and others where you offered to take       13·   ·because the plane is in the middle of flight, how do
14·   ·over and run Northstar?                                    14·   ·we take care of business.
15·   · · · · · · · MS. ULLERY:· Objection, form.                 15·   · · · · ·Q.· ·And what was the plan that you proposed?
16·   · · · · ·A.· ·What was the timing?                          16·   · · · · ·A.· ·Our approach was for Brian, if he is
17·   · · · · ·Q.· ·(BY MR. GARNETT)· Prior to -- so you've       17·   ·stepping away, then I would step into a more
18·   ·got the search in the morning on April 2nd.                18·   ·aggressive COO-type role, looking at all aspects of
19·   · · · · ·A.· ·Right.                                        19·   ·the business, and Brent was going to step in as the
20·   · · · · ·Q.· ·You've got his email in the evening on        20·   ·CFO and be able to authorize transactions.
21·   ·April 2nd.                                                 21·   · · · · ·Q.· ·And what happened to that proposal?
22·   · · · · ·A.· ·Right.                                        22·   · · · · ·A.· ·So we connected several times.· We
23·   · · · · ·Q.· ·I'm wondering whether there was a             23·   ·talked to members of your firm.· You may have been on
24·   ·meeting late on April 2nd where you and others offered     24·   ·those calls as well, too.· So we discussed what our
25·   ·to manage Northstar after the FBI had visited.             25·   ·go-forward strategy would be, and Brian was a part of
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·1·   ·those conversations as well, too.                          ·1·   ·Northstar's condition at that point that would have
·2·   · · · · ·Q.· ·Do you remember why they didn't come          ·2·   ·kept you from stepping into a management role if
·3·   ·together?                                                  ·3·   ·Mr. Watson had agreed to that; is that right?
·4·   · · · · ·A.· ·Brian really didn't want to step away.        ·4·   · · · · · · · MS. ULLERY:· Objection, form.
·5·   ·He still wanted to have active control.· And both          ·5·   · · · · ·A.· ·I'm not clear about the question.· There
·6·   ·Brent and I didn't feel like that was going to be          ·6·   ·was nothing about the organization that would preclude
·7·   ·feasible, so we said we would step away.                   ·7·   ·me from doing that?
·8·   · · · · ·Q.· ·And my understanding is that Brent Gray       ·8·   · · · · ·Q.· ·(BY MR. GARNETT)· Well, you felt
·9·   ·resigned as of April 3rd.· Is that your understanding?     ·9·   ·comfortable making that offer?
10·   · · · · ·A.· ·No.· He was there until, I think, the         10·   · · · · ·A.· ·I did.
11·   ·15th or so.                                                11·   · · · · · · · MR. GARNETT:· Let's take a break.· Let
12·   · · · · ·Q.· ·Okay.                                         12·   ·me look at my notes.· I'm sure we'll have a few more
13·   · · · · ·A.· ·I was the one who resigned immediately.       13·   ·questions.
14·   · · · · ·Q.· ·Okay.· And I think the date of your           14·   · · · · · · · Let's go off the record and talk about
15·   ·resignation -- I may not have it right -- was              15·   ·order.
16·   ·April 7th.· Does that sound right?                         16·   · · · · · · · THE VIDEOGRAPHER:· The time is 11:51.
17·   · · · · ·A.· ·Could have been.· We notified -- both         17·   ·We are off the record.
18·   ·Brent and I notified Brian that we would resign that       18·   · · · · · · · (Recess taken.)
19·   ·day, on Friday, if he didn't accept it.· We had            19·   · · · · · · · THE VIDEOGRAPHER:· The time is 12:15.
20·   ·several conversations over the weekend, and then           20·   ·We are back on the record.
21·   ·Monday and Tuesday.· Couldn't come to terms.· So we        21·   · · · · ·Q.· ·(BY MR. GARNETT)· Great.· Mr. Lorman,
22·   ·decided Wednesday was, like, pencils down, and Brent       22·   ·we're back on the record, and I have a few more
23·   ·stayed for another two weeks because he wanted to get      23·   ·questions.· So in talking to various folks in taking
24·   ·through payroll.                                           24·   ·some depositions, it's apparent that by sometime late
25·   · · · · ·Q.· ·So there certainly wasn't anything about      25·   ·2019, early 2020 in Northstar there had been a rumor

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·1·   ·mill developing about Amazon and what was going on         ·1·   · · · · ·Q.· ·Okay.· Why not?
·2·   ·with the Amazon projects.· Was Mr. Mancuso a part of       ·2·   · · · · ·A.· ·Because it was the FBI.
·3·   ·that rumor mill, do you think?                             ·3·   · · · · ·Q.· ·Okay.· What about other parties?· Did
·4·   · · · · · · · MS. ULLERY:· Objection, form.                 ·4·   ·you have concern about sharing things with other
·5·   · · · · ·A.· ·I don't know what the rumor mill was, so      ·5·   ·folks?
·6·   ·I really can't speak to that.· I'm not sure.               ·6·   · · · · ·A.· ·I think the only other group that I
·7·   · · · · ·Q.· ·(BY MR. GARNETT)· That's a fair               ·7·   ·shared documents with was IPI, and based upon the fact
·8·   ·question.· Do you think there was a rumor mill?· Was       ·8·   ·that they were business partners in an entity and this
·9·   ·there a lot of chatter about what was going on with        ·9·   ·involved that entity, I had concerns and brought it to
10·   ·the Amazon projects?                                       10·   ·the directors of the organization, so --
11·   · · · · · · · MS. ULLERY:· Objection to form.               11·   · · · · ·Q.· ·Let's talk about that.· When did you --
12·   · · · · ·A.· ·Well, here's what I would say.· There         12·   ·you talked about the various concerns you had.· When
13·   ·was a lot of conversation both informally and formally     13·   ·did you bring these concerns to the attention of IPI?
14·   ·about Amazon.· It was our biggest -- I don't want to       14·   · · · · ·A.· ·The only concern that I brought to the
15·   ·say issue, but biggest project.· So a lot of people        15·   ·attention of IPI was whether they knew about Villanova
16·   ·were well aware of it.· I think it was a common            16·   ·Trust, and so I went to Chicago to meet with Luke
17·   ·understanding that we were having challenges in trying     17·   ·Gilpin; and the only reason that I met with him was,
18·   ·to sort things, so, yeah, there was a lot of               18·   ·as I was going through the documents, I didn't see any
19·   ·conversation.· I don't know if it's necessarily a          19·   ·information about Villanova Trust.· Everybody knew
20·   ·rumor mill.                                                20·   ·about all the other referral partners, and I just
21·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Did you at any       21·   ·simply asked him, "Is this something that you know
22·   ·point have any concern about whether sharing documents     22·   ·about?"· If they had said yes, that's it.
23·   ·with the FBI or others would have violated your duty       23·   · · · · ·Q.· ·So when did you reach out to IPI to have
24·   ·of confidentiality or fiduciary duties to Northstar?       24·   ·that conversation with them?
25·   · · · · ·A.· ·It did not.                                   25·   · · · · ·A.· ·In mid-January.
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·1·   · · · · ·Q.· ·Okay.· And what was it in mid-January         ·1·   · · · · · · · MS. ULLERY:· Objection, form.
·2·   ·that occurred that caused you to do that?                  ·2·   · · · · ·A.· ·That's right.
·3·   · · · · ·A.· ·One, there was several pressure points        ·3·   · · · · ·Q.· ·(BY MR. GARNETT)· And did you talk to
·4·   ·that were increasing.· Number one, the conversations       ·4·   ·Mr. Watson before you did that?
·5·   ·with Kristi and Brent that each payroll was becoming       ·5·   · · · · ·A.· ·I don't recall.
·6·   ·more and more difficult, so I had questions about the      ·6·   · · · · ·Q.· ·Did you feel you had an obligation to do
·7·   ·long-term viability of the company.· That was number       ·7·   ·that?
·8·   ·one.                                                       ·8·   · · · · ·A.· ·I believe that we spoke about it prior,
·9·   · · · · · · · Number two, IPI was becoming more and         ·9·   ·so --
10·   ·more insistent about this $1.3 million payback, and        10·   · · · · ·Q.· ·So you told Mr. Watson you were going to
11·   ·now I do recall that there was that leverage, that         11·   ·Chicago to meet with IPI?
12·   ·they were holding up some type of payment released to      12·   · · · · ·A.· ·No, I did not.
13·   ·us for that; and that was really critical that we got      13·   · · · · ·Q.· ·Why didn't you?
14·   ·that money in.· And so that was becoming a greater         14·   · · · · ·A.· ·I don't know.
15·   ·pressure for the organization as well, too.                15·   · · · · ·Q.· ·Okay.· And when you went to Chicago to
16·   · · · · · · · And so each of these things was lining        16·   ·meet with IPI, was it Luke Gilpin that you met with?
17·   ·up that I felt like I had to raise my hand and just        17·   · · · · ·A.· ·Yes.
18·   ·get some understanding was this -- did all the             18·   · · · · ·Q.· ·How long did you meet with him?
19·   ·partners know about this arrangement.                      19·   · · · · ·A.· ·20 minutes to a half hour.
20·   · · · · ·Q.· ·Did you talk to Mr. Watson before you         20·   · · · · ·Q.· ·Okay.· Where did you meet with him?
21·   ·met with people at IPI?                                    21·   · · · · ·A.· ·At the United Club lounge at O'Hare
22·   · · · · ·A.· ·About what?                                   22·   ·Airport.
23·   · · · · ·Q.· ·Apparently you felt an obligation to          23·   · · · · ·Q.· ·So did you fly commercial to get there?
24·   ·disclose something about Villanova Trust to IPI; is        24·   · · · · ·A.· ·I did.
25·   ·that right?                                                25·   · · · · ·Q.· ·And who paid for your ticket?

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·1·   · · · · ·A.· ·I did.                                        ·1·   · · · · ·A.· ·I don't, no.
·2·   · · · · ·Q.· ·Personally?                                   ·2·   · · · · ·Q.· ·(BY MR. GARNETT)· So you do remember
·3·   · · · · ·A.· ·I did.                                        ·3·   ·April 2nd was a pretty eventful day.· There was a
·4·   · · · · ·Q.· ·Not Northstar?                                ·4·   ·visit from the FBI.· And then you sent Mr. Watson the
·5·   · · · · ·A.· ·No.                                           ·5·   ·termination letters that IPI had sent.· Do you
·6·   · · · · ·Q.· ·Why did you not have Northstar reimburse      ·6·   ·remember doing that?
·7·   ·you?                                                       ·7·   · · · · ·A.· ·I do.
·8·   · · · · ·A.· ·I just didn't fill out the reimbursement      ·8·   · · · · ·Q.· ·And where did you receive those letters?
·9·   ·paperwork.                                                 ·9·   · · · · ·A.· ·In my email.
10·   · · · · ·Q.· ·Did you not want Mr. Watson to know           10·   · · · · ·Q.· ·Okay.· And did you know that those
11·   ·about this trip?                                           11·   ·letters were in the works?
12·   · · · · · · · MS. ULLERY:· Objection to form.               12·   · · · · ·A.· ·No.
13·   · · · · ·A.· ·No, not necessarily.· I mean, no, I just      13·   · · · · ·Q.· ·Okay.· Had you had any discussions with
14·   ·didn't fill out the expense reimbursement.                 14·   ·anybody at IPI about those termination notices?
15·   · · · · ·Q.· ·(BY MR. GARNETT)· And was it a day trip?      15·   · · · · ·A.· ·They had mentioned -- I believe that
16·   · · · · ·A.· ·It was.· I was there and back.                16·   ·they had mentioned that they might do something like
17·   · · · · ·Q.· ·Okay.· Did you get any kind of                17·   ·that, but I didn't have anything specific --
18·   ·compensation from IPI for working with them and            18·   · · · · ·Q.· ·And what did you understand -- what did
19·   ·providing information to them?                             19·   ·you understand the basis was for those termination
20·   · · · · ·A.· ·No.                                           20·   ·letters?
21·   · · · · ·Q.· ·Do you know who the whistleblower was         21·   · · · · ·A.· ·The $1.3 million acquisition fee.
22·   ·that sent an email to Jeff Bezos I think in December       22·   · · · · ·Q.· ·Okay.· So your testimony is that IPI
23·   ·of 2019?                                                   23·   ·sent the termination letters based on the fact that
24·   · · · · · · · MS. ULLERY:· Objection; form,                 24·   ·you were not able to find an explanation for the
25·   ·foundation.                                                25·   ·$1.3 million acquisition fee that you described
                                                       Page 151                                                          Page 152
·1·   ·earlier?                                                   ·1·   · · · · · · · MR. GARNETT:· Adam, are you okay?
·2·   · · · · · · · MS. ULLERY:· Objection, form.                 ·2·   · · · · · · · MR. SMART:· I am good.· Did you get that
·3·   · · · · ·A.· ·My testimony is I believe that's the          ·3·   ·exhibit?· Or I could do it, but I figured you guys
·4·   ·case.· I don't know that for a fact.                       ·4·   ·have control.
·5·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Did you talk         ·5·   · · · · · · · MR. GARNETT:· Neil, did you get that?
·6·   ·with them about it?                                        ·6·   · · · · · · · MR. SMART:· I don't need it first, so we
·7·   · · · · ·A.· ·I don't recall speaking to them about         ·7·   ·can get right in, and I'll give you a moment to get
·8·   ·it, no.                                                    ·8·   ·there.· Is everybody ready to go?
·9·   · · · · ·Q.· ·You did talk with them, though, about         ·9·   · · · · · · · MS. ULLERY:· Yes.
10·   ·the $1.3 million acquisition fee?                          10·   · · · · · · · MR. GARNETT:· Yes.
11·   · · · · ·A.· ·Many times.                                   11·   · · · · · · · · · · · EXAMINATION
12·   · · · · ·Q.· ·And that's what you believe was the           12·   ·BY MR. SMART:
13·   ·basis for those letters?                                   13·   · · · · ·Q.· ·Let's see.· You are -- is it still
14·   · · · · ·A.· ·Yes.                                          14·   ·morning there for you?· No, we're afternoon for
15·   · · · · ·Q.· ·Okay.· And do you know whether IPI had        15·   ·everyone.· Good afternoon, Mr. Lorman.· Again, my name
16·   ·any reason to know ahead of time about the visit from      16·   ·is Adam Smart with the law firm of Burr & Forman, and
17·   ·the FBI to Mr. Watson's house on April 2nd?                17·   ·I represent Carl Nelson and Cheshire Ventures in this
18·   · · · · ·A.· ·No.                                           18·   ·matter.
19·   · · · · · · · MS. ULLERY:· Objection; form,                 19·   · · · · · · · Have you ever met Carl Nelson?
20·   ·foundation.                                                20·   · · · · ·A.· ·No.
21·   · · · · · · · MR. GARNETT:· That's all the questions        21·   · · · · ·Q.· ·Have you ever spoken to him?
22·   ·I've got for you right now, Mr. Lorman.· I'm sure I'll     22·   · · · · ·A.· ·No.
23·   ·have some more at the end of the day, but I want to        23·   · · · · ·Q.· ·Have you had any interaction with him
24·   ·give some other folks a chance.                            24·   ·whatsoever?
25·   · · · · · · · THE DEPONENT:· Sounds good.                   25·   · · · · ·A.· ·No.

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            149–152      YVer1f
       Case 1:20-cv-00484-RDA-TCB Document   696-5 Services
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·1·   · · · · ·Q.· ·I believe early on Mr. Garnett was            ·1·   ·to Kyle or --
·2·   ·asking you about your declaration where I believe you      ·2·   · · · · · · · MS. ULLERY:· Objection, form.
·3·   ·mentioned my client in that declaration.· Do you           ·3·   · · · · ·A.· ·I don't --
·4·   ·recall him being mentioned in the declaration?             ·4·   · · · · ·Q.· ·(BY MR. SMART)· Who were those emails
·5·   · · · · ·A.· ·I don't.                                      ·5·   ·to?
·6·   · · · · ·Q.· ·Okay.· Let's pull it out.· Let's look at      ·6·   · · · · ·A.· ·I don't recall.· I just saw that they
·7·   ·Exhibit 7.                                                 ·7·   ·were included in the directions of those emails. I
·8·   · · · · ·A.· ·I've got it.                                  ·8·   ·don't know who they were specifically addressed to.
·9·   · · · · ·Q.· ·Okay.· And it's going to be at Paragraph      ·9·   · · · · ·Q.· ·On this, you say you believe it was to
10·   ·8, is where you speak about -- well, this is the           10·   ·Brian Watson, right?
11·   ·unsigned one.                                              11·   · · · · ·A.· ·Sure.
12·   · · · · · · · MR. SMART:· Is it 14?                         12·   · · · · ·Q.· ·Okay.· So as we sit here today, you
13·   · · · · · · · MR. GARNETT:· It's 14, yeah.                  13·   ·can't actually say it was to Brian Watson?
14·   · · · · ·Q.· ·(BY MR. SMART)· Let's look at that so we      14·   · · · · · · · MS. ULLERY:· Objection, form.
15·   ·have a good question.· In Paragraph 8, there's a           15·   · · · · ·A.· ·I cannot.
16·   ·portion that says, "For example, on information and        16·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· It says "on
17·   ·belief, Brian Watson communicated with Casey Kirschner     17·   ·information and belief."· Does that indicate that you
18·   ·in another Amazon transaction with Carleton Nelson         18·   ·don't actually know?
19·   ·through their email accounts."                             19·   · · · · · · · MS. ULLERY:· Objection, form.
20·   · · · · · · · Have you seen emails to or from my            20·   · · · · ·A.· ·What it indicates is that I don't recall
21·   ·client to Brian Watson?                                    21·   ·specifically today.· At that point in time, likely I
22·   · · · · ·A.· ·I believe that I saw something on an          22·   ·did know.
23·   ·email that was on either Kyle or Will's computer that      23·   · · · · ·Q.· ·(BY MR. SMART)· When you signed this
24·   ·would have had their private emails addresses on it.       24·   ·declaration you knew?
25·   · · · · ·Q.· ·Okay.· And was that to Brian or was that      25·   · · · · ·A.· ·Yes.
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·1·   · · · · ·Q.· ·Do you know what the term "on                 ·1·   · · · · ·Q.· ·Okay.· And you said some other things on
·2·   ·information and belief" means?                             ·2·   ·information and belief.· It's your understanding that
·3·   · · · · ·A.· ·I do not.                                     ·3·   ·at the time you signed this declaration they were
·4·   · · · · ·Q.· ·Did you put this information in this          ·4·   ·true?
·5·   ·document?                                                  ·5·   · · · · ·A.· ·Based upon what I believed to be true,
·6·   · · · · ·A.· ·This document was written, and I              ·6·   ·yes.
·7·   ·approved it.                                               ·7·   · · · · ·Q.· ·Okay.· And this was all firsthand
·8·   · · · · ·Q.· ·That's not my question.· Did you --           ·8·   ·knowledge that you were using to believe this was
·9·   ·well, did you ask anybody what that information --         ·9·   ·true?
10·   ·what that phrase meant before you signed this?             10·   · · · · ·A.· ·For which item?· All of them?
11·   · · · · ·A.· ·No.                                           11·   · · · · ·Q.· ·Well, for all the three things in this
12·   · · · · ·Q.· ·So did you understand it to mean that         12·   ·paragraph, in each one --
13·   ·you knew that there had been emails between Brian          13·   · · · · · · · MS. ULLERY:· Objection.
14·   ·Watson and my client?                                      14·   · · · · ·Q.· ·-- you said on information and belief.
15·   · · · · ·A.· ·I took it to mean that on my belief           15·   · · · · ·A.· ·Which paragraph was it?
16·   ·there was.                                                 16·   · · · · ·Q.· ·(BY MR. SMART)· Number 8.
17·   · · · · ·Q.· ·Okay.· As you sit here today, you can't       17·   · · · · ·A.· ·So "I observed a number of indices"?
18·   ·actually point to any?                                     18·   · · · · ·Q.· ·We're talking about the second sentence.
19·   · · · · · · · MS. ULLERY:· Objection, form.                 19·   ·Let's talk about the third sentence.· "On information
20·   · · · · ·A.· ·I don't have the resources to point to        20·   ·and belief, on or about December 5th, 2018, Brian
21·   ·one right now, no, I do not.                               21·   ·Watson invited Casey Kirschner and Carleton Nelson on
22·   · · · · ·Q.· ·(BY MR. SMART)· And you can't recall any      22·   ·an all-expenses-paid hunting trip to New Zealand."
23·   ·specific email that was between my client and Brian        23·   ·Did you know this?
24·   ·Watson as you sit here today?                              24·   · · · · ·A.· ·Yeah, that was in an email that I had
25·   · · · · ·A.· ·I do not recall a specific email.             25·   ·seen from Kyle's email account.

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            153–156      YVer1f
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·1·   · · · · ·Q.· ·Okay.· And when did you see that?             ·1·   ·withdrawal privileges from Villanova Trust.· Is that
·2·   · · · · ·A.· ·I believe that we were investigating his      ·2·   ·correct?
·3·   ·laptops in late September, early October.                  ·3·   · · · · ·A.· ·Correct.
·4·   · · · · ·Q.· ·Okay.· I saw some emails I believe that       ·4·   · · · · ·Q.· ·And what's your basis for that belief?
·5·   ·Mr. Garnett showed you that you imported to yourself       ·5·   · · · · ·A.· ·One of the documents that I read from
·6·   ·from March, I believe.                                     ·6·   ·the court filings.
·7·   · · · · ·A.· ·There was a couple times -- there was a       ·7·   · · · · ·Q.· ·So an allegation in a complaint?
·8·   ·couple times that we went through their computers.         ·8·   · · · · ·A.· ·It was one of the -- one of the
·9·   · · · · ·Q.· ·Okay.· That one you forwarded to              ·9·   ·documents associated with the litigation that I'd read
10·   ·yourself to give to the FBI, right?                        10·   ·where it said that.
11·   · · · · · · · MS. ULLERY:· Objection, form.                 11·   · · · · ·Q.· ·Okay.· So you have no personal knowledge
12·   · · · · ·A.· ·I don't remember why -- just so I had         12·   ·one way or the other?
13·   ·records of that -- of those documents.                     13·   · · · · ·A.· ·I do not.
14·   · · · · ·Q.· ·(BY MR. SMART)· And that same day you         14·   · · · · ·Q.· ·So it's totally based on whatever was
15·   ·forwarded that, you gave emails to the FBI, did you        15·   ·filed in the case?
16·   ·not?                                                       16·   · · · · ·A.· ·Correct.
17·   · · · · · · · MS. ULLERY:· Objection, form.                 17·   · · · · ·Q.· ·Okay.· So when you worked at Northstar,
18·   · · · · ·A.· ·Yes.                                          18·   ·you had -- you did not have that understanding,
19·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· So was it on that      19·   ·correct?
20·   ·occasion that you saw emails between -- that mentioned     20·   · · · · ·A.· ·Correct.
21·   ·my client --                                               21·   · · · · · · · MS. ULLERY:· Objection, asked and
22·   · · · · ·A.· ·I don't recall.                               22·   ·answered.
23·   · · · · ·Q.· ·-- in March?· All right.· You can't say.      23·   · · · · ·Q.· ·(BY MR. SMART)· You didn't know -- did
24·   ·I recall in your earlier testimony you testified that      24·   ·you have any understanding of any role that my client
25·   ·you believe that my client and Casey Kirschner had         25·   ·might have had with Villanova Trust during the time
                                                       Page 159                                                          Page 160
·1·   ·you were employed at Northstar?                            ·1·   ·allegation, isn't it?
·2·   · · · · · · · MS. ULLERY:· Objection, form.                 ·2·   · · · · · · · MS. ULLERY:· Objection, form.
·3·   · · · · ·A.· ·I did not.                                    ·3·   · · · · ·A.· ·I suppose.
·4·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· And did you --         ·4·   · · · · ·Q.· ·(BY MR. SMART)· But you just can't
·5·   ·did you ever -- I want to clarify something.· So you       ·5·   ·remember if you threw that around while you were at
·6·   ·never used the word "kickbacks" while you were             ·6·   ·Northstar?
·7·   ·employed at Northstar related to the Amazon                ·7·   · · · · · · · MS. ULLERY:· Objection, argumentative.
·8·   ·transaction?                                               ·8·   · · · · ·A.· ·I believe the question was did I use
·9·   · · · · · · · MS. ULLERY:· Objection, asked and             ·9·   ·that specific term, and I answered that I do not
10·   ·answered.                                                  10·   ·recall using that specific term.
11·   · · · · ·A.· ·I don't recall using that term.               11·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· And which --
12·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· So if someone          12·   ·well, did you use a term similar to the term
13·   ·else testified you used that term, they would not be       13·   ·"kickback"?
14·   ·correct, would they?                                       14·   · · · · · · · MS. ULLERY:· Objection, form.
15·   · · · · · · · MS. ULLERY:· Objection, misstates             15·   · · · · ·A.· ·I do not recall.
16·   ·testimony.                                                 16·   · · · · ·Q.· ·(BY MR. SMART)· Did you ever use -- did
17·   · · · · ·A.· ·No, what I said is I do not recall using      17·   ·you ever have any concerns that you -- did you ever
18·   ·it.                                                        18·   ·have any concerns that the payments to Villanova Trust
19·   · · · · ·Q.· ·(BY MR. SMART)· So you could have used        19·   ·were improper?
20·   ·it?                                                        20·   · · · · ·A.· ·My concern was that it was curious that
21·   · · · · ·A.· ·Absolutely.                                   21·   ·we received -- our referral was coming from one
22·   · · · · ·Q.· ·But you just can't remember if you ever       22·   ·brother and another brother was getting compensated by
23·   ·used the word "kickback"?                                  23·   ·a referral fee.
24·   · · · · ·A.· ·Correct.                                      24·   · · · · ·Q.· ·Okay.· And did you know that while you
25·   · · · · ·Q.· ·Okay.· I mean, that's a pretty serious        25·   ·were employed at Northstar?

                                                        EXHIBIT 4
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·1·   · · · · ·A.· ·Yes.                                          ·1·   ·arrangement?
·2·   · · · · ·Q.· ·Okay.· And when did you raise that --         ·2·   · · · · · · · MS. ULLERY:· Objection, foundation.
·3·   ·did you raise that concern to anyone at Northstar?         ·3·   · · · · ·A.· ·No.
·4·   · · · · ·A.· ·I did.                                        ·4·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· So you couldn't
·5·   · · · · ·Q.· ·And on what date was that?                    ·5·   ·say one way or another?
·6·   · · · · ·A.· ·I don't recall.                               ·6·   · · · · ·A.· ·No.
·7·   · · · · ·Q.· ·What month?                                   ·7·   · · · · ·Q.· ·Okay.· Do you have any understanding of
·8·   · · · · ·A.· ·Could have been June or July of 2019.         ·8·   ·whether there were any prohibitions on Amazon's side
·9·   · · · · ·Q.· ·And who did you raise that to?                ·9·   ·of things on Mr. Nelson for having any participation
10·   · · · · ·A.· ·Brian Watson.                                 10·   ·in Villanova Trust?
11·   · · · · ·Q.· ·Okay.· And what specifically did you say      11·   · · · · · · · MS. ULLERY:· Same objection.
12·   ·about that other than what you just said?                  12·   · · · · ·A.· ·No.
13·   · · · · ·A.· ·I believe that was it, that I mentioned       13·   · · · · ·Q.· ·(BY MR. SMART)· So you could not say one
14·   ·the fact that -- actually, it was Brian who was            14·   ·way or another?
15·   ·explaining to me what Villanova Trust was and that         15·   · · · · ·A.· ·Correct.
16·   ·Christian was receiving referral fees and he               16·   · · · · ·Q.· ·What did the FBI tell you they were
17·   ·introduced us to his brother and we were getting           17·   ·looking at when they reached out to you?
18·   ·transactions, and Brian further stated that the            18·   · · · · ·A.· ·They were looking at the relationship --
19·   ·lawyers looked at the agreement, it was fine.              19·   ·the Villanova transaction -- excuse me, I want to say
20·   · · · · ·Q.· ·Okay.· And did you ever raise any             20·   ·White Plains -- the White Peaks Capital transaction.
21·   ·concerns again after that point?                           21·   · · · · ·Q.· ·Okay.· Let's make sure the record is
22·   · · · · ·A.· ·I don't recall doing so, no.                  22·   ·clear on this.· They were looking at the White Peaks
23·   · · · · ·Q.· ·Okay.· Do you have any understanding of       23·   ·transaction?
24·   ·whether there were any prohibitions on Casey's             24·   · · · · ·A.· ·Correct.· I misspoke when I said
25·   ·involvement from an Amazon standpoint to such an           25·   ·Villanova.
                                                       Page 163                                                          Page 164
·1·   · · · · ·Q.· ·Okay.· Did they mention Villanova to you      ·1·   ·to White Peaks?
·2·   ·at all?                                                    ·2·   · · · · · · · MS. ULLERY:· Objection, vague.
·3·   · · · · ·A.· ·I don't recall them mentioning that at        ·3·   · · · · ·A.· ·In what way?
·4·   ·all.                                                       ·4·   · · · · ·Q.· ·(BY MR. SMART)· Well, do they have any
·5·   · · · · ·Q.· ·Did you send them information about           ·5·   ·corporate relation?
·6·   ·Villanova?                                                 ·6·   · · · · ·A.· ·I don't know.
·7·   · · · · ·A.· ·I did.                                        ·7·   · · · · ·Q.· ·Okay.· Do you have an understanding of
·8·   · · · · ·Q.· ·And why did you do that?                      ·8·   ·whether IPI was funding White Peaks?
·9·   · · · · ·A.· ·They asked if I had any additional            ·9·   · · · · ·A.· ·I do not.
10·   ·information about the transactions of the referral         10·   · · · · ·Q.· ·Would that surprise you?
11·   ·agreement.                                                 11·   · · · · ·A.· ·If they were?
12·   · · · · ·Q.· ·So they asked about the referral              12·   · · · · ·Q.· ·Yes.
13·   ·agreement?                                                 13·   · · · · ·A.· ·I don't have an opinion one way or the
14·   · · · · ·A.· ·They did.                                     14·   ·other.
15·   · · · · ·Q.· ·Okay.· So when did they ask you about         15·   · · · · ·Q.· ·So do you believe that the White Peaks
16·   ·that?                                                      16·   ·deal and the Villanova Trust agreement are related --
17·   · · · · ·A.· ·In one of the subsequent conversations        17·   · · · · · · · MS. ULLERY:· Objection, asked and
18·   ·that we had.                                               18·   ·answered.
19·   · · · · ·Q.· ·Okay.· And did they tell you what their       19·   · · · · ·Q.· ·-- in any way?
20·   ·concerns were about the referral agreement?                20·   · · · · ·A.· ·Are they related in any way?· There's
21·   · · · · ·A.· ·I don't recall them saying that, no.          21·   ·parties who are involved with each, but I don't know
22·   · · · · ·Q.· ·And did you have an understanding that        22·   ·that the two issues are related.
23·   ·Villanova was related to White Peaks?                      23·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· Have you ever --
24·   · · · · ·A.· ·No.                                           24·   ·have you ever been employed by IPI?
25·   · · · · ·Q.· ·Okay.· Do you believe that it is related      25·   · · · · ·A.· ·No.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·Have you ever served as an independent        ·1·   ·The change orders, who made those -- who approved
·2·   ·contractor for them?                                       ·2·   ·those?
·3·   · · · · ·A.· ·No.                                           ·3·   · · · · ·A.· ·It was my understanding it was Kyle who
·4·   · · · · ·Q.· ·Have you ever been compensated by them?       ·4·   ·approved the change orders.· These happened while he
·5·   · · · · ·A.· ·No.                                           ·5·   ·was still an employee.
·6·   · · · · ·Q.· ·Okay.· I'm going to turn to the budgets.      ·6·   · · · · ·Q.· ·Okay.· And was there any request that
·7·   ·You had some discussion about that earlier today, the      ·7·   ·Amazon sign off on any of these change orders?
·8·   ·budgets on the Amazon lease transactions.· And you         ·8·   · · · · ·A.· ·I do not know.
·9·   ·indicated there were some questions about those that       ·9·   · · · · ·Q.· ·And when you reviewed the records, you
10·   ·you had raised, one of those being the $1.3 million        10·   ·didn't see anything that would indicate that?
11·   ·acquisition fee.                                           11·   · · · · · · · MS. ULLERY:· Objection, form.
12·   · · · · · · · Putting that aside right now, were there      12·   · · · · ·A.· ·See any -- that would indicate which?
13·   ·other questions that were raised as to the budgets         13·   · · · · ·Q.· ·(BY MR. SMART)· That Amazon signed off
14·   ·when you were involved in going in after Kyle left         14·   ·on the change orders.
15·   ·White Peaks?                                               15·   · · · · ·A.· ·Yeah, I didn't have any documentation
16·   · · · · ·A.· ·Yeah, the questions we had regarding          16·   ·that showed what our change order process was, how
17·   ·budgets is there was several different versions of the     17·   ·that was documented or how it was communicated.
18·   ·budgets, and it was difficult to determine what was        18·   · · · · ·Q.· ·Did you understand the change order
19·   ·the current version of the budget.· There was a lot of     19·   ·process there at White Peaks when you were doing this
20·   ·documentation as far as how costs were being tracked       20·   ·review?
21·   ·within the budget and how they were being allocated        21·   · · · · ·A.· ·So I wasn't at White Peaks.
22·   ·against the budget, and there was some change              22·   · · · · ·Q.· ·I'm sorry.· At Northstar.· I apologize.
23·   ·orders -- some changes that were made to the project       23·   · · · · ·A.· ·No, I did not understand what it was.
24·   ·as well, too, and how those were accounted for.            24·   · · · · ·Q.· ·Okay.· So who at Northstar would have
25·   · · · · ·Q.· ·Okay.· Let's go through each of those.        25·   ·been the one that understood that during the review?
                                                       Page 167                                                          Page 168
·1·   · · · · ·A.· ·Kyle and Will.                                ·1·   ·captured in the true-up at the end of the project.
·2·   · · · · ·Q.· ·And after they left, who would have been      ·2·   · · · · ·Q.· ·Okay.· Did you take private savings to
·3·   ·the one to understand that?                                ·3·   ·cover the change orders in these transactions?
·4·   · · · · ·A.· ·It was us; myself, John Schillingburg,        ·4·   · · · · ·A.· ·Did I do what?
·5·   ·and other members of the team.· And we didn't have         ·5·   · · · · ·Q.· ·Did you take private savings?· Over the
·6·   ·change orders after we took over.                          ·6·   ·course of the project, if there's savings on the
·7·   · · · · ·Q.· ·Correct.· But with the ones that Kyle         ·7·   ·original budget, did you take those to cover change
·8·   ·did, did you have to do anything to reconcile if they      ·8·   ·orders in these transactions?
·9·   ·were within budget or were they already documented?        ·9·   · · · · · · · MS. ULLERY:· Objection; form,
10·   · · · · · · · MS. ULLERY:· Objection, form.                 10·   ·foundation.
11·   · · · · ·A.· ·They were already documented.                 11·   · · · · ·A.· ·So I wasn't involved in that.· I mean,
12·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· And did the            12·   ·that happened with Kyle.· So I'm not sure if they were
13·   ·transactions -- you said they finished on schedule,        13·   ·captured with cost savings and other aspects of the
14·   ·the projects?                                              14·   ·budget or not.
15·   · · · · ·A.· ·Yeah, the -- let me think.· I was             15·   · · · · ·Q.· ·(BY MR. SMART)· Well, when you did the
16·   ·involved, I believe, in two that completed or turned       16·   ·true-up, wouldn't you have an opportunity to address
17·   ·over.· Maybe it was just one that turned over while I      17·   ·some of those things as well?
18·   ·was there.· And they were completed on time, yes.          18·   · · · · ·A.· ·Yeah, I didn't participate in the
19·   · · · · ·Q.· ·Okay.· And did the change orders, did         19·   ·true-up.
20·   ·Kyle approve those unilaterally?                           20·   · · · · ·Q.· ·Who did the true-up?
21·   · · · · ·A.· ·It's my understanding that he did.            21·   · · · · ·A.· ·I assume that would have been Brent.
22·   · · · · ·Q.· ·Okay.· Do you have an understanding that      22·   · · · · ·Q.· ·And the two-year agreement, do you know
23·   ·approving a change order takes it outside of the           23·   ·which transactions those were?
24·   ·original budget?                                           24·   · · · · ·A.· ·The two -- I'm sorry.· I missed that.
25·   · · · · ·A.· ·My understanding is yes, and it would be      25·   ·The two?

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            165–168      YVer1f
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·1·   · · · · ·Q.· ·You said you looked at the two of them,       ·1·   · · · · ·A.· ·Yes.
·2·   ·you said, two of the deals of the ones from Amazon.        ·2·   · · · · ·Q.· ·Do you know what the acronym GMP stands
·3·   ·Did I understand you correctly?                            ·3·   ·for in connection with the lease?
·4·   · · · · ·A.· ·I was involved in a number of the             ·4·   · · · · ·A.· ·Yes.
·5·   ·projects.· The one where we were wrestling with the        ·5·   · · · · ·Q.· ·And what does that mean?
·6·   ·1.3 million was the first IAD project.                     ·6·   · · · · ·A.· ·Guaranteed maximum price.
·7·   · · · · ·Q.· ·Okay.· And do you know the number of          ·7·   · · · · ·Q.· ·And did you have an understanding that
·8·   ·that one?· IAD144, is that correct?                        ·8·   ·these Amazon lease transactions were GMP transactions?
·9·   · · · · ·A.· ·It would be the lowest number, so I           ·9·   · · · · ·A.· ·I'm not familiar with that, if they were
10·   ·assume 144.                                                10·   ·or not.
11·   · · · · ·Q.· ·Okay.· And do you know if that was            11·   · · · · ·Q.· ·Okay.· Let's turn to the acquisition fee
12·   ·Sterling or Shaw Road?· Do you know?                       12·   ·of $1.3 million.· I believe what you testified to was
13·   · · · · · · · MS. ULLERY:· Objection, foundation.           13·   ·that -- well, let me just ask this in a different
14·   · · · · ·A.· ·I believe Sterling and Shaw Road are the      14·   ·fashion.· Was the dispute over the acquisition fee
15·   ·same.                                                      15·   ·between IPI and Northstar?
16·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· That's your            16·   · · · · ·A.· ·Yes.
17·   ·understanding --                                           17·   · · · · ·Q.· ·And is the acquisition fee -- was it
18·   · · · · ·A.· ·Yeah, if I recall it.· There was three.       18·   ·your understanding that that's something that
19·   ·Okay.                                                      19·   ·Northstar took out of the transaction?
20·   · · · · ·Q.· ·Let me finish because she's going to          20·   · · · · ·A.· ·Yes.
21·   ·interrupt us again.· Sorry.                                21·   · · · · ·Q.· ·And IPI was requesting that that money
22·   · · · · · · · So when you're referring to the first         22·   ·be put back into the project?
23·   ·transaction, if you used the word Sterling or Shaw         23·   · · · · ·A.· ·Yes.
24·   ·Road, you're referring, in your mind, to the same          24·   · · · · ·Q.· ·And did you have occasion to ask Casey
25·   ·transaction?                                               25·   ·Kirschner if Amazon would approve the addition of the
                                                       Page 171                                                          Page 172
·1·   ·$1.3 million to the project budget?                        ·1·   ·issue, once Amazon said they wanted to pay for it, it
·2·   · · · · ·A.· ·Yes.                                          ·2·   ·really doesn't have anything to do with Northstar,
·3·   · · · · ·Q.· ·And he declined -- he declined to do so       ·3·   ·correct?
·4·   ·on behalf of Amazon, correct?                              ·4·   · · · · · · · MS. ULLERY:· Objection; form,
·5·   · · · · ·A.· ·Yes.                                          ·5·   ·foundation.
·6·   · · · · ·Q.· ·And you had an opportunity to review the      ·6·   · · · · ·A.· ·It didn't have anything more to do with
·7·   ·lease transactions, and there was just never a line        ·7·   ·them.· I'm not sure that I know what you mean.
·8·   ·item that you could find that allowed for that             ·8·   · · · · ·Q.· ·(BY MR. SMART)· Sure.· Well, you said it
·9·   ·$1.3 million acquisition fee, correct?                     ·9·   ·was an issue that needed to be resolved.· Did
10·   · · · · · · · MS. ULLERY:· Objection, form.                 10·   ·Amazon -- at the point they declined, did Amazon have
11·   · · · · ·A.· ·Correct.                                      11·   ·any role in that resolution, or is it a dispute solely
12·   · · · · ·Q.· ·(BY MR. SMART)· So Casey on rejecting         12·   ·between Northstar and IPI at that point?
13·   ·the acquisition fee, he was essentially saying Amazon      13·   · · · · · · · MS. ULLERY:· Objection; form,
14·   ·is not going to pay for these transactions?                14·   ·foundation.
15·   · · · · ·A.· ·Correct.                                      15·   · · · · ·A.· ·It was, as my understanding, exclusively
16·   · · · · · · · MS. ULLERY:· Objection; form,                 16·   ·between IPI and Northstar.
17·   ·foundation.                                                17·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· You also had a
18·   · · · · ·Q.· ·(BY MR. SMART)· So did -- and you said        18·   ·discussion about Adrenaline Capital.· Do you recall
19·   ·there was a lot of discussion that was over all            19·   ·that?
20·   ·$1.3 million acquisition fee.· I want to be clear.         20·   · · · · ·A.· ·Yes.
21·   ·You meant that it was never resolved as a dispute          21·   · · · · ·Q.· ·And your understanding was that that was
22·   ·between Northstar and IPI, correct?                        22·   ·some sort of entity that IPI paid a referral fee to;
23·   · · · · ·A.· ·No, what I'm saying is I don't know if        23·   ·is that correct?
24·   ·it was resolved between the two of them.                   24·   · · · · ·A.· ·Correct.
25·   · · · · ·Q.· ·Okay.· But is it fair to say that that        25·   · · · · ·Q.· ·And I believe you said that pursuant to

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                                               Timothy Lorman· - 03/11/2022                                            169–172      YVer1f
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·1·   ·the NS-IPI partnership agreement that you had an           ·1·   ·recollection of your testimony?
·2·   ·understanding that IPI had to identify that to             ·2·   · · · · ·A.· ·Correct.
·3·   ·Northstar and Northstar would have had to identify --      ·3·   · · · · ·Q.· ·And do you think if it had been awarded,
·4·   ·your opinion is Northstar would have had to identify       ·4·   ·you would have remembered that?
·5·   ·these referral arrangements to IPI, correct?               ·5·   · · · · · · · MS. ULLERY:· Objection, form.
·6·   · · · · · · · MS. ULLERY:· Objection, form.                 ·6·   · · · · ·A.· ·Yes.
·7·   · · · · ·A.· ·Correct.                                      ·7·   · · · · ·Q.· ·(BY MR. SMART)· So it's fair to say if
·8·   · · · · ·Q.· ·(BY MR. SMART)· And this is, again,           ·8·   ·you don't remember it, then a likely conclusion is it
·9·   ·coming from the NS-IPI partnership agreement, right?       ·9·   ·was not awarded?
10·   · · · · ·A.· ·Correct.                                      10·   · · · · · · · MS. ULLERY:· Objection, speculative.
11·   · · · · ·Q.· ·You're not pointing -- rather, you're         11·   · · · · ·A.· ·I don't know what happened subsequent to
12·   ·not saying whether there's any allegation under that       12·   ·me leaving the firm, so I'm not sure if it was
13·   ·agreement that flows to Amazon, are you?                   13·   ·approved later or not.
14·   · · · · · · · MS. ULLERY:· Objection, form.                 14·   · · · · ·Q.· ·(BY MR. SMART)· Understood.· You do not
15·   · · · · ·A.· ·I'm not saying that.                          15·   ·recall it being approved at the time you were there,
16·   · · · · ·Q.· ·(BY MR. SMART)· I believe you talked a        16·   ·but you can't say if it was approved after you left?
17·   ·little bit about the project that was bid on in            17·   · · · · ·A.· ·Exactly.
18·   ·California.· Do you recall talking about that?             18·   · · · · ·Q.· ·But probably seems unlikely given the
19·   · · · · ·A.· ·I do.                                         19·   ·circumstances of how you left.· Is that right?
20·   · · · · ·Q.· ·Okay.· And that was in the fall --            20·   · · · · · · · MS. ULLERY:· Objection, form.
21·   ·sometime in the fall of 2019?                              21·   · · · · ·Q.· ·(BY MR. SMART)· You don't have to answer
22·   · · · · ·A.· ·Correct.                                      22·   ·that.· It's not a question.· I still want to ask.· You
23·   · · · · ·Q.· ·And I think you said you can't recall         23·   ·had mentioned in your earlier testimony that Casey was
24·   ·whether it was approved or not or whether or not           24·   ·the primary contact with Amazon on the transactions,
25·   ·Northstar obtained a bid or not.· Is that a correct        25·   ·the Amazon transactions.· Is that your testimony?
                                                       Page 175                                                          Page 176
·1·   · · · · ·A.· ·As far as I understood.                       ·1·   ·other part of that conversation once you got up and
·2·   · · · · ·Q.· ·Okay.· And your understanding of that         ·2·   ·left, correct?
·3·   ·came from what others told you, correct?                   ·3·   · · · · ·A.· ·No.
·4·   · · · · ·A.· ·About who they spoke with at Amazon,          ·4·   · · · · ·Q.· ·No, you did not hear any more, correct,
·5·   ·yes.                                                       ·5·   ·right?
·6·   · · · · ·Q.· ·Right.· It wasn't from your direct            ·6·   · · · · ·A.· ·Correct.
·7·   ·interaction with Mr. Kirschner, correct?                   ·7·   · · · · ·Q.· ·You also mentioned in your testimony you
·8·   · · · · ·A.· ·Correct.                                      ·8·   ·have several concerns about being able to execute on
·9·   · · · · ·Q.· ·You also talked earlier about the             ·9·   ·the contract.· Were those concerns related to
10·   ·telephone call, I guess, that happened shortly after       10·   ·financing the remaining construction that needed to be
11·   ·Mr. Watson's wedding.· Do you remember talking about       11·   ·done?
12·   ·that earlier?                                              12·   · · · · ·A.· ·We had struggles working with our lender
13·   · · · · ·A.· ·I do.                                         13·   ·and providing the reporting that we needed to, and
14·   · · · · ·Q.· ·And you indicated, I guess, in your           14·   ·based upon our delay in providing reports, our lender
15·   ·declaration that you overheard Casey say something to      15·   ·was becoming more and more frustrated with us.· And so
16·   ·the effect of, "I never liked Kyle.· He figured out        16·   ·that was certainly a concern.
17·   ·what we were doing in two weeks."· Is that a fair          17·   · · · · ·Q.· ·Okay.· And so it was related to sort of
18·   ·recitation of what you believe you heard?                  18·   ·a financing stream -- continuing stream of the
19·   · · · · ·A.· ·Yes.                                          19·   ·contracts, is that the concern --
20·   · · · · ·Q.· ·Okay.· You don't -- do you have any           20·   · · · · · · · MS. ULLERY:· Objection, form.
21·   ·personal knowledge of what was meant by "what we were      21·   · · · · ·A.· ·That was a concern.
22·   ·doing"?                                                    22·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· What were the
23·   · · · · ·A.· ·No.                                           23·   ·other concerns?
24·   · · · · · · · MS. ULLERY:· Objection, form.                 24·   · · · · ·A.· ·The other concerns were our ability to
25·   · · · · ·Q.· ·(BY MR. SMART)· And you didn't hear any       25·   ·be able to work on site consistently and provide

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            173–176      YVer1f
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·1·   ·project management and leadership based on what our        ·1·   ·construction, the owner/architect/contractor at the
·2·   ·skill sets were.                                           ·2·   ·OAC meetings.
·3·   · · · · ·Q.· ·Is that because Kyle had left?                ·3·   · · · · ·Q.· ·And that was Reed Mayer?
·4·   · · · · ·A.· ·Yes.                                          ·4·   · · · · ·A.· ·Correct.
·5·   · · · · ·Q.· ·And was Northstar having a hard time          ·5·   · · · · ·Q.· ·Okay.· And do you know if they had
·6·   ·finding somebody to replace them with the necessary        ·6·   ·step-in rights on the transaction, if they could
·7·   ·skill set?                                                 ·7·   ·exercise those to complete the project?
·8·   · · · · ·A.· ·Yes.                                          ·8·   · · · · ·A.· ·I do not know.
·9·   · · · · ·Q.· ·I guess someone came in.· Bart, I think       ·9·   · · · · ·Q.· ·Had you had any -- do you recall any of
10·   ·is his name.· I think he was only there for a month.       10·   ·the substance of any of the conversations you had with
11·   · · · · ·A.· ·Correct.                                      11·   ·Patrick Stokes?
12·   · · · · ·Q.· ·And was that because he didn't really         12·   · · · · ·A.· ·I do not.
13·   ·have the skill set to do what he was hired for?            13·   · · · · ·Q.· ·Don Marcott, do you know who that is?
14·   · · · · · · · MS. ULLERY:· Objection, form.                 14·   · · · · ·A.· ·Don Marcott was Brian's business partner
15·   · · · · ·A.· ·No, he said he was concerned about the        15·   ·on the development projects.
16·   ·project, as far as there being issues with the             16·   · · · · ·Q.· ·Okay.· And was he ever in sort of a
17·   ·project.                                                   17·   ·management role, like similar to what Kyle performed?
18·   · · · · ·Q.· ·(BY MR. SMART)· Did he say what those         18·   · · · · · · · MS. ULLERY:· Objection, form.
19·   ·issues were?                                               19·   · · · · ·A.· ·No.· He was primarily in business
20·   · · · · ·A.· ·He was concerned about some integrity         20·   ·development.
21·   ·issues around change orders and finances.                  21·   · · · · ·Q.· ·(BY MR. SMART)· Let me get back to
22·   · · · · ·Q.· ·Okay.· Did Amazon have staff on site to       22·   ·Patrick Stokes.· Do you know about how many times you
23·   ·help monitor the progress of the construction as well?     23·   ·had conversations with him?
24·   · · · · · · · MS. ULLERY:· Objection, form.                 24·   · · · · ·A.· ·Two or three times.
25·   · · · · ·A.· ·They had an employee who attended the         25·   · · · · ·Q.· ·Do you know the last time you spoke with
                                                       Page 179                                                          Page 180
·1·   ·him?                                                       ·1·   ·with my questions for now.· When you were doing your
·2·   · · · · ·A.· ·Probably about two, three weeks ago.          ·2·   ·review of lease budgets after Casey and Kyle left, did
·3·   · · · · ·Q.· ·Okay.· What was that in relation to?          ·3·   ·you see any fees or line items that looked improper to
·4·   · · · · ·A.· ·He informed me that there was going to        ·4·   ·you during your review?
·5·   ·be a subpoena that was going to be issued and gave me      ·5·   · · · · · · · MS. ULLERY:· Objection, vague.
·6·   ·a heads-up that's what the subpoena is for.                ·6·   · · · · ·A.· ·Did I see anything in any of the lease
·7·   · · · · ·Q.· ·For the deposition?                           ·7·   ·documents that seemed inappropriate?
·8·   · · · · ·A.· ·Yes.                                          ·8·   · · · · ·Q.· ·(BY MR. SMART)· No, the budgets.
·9·   · · · · ·Q.· ·Did you talk to him about any of the          ·9·   · · · · ·A.· ·The budgets.
10·   ·facts of the case?                                         10·   · · · · ·Q.· ·You said you were looking at the
11·   · · · · ·A.· ·Yes.                                          11·   ·budgets.· The budgets and the fees and line items in
12·   · · · · · · · MR. SMART:· Let's take a quick break and      12·   ·the budgets, did you see anything improper in those
13·   ·reorganize my thoughts real quick.· I think I'm            13·   ·during your review?
14·   ·getting close to the end of my questions.· I need ten      14·   · · · · ·A.· ·It was difficult to determine because
15·   ·minutes.                                                   15·   ·there were so many different versions of the budgets,
16·   · · · · · · · THE VIDEOGRAPHER:· The time is 12:54.         16·   ·I wasn't sure which one we were operating with, and so
17·   ·We are going off the record.                               17·   ·just the confusion associated with myriad versions of
18·   · · · · · · · (Recess taken.)                               18·   ·the same budget was what was concerning.· Specific
19·   · · · · · · · THE VIDEOGRAPHER:· The time is 1:09.· We      19·   ·line items, I don't recall seeing any one particular
20·   ·are back on the record.                                    20·   ·line item in the budget that was more concerning than
21·   · · · · ·Q.· ·(BY MR. SMART)· I may have actually           21·   ·any other.
22·   ·clicked over a document, and I'm not actually going to     22·   · · · · ·Q.· ·So let's be clear.· You don't have a
23·   ·ask you about it.· It was on the screen.· I didn't         23·   ·recollection of any particular concern about a
24·   ·realize I had control.· So I apologize about that.         24·   ·particular line item; more simply that you were
25·   · · · · · · · Just one last topic, and then I'm done        25·   ·uncertain which was the actual budget you should be

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            177–180      YVer1f
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·1·   ·working from?                                              ·1·   ·know we covered all the preliminaries earlier this
·2·   · · · · · · · MS. ULLERY:· Objection, form.                 ·2·   ·morning, so let's just kind of jump right in.
·3·   · · · · ·A.· ·Correct.                                      ·3·   · · · · · · · When did you become aware that Christian
·4·   · · · · ·Q.· ·(BY MR. SMART)· And again, I think you        ·4·   ·Kirschner was Casey Kirschner's brother?
·5·   ·said that Mr. Gray would be the person to talk about       ·5·   · · · · ·A.· ·I don't know a specific date, but I
·6·   ·sort of the final true-ups of those.· Is that correct?     ·6·   ·would say probably mid to late summer.
·7·   · · · · ·A.· ·Yes.                                          ·7·   · · · · ·Q.· ·Do you recall how you came to learn
·8·   · · · · · · · MR. SMART:· Okay.· And I'll pass the          ·8·   ·that?
·9·   ·witness.· Thank you your time.                             ·9·   · · · · ·A.· ·I do not.
10·   · · · · · · · MS. ULLERY:· Let's go ahead and take a        10·   · · · · ·Q.· ·Okay.· Did you ever meet Christian
11·   ·lunch break, if it's okay.· Just 20 minutes or so.         11·   ·Kirschner in person?
12·   · · · · · · · MR. GARNETT:· Sure.                           12·   · · · · ·A.· ·No.
13·   · · · · · · · THE VIDEOGRAPHER:· The time is 1:11.· We      13·   · · · · ·Q.· ·But did you discuss over the phone with
14·   ·are going off the record.                                  14·   ·him?
15·   · · · · · · · (Lunch recess taken.)                         15·   · · · · ·A.· ·I did.
16·   · · · · · · · THE VIDEOGRAPHER:· The time is 1:47.· We      16·   · · · · ·Q.· ·Okay.· Do you know who Rod Atherton is?
17·   ·are back on the record.                                    17·   · · · · ·A.· ·No.
18·   · · · · · · · · · · · EXAMINATION                           18·   · · · · ·Q.· ·When you first joined Northstar, what
19·   ·BY MS. ULLERY:                                             19·   ·were you told about Northstar's approach to referral
20·   · · · · ·Q.· ·Hi.                                           20·   ·agents?
21·   · · · · ·A.· ·Hi.                                           21·   · · · · · · · MR. SMART:· Objection, foundation.
22·   · · · · ·Q.· ·I know we've already met, but for the         22·   · · · · ·A.· ·I don't recall that -- I don't recall a
23·   ·record, my name is Alyse Ullery.· This is my colleague     23·   ·specific conversation about referral agents.
24·   ·Todd Shaw.· We're from the law firm of Gibson Dunn &       24·   · · · · ·Q.· ·(BY MS. ULLERY)· So you didn't become
25·   ·Crutcher, and we represent Amazon in this case. I          25·   ·aware of any rules or procedures regarding the
                                                       Page 183                                                          Page 184
·1·   ·company's use of referral agents?                          ·1·   ·for a fact.
·2·   · · · · ·A.· ·No.                                           ·2·   · · · · ·Q.· ·Okay.· How did you first learn about the
·3·   · · · · ·Q.· ·During your employment with Northstar,        ·3·   ·trip?
·4·   ·what did you learn about Brian Watson's relationship       ·4·   · · · · ·A.· ·My first day, I believe that they were
·5·   ·with Christian and Casey Kirschner?                        ·5·   ·already on the trip, so we didn't work together our
·6·   · · · · ·A.· ·The only thing that I knew is that they       ·6·   ·first week.· Brian was gone on the trip, and so people
·7·   ·had a prior relationship.· One of them -- I'm not sure     ·7·   ·had told me that that's what they were doing.
·8·   ·which one -- were friends and had worked together in a     ·8·   · · · · ·Q.· ·Okay.· Do you know whether the trip was
·9·   ·prior work situation.                                      ·9·   ·considered a business trip?
10·   · · · · ·Q.· ·Do you remember how you came to learn         10·   · · · · ·A.· ·I don't.
11·   ·that?                                                      11·   · · · · ·Q.· ·Do you know who paid for the trip?
12·   · · · · ·A.· ·I learned bits and pieces over a              12·   · · · · ·A.· ·I was told by Kristi Fisher that Brian
13·   ·variety -- over an extended period of time.                13·   ·paid for the trip.
14·   · · · · ·Q.· ·Was it common knowledge in the office?        14·   · · · · ·Q.· ·With his personal funds?
15·   · · · · ·A.· ·I believe so, yes.                            15·   · · · · ·A.· ·I don't know.
16·   · · · · ·Q.· ·Do you -- well, actually, back up.            16·   · · · · ·Q.· ·You mentioned that you discussed this
17·   ·Earlier we discussed a hunting trip to New Zealand.        17·   ·with Kristi Fisher.· Did you also discuss it with
18·   · · · · ·A.· ·Uh-huh.                                       18·   ·Brent Gray?
19·   · · · · ·Q.· ·Do you know who attended that hunting         19·   · · · · ·A.· ·Likely, yes.
20·   ·trip?                                                      20·   · · · · ·Q.· ·Do you recall either of them ever
21·   · · · · ·A.· ·The people that I believe -- that I know      21·   ·raising concerns about the cost of the trip?
22·   ·of who attended was Kyle Ramstetter, Brian, and Casey.     22·   · · · · ·A.· ·Yes, they did.
23·   · · · · ·Q.· ·Do you know whether Carleton Nelson           23·   · · · · ·Q.· ·What did they say?
24·   ·attended that trip?                                        24·   · · · · ·A.· ·They said it was really expensive.
25·   · · · · ·A.· ·I don't know for sure that I know that        25·   · · · · ·Q.· ·Do you know how expensive?

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·1·   · · · · ·A.· ·I do not.                                     ·1·   · · · · ·A.· ·Yes.
·2·   · · · · ·Q.· ·Did they say anything about how               ·2·   · · · · · · · MS. ULLERY:· Let's go ahead and pull up
·3·   ·expensive it was in comparison to other trips?             ·3·   ·Tab 3.· We will be marking as Exhibit 16 -- is that
·4·   · · · · ·A.· ·No.                                           ·4·   ·correct?
·5·   · · · · ·Q.· ·Are you aware of any other trips, gifts,      ·5·   · · · · · · · MR. SANDHU:· Yes.
·6·   ·entertainment that Brian Watson arranged for Amazon        ·6·   · · · · · · · MS. ULLERY:· -- a March 3rd, 2020 email
·7·   ·employees?                                                 ·7·   ·chain that's Bates-numbered WDC 0711415 through 419.
·8·   · · · · · · · MR. SMART:· Objection, foundation.            ·8·   · · · · · · · (Deposition Exhibit 16 was marked.)
·9·   · · · · · · · THE DEPONENT:· Did you get that?              ·9·   · · · · ·Q.· ·(BY MS. ULLERY)· And let us know when
10·   · · · · · · · THE COURT REPORTER:· Yes.· Thank you.         10·   ·you see that document appear.
11·   · · · · ·A.· ·I know from time to time that Kyle            11·   · · · · ·A.· ·I have it.
12·   ·Ramstetter had bought gifts for -- I believe he'd          12·   · · · · ·Q.· ·You do?· Okay.· Please take a look at
13·   ·bought it for Carleton, either Carleton or Casey.          13·   ·the document.· Do you recognize this email?
14·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you know what the         14·   · · · · ·A.· ·I recognize this as one of the emails we
15·   ·gift was?                                                  15·   ·found on Kyle's laptop.
16·   · · · · ·A.· ·I seem to recall it was a really              16·   · · · · ·Q.· ·So at some point in time, you did see
17·   ·expensive bottle of liquor.                                17·   ·this document?
18·   · · · · ·Q.· ·Do you know about when he purchased           18·   · · · · ·A.· ·Yes, because I found it, and then I
19·   ·that?                                                      19·   ·emailed it to myself.
20·   · · · · ·A.· ·I believe it was May or June because I        20·   · · · · ·Q.· ·Can you direct your attention to the
21·   ·discussed with Kristi the expense report.                  21·   ·very first email in the exchange at the bottom of this
22·   · · · · ·Q.· ·So these were showing up on Northstar's       22·   ·document?· Do you see where Kyle says, quote, Brian, I
23·   ·expense reports?                                           23·   ·reworked our current model with the future deal
24·   · · · · ·A.· ·Yes.                                          24·   ·scenarios we discussed.· Here are my thoughts on the
25·   · · · · ·Q.· ·So Northstar paid for that?                   25·   ·numbers associated with them if we left it as is, end
                                                       Page 187                                                          Page 188
·1·   ·quote.· Do you see that?                                   ·1·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.
·2·   · · · · ·A.· ·Get in there one second.                      ·2·   · · · · ·A.· ·Where it says "theirs 460689," is the
·3·   · · · · · · · I have it.                                    ·3·   ·amount?
·4·   · · · · ·Q.· ·You have it?                                  ·4·   · · · · ·Q.· ·Yes.
·5·   · · · · ·A.· ·I do.                                         ·5·   · · · · ·A.· ·Because there's a "theirs" that's lower.
·6·   · · · · ·Q.· ·What were the future deal scenarios?          ·6·   ·That one appears to be a typo.
·7·   · · · · · · · MR. SMART:· Objection, foundation.            ·7·   · · · · ·Q.· ·Do you know who "theirs" is referring to
·8·   · · · · ·A.· ·Sorry.· I'm trying to bounce back and         ·8·   ·here?
·9·   ·forth here.                                                ·9·   · · · · ·A.· ·I do not.
10·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.                        10·   · · · · ·Q.· ·Could you direct your attention to Brian
11·   · · · · ·A.· ·I don't know.                                 11·   ·Watson's response where he says, quote, "I am meeting
12·   · · · · ·Q.· ·Do you see in the subsequent text where       12·   ·Christian for dinner tonight"?
13·   ·it lists a breakout of the total development fees and      13·   · · · · ·A.· ·I see it.
14·   ·the net proceeds between, quote, Dawn, BW, and             14·   · · · · ·Q.· ·Do you understand the "Christian" here
15·   ·t-h-i-e-r-s?                                               15·   ·to be a reference to Christian Kirschner?
16·   · · · · ·A.· ·Oh, "Theirs."                                 16·   · · · · · · · MR. GARNETT:· Objection, foundation.
17·   · · · · ·Q.· ·That was about to be my next question.        17·   · · · · · · · MR. SMART:· Same objection.
18·   ·Do you understand that to be a typo?                       18·   · · · · ·A.· ·Yes.
19·   · · · · · · · MR. SMART:· Objection, foundation.            19·   · · · · ·Q.· ·(BY MS. ULLERY)· And when he said, "Are
20·   · · · · ·A.· ·No.                                           20·   ·we okay with their requests," whose requests do you
21·   · · · · ·Q.· ·(BY MS. ULLERY)· You don't think that's       21·   ·understand him to be referring to?
22·   ·a typo?                                                    22·   · · · · · · · MR. GARNETT:· Objection, foundation.
23·   · · · · · · · MR. GARNETT:· Objection, foundation.          23·   · · · · · · · MR. SMART:· Objection, foundation.
24·   · · · · ·A.· ·Oh, I'm sorry.· I was looking -- it's         24·   · · · · ·A.· ·I don't know.
25·   ·written twice.· I was looking at the lower one.            25·   · · · · ·Q.· ·(BY MS. ULLERY)· Can you take a look at

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·1·   ·Kyle Ramstetter's response where he asks if it would       ·1·   · · · · ·A.· ·I have it.
·2·   ·be appropriate for him to meet Christian tonight or if     ·2·   · · · · ·Q.· ·So you recognize the document?
·3·   ·they should, quote, plan another time when he and          ·3·   · · · · ·A.· ·Yes.
·4·   ·Casey are in town?                                         ·4·   · · · · ·Q.· ·Do you remember when you first saw this
·5·   · · · · ·A.· ·Is that further up in the document?           ·5·   ·document?
·6·   · · · · ·Q.· ·Yes, it is.                                   ·6·   · · · · ·A.· ·I do not, specific time, no.
·7·   · · · · ·A.· ·"Tell me where to meet, and I'm there."       ·7·   · · · · ·Q.· ·Do you understand -- sorry.· Do you
·8·   · · · · ·Q.· ·It should be on Page 2 of the document.       ·8·   ·understand this agreement to provide that Villanova
·9·   · · · · ·A.· ·I'm sorry.· It's tough to scroll with         ·9·   ·Trust would receive payments in connection with real
10·   ·this.· Oh, I see.· "Would it be appropriate time to        10·   ·estate transactions that Northstar entered into with
11·   ·come meet Christian tonight?"· Okay.                       11·   ·Amazon?
12·   · · · · ·Q.· ·Did you understand "Casey" to be Casey        12·   · · · · · · · MR. GARNETT:· Objection, form and
13·   ·Kirschner?                                                 13·   ·foundation.
14·   · · · · · · · MR. GARNETT:· Objection, foundation.          14·   · · · · · · · MR. SMART:· Objection.
15·   · · · · ·A.· ·Yes.                                          15·   · · · · ·A.· ·Yes.
16·   · · · · ·Q.· ·(BY MS. ULLERY)· Did you ever learn any       16·   · · · · ·Q.· ·(BY MS. ULLERY)· Is this what you would
17·   ·information about whether this meeting occurred?           17·   ·consider a referral agreement?
18·   · · · · ·A.· ·No.                                           18·   · · · · · · · MR. SMART:· Objection, foundation.
19·   · · · · ·Q.· ·Okay.· Let's go to -- let's go to -- I        19·   · · · · ·A.· ·Yes.
20·   ·believe it's already marked as Tab 1 or Exhibit 1.· Do     20·   · · · · ·Q.· ·(BY MS. ULLERY)· Am I correct that
21·   ·you see the document?                                      21·   ·earlier you said you were not aware of any other
22·   · · · · ·A.· ·Document 1?                                   22·   ·referral agents that Northstar partnered with other
23·   · · · · ·Q.· ·Yes.                                          23·   ·than Villanova Trust?
24·   · · · · ·A.· ·The independent contractor agreement?         24·   · · · · ·A.· ·I believe there was another referral
25·   · · · · ·Q.· ·Correct.                                      25·   ·agent, Carl Medaris, who referred business in as well,
                                                       Page 191                                                          Page 192
·1·   ·too.                                                       ·1·   · · · · ·Q.· ·Yes.
·2·   · · · · ·Q.· ·Okay.· Did you see any referral               ·2·   · · · · ·A.· ·No, I don't recall that.
·3·   ·agreements with him?                                       ·3·   · · · · ·Q.· ·Did he mention Carleton Nelson?
·4·   · · · · ·A.· ·I don't recall seeing one.                    ·4·   · · · · ·A.· ·I don't recall that either, no.
·5·   · · · · ·Q.· ·Do you know any of the information about      ·5·   · · · · ·Q.· ·Did you observe any conversations in the
·6·   ·the payments that were made to this other individual?      ·6·   ·office with other Northstar employees about this
·7·   · · · · ·A.· ·No, I don't.                                  ·7·   ·agreement?
·8·   · · · · ·Q.· ·Okay.· Did you ever ask Brian Watson          ·8·   · · · · ·A.· ·I had conversations with both Brent and
·9·   ·about the Villanova Trust agreement?                       ·9·   ·Kristi.
10·   · · · · ·A.· ·I did.                                        10·   · · · · ·Q.· ·Tell me more about that.
11·   · · · · ·Q.· ·What did you ask him?                         11·   · · · · ·A.· ·Just the fact that it existed and that
12·   · · · · ·A.· ·It was in the context of when we first        12·   ·it was important that we made sure that we made our
13·   ·learned about Villanova Trust, and I just simply asked     13·   ·payments associated with the agreement.
14·   ·what that was; and he said it was a referral               14·   · · · · ·Q.· ·Did they tell you why it was important?
15·   ·agreement.                                                 15·   · · · · ·A.· ·No.
16·   · · · · ·Q.· ·What was his reaction when you asked?         16·   · · · · ·Q.· ·To your knowledge, did Brian Watson
17·   · · · · ·A.· ·Not unusual, not out of the ordinary.         17·   ·discuss the Villanova Trust with anyone at Amazon
18·   · · · · ·Q.· ·Okay.· Did he give you any other details      18·   ·other than Carleton Nelson and Casey Kirschner?
19·   ·about the agreement?                                       19·   · · · · ·A.· ·No.
20·   · · · · ·A.· ·I don't recall anything beyond that it        20·   · · · · ·Q.· ·Do you know whether he discussed it with
21·   ·was a referral agreement.                                  21·   ·Kyle Ramstetter?
22·   · · · · ·Q.· ·Did he mention Casey Kirschner at all?        22·   · · · · ·A.· ·The referral agreement?· I don't know
23·   · · · · ·A.· ·Casey --                                      23·   ·that for a fact, no -- oh, I take that back.· So when
24·   · · · · ·Q.· ·Uh-huh.                                       24·   ·we were -- at one point in time in June, there was an
25·   · · · · ·A.· ·-- in relation to Villanova Trust?            25·   ·opportunity that IPI would potentially buy out Brian's

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·1·   ·interest and we were going through conversations about     ·1·   · · · · ·A.· ·I think so, yeah.
·2·   ·what the waterfall would look like associated with how     ·2·   · · · · ·Q.· ·Would that be something included in the
·3·   ·the proceeds would be distributed.· The Villanova          ·3·   ·referral agreement itself?
·4·   ·agreement was towards the top of the distribution, and     ·4·   · · · · · · · MR. SMART:· Object to form.
·5·   ·there was conversations about what Kyle's distribution     ·5·   · · · · ·A.· ·So I think it was documented in a
·6·   ·would be because he had a slightly different               ·6·   ·variety of different ways.· I think, for example,
·7·   ·agreement, as I recall, and there was some angst as        ·7·   ·Kyle's position was documented within an employment
·8·   ·far as what people's positions were in the waterfall.      ·8·   ·agreement.· I would assume that Don's position was a
·9·   ·So at that point in time, I would imagine there were       ·9·   ·partnership agreement.· Anything going to Patricia
10·   ·some conversations associated with the Villanova           10·   ·with some type of divorce settlement, and then the
11·   ·agreement.                                                 11·   ·Villanova one per the terms of this.
12·   · · · · ·Q.· ·Do you know how people's positions in         12·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.· Can you direct
13·   ·that waterfall agreement were determined?                  13·   ·your attention to the final page of the document?
14·   · · · · ·A.· ·Based upon different agreements.              14·   · · · · ·A.· ·Sure.
15·   ·There's a lot of different tranches, right?· Referral      15·   · · · · ·Q.· ·It's titled Exhibit A, Villanova Trust
16·   ·partners, I believe, got paid first.· I think there        16·   ·Referral Fee Participation Schedule.
17·   ·were some other commitments that Brian had to Patricia     17·   · · · · ·A.· ·Is that the one with the chart?
18·   ·and others that got paid out, and then with Don, and       18·   · · · · ·Q.· ·Yes.
19·   ·then if anybody else had some side agreements.· And        19·   · · · · ·A.· ·Okay.
20·   ·then Brian would take a portion and give it to the         20·   · · · · ·Q.· ·Do you understand that the fee
21·   ·employees as a type of bonus program as well, too, but     21·   ·percentages in this chart signified money that would
22·   ·there was a lot of discussion about where people sat       22·   ·be paid to Villanova Trust from Northstar?
23·   ·within that.                                               23·   · · · · ·A.· ·Yes.
24·   · · · · ·Q.· ·Was that something that was negotiated        24·   · · · · · · · MR. SMART:· Objection, foundation.
25·   ·at any point?                                              25·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you see the column
                                                       Page 195                                                          Page 196
·1·   ·where it says referral fee based on brokerage              ·1·   ·compensating the broker for negotiating the lease
·2·   ·commission?                                                ·2·   ·transaction.
·3·   · · · · ·A.· ·Yes.                                          ·3·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.· In your
·4·   · · · · ·Q.· ·What does that mean?                          ·4·   ·experience, would there be this type of fee or rate in
·5·   · · · · ·A.· ·So I would assume that a transaction          ·5·   ·situations where a tenant had already been identified
·6·   ·that had a brokerage commission associated with it,        ·6·   ·at the outset of the agreement?
·7·   ·that's the portion of the fee that would be allocated.     ·7·   · · · · · · · MR. SMART:· Objection, form and
·8·   · · · · ·Q.· ·Okay.· And lease commission rate, what        ·8·   ·foundation.
·9·   ·does that mean?                                            ·9·   · · · · ·A.· ·So if there was already a tenant, would
10·   · · · · · · · MR. SMART:· Objection, foundation.            10·   ·you -- yes.
11·   · · · · ·A.· ·Lease commission rate for -- oh, so what      11·   · · · · ·Q.· ·(BY MS. ULLERY)· There would be this
12·   ·would happen is after the building is completed, then      12·   ·fee?
13·   ·you would negotiate a lease for the person to occupy       13·   · · · · ·A.· ·Yes.
14·   ·that.· The brokers involved with that would typically      14·   · · · · ·Q.· ·In those situations, what would the fee
15·   ·get a commission of some sort associated with that         15·   ·represent?
16·   ·lease transaction.· So that would be the lease             16·   · · · · ·A.· ·So in my prior experience, take a
17·   ·commission that would be associated with the               17·   ·medical office building, for example, that an
18·   ·transaction.                                               18·   ·institution wants to develop, they would have the
19·   · · · · ·Q.· ·So are you saying that this fee, the          19·   ·hospital occupy X percent of square feet.· They would
20·   ·lease commission rate, would be compensating a             20·   ·build the building.· Then the hospital would negotiate
21·   ·referral agent for helping identify a tenant?              21·   ·their lease for that space with the developer.
22·   · · · · · · · MR. GARNETT:· Objection to form.              22·   · · · · ·Q.· ·Okay.
23·   · · · · · · · MR. SMART:· Objection to form and             23·   · · · · ·A.· ·There would be a transaction -- a lease
24·   ·foundation.                                                24·   ·commission that would be associated with that.
25·   · · · · ·A.· ·The lease commission would be                 25·   · · · · ·Q.· ·Okay.· Back to the document we were just

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·1·   ·looking at, the development fee percentage, what does      ·1·   ·earlier -- and we just discussed -- your experience in
·2·   ·that mean?                                                 ·2·   ·commercial real estate prior to Northstar.· Did you
·3·   · · · · ·A.· ·So there's a variety of fees --               ·3·   ·ever see referral agreements like this?
·4·   · · · · · · · MR. SMART:· Form and foundation.              ·4·   · · · · ·A.· ·I don't recall seeing one, no.
·5·   · · · · ·A.· ·There's a variety of fees associated          ·5·   · · · · ·Q.· ·Do you know whether anything in
·6·   ·with a development project.· The developer's fee is        ·6·   ·Northstar's lease agreements with Amazon disclosed the
·7·   ·typically a fee that's taken on by the developer that      ·7·   ·existence of this referral agreement?
·8·   ·covers their profit and overhead, and it's typically       ·8·   · · · · ·A.· ·I don't recall seeing it, no.
·9·   ·based upon the value of the overall project.               ·9·   · · · · ·Q.· ·Are you aware of whether Northstar ever
10·   · · · · ·Q.· ·(BY MS. ULLERY)· Manager's net profits        10·   ·disclosed the existence of this referral agreement to
11·   ·interest percentage, do you know what those are?           11·   ·Amazon personnel other than Casey Kirschner or
12·   · · · · ·A.· ·Yeah, so that goes back to the sale           12·   ·Carleton Nelson?
13·   ·transaction.· When -- the idea being after you develop     13·   · · · · · · · MR. SMART:· Objection, foundation.
14·   ·the property, then you want to get it to a certain         14·   · · · · ·A.· ·I do not know.
15·   ·point of value and would typically sell it.· And then      15·   · · · · ·Q.· ·(BY MS. ULLERY)· In your experience --
16·   ·the selling of that portfolio is going to generate         16·   ·well, strike that.
17·   ·revenue, and then that's the manager's net interest.       17·   · · · · · · · MS. ULLERY:· I'm sorry.· We can't
18·   ·Then that would get allocated out.                         18·   ·connect to the Internet.· Can we go off the record?
19·   · · · · ·Q.· ·Okay.· So this is situations where            19·   · · · · · · · MR. SHAW:· Can we take a five-minute
20·   ·you're selling a property, not leasing it?                 20·   ·break and go off the record?
21·   · · · · ·A.· ·Correct.                                      21·   · · · · · · · THE VIDEOGRAPHER:· The time is 2:06.· We
22·   · · · · · · · MR. GARNETT:· Objection, form.                22·   ·are off the record.
23·   · · · · · · · MR. SMART:· Objection, form and               23·   · · · · · · · (Recess taken.)
24·   ·foundation.                                                24·   · · · · · · · THE VIDEOGRAPHER:· The time is 2:08.· We
25·   · · · · ·Q.· ·(BY MS. ULLERY)· You mentioned                25·   ·are back on the record.
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·1·   · · · · ·Q.· ·(BY MS. ULLERY)· You understand that          ·1·   · · · · · · · MR. SANDHU:· Objection, form and
·2·   ·you're still under oath?                                   ·2·   ·foundation.
·3·   · · · · · · · (The deponent nodded head up and down.)       ·3·   · · · · · · · MR. SMART:· Same objections.
·4·   · · · · ·A.· ·Yes.                                          ·4·   · · · · ·A.· ·I was not familiar with the agreements
·5·   · · · · ·Q.· ·Thank you.· Going back to this agreement      ·5·   ·with Amazon, so I couldn't speak to that.
·6·   ·that we're still looking at, did you ever suspect that     ·6·   · · · · ·Q.· ·(BY MS. ULLERY)· During your employment
·7·   ·Northstar was paying these fees in part so that Casey      ·7·   ·with Northstar, did you come to suspect that this
·8·   ·Kirschner would ensure Amazon continued to conduct         ·8·   ·payment arrangement may have been improper and
·9·   ·business with Northstar?                                   ·9·   ·violated the law?
10·   · · · · · · · MR. SANDHU:· Objection, form and              10·   · · · · ·A.· ·Yes.
11·   ·foundation.                                                11·   · · · · · · · MR. SMART:· Objection, form and
12·   · · · · · · · MR. SMART:· Objection, form and               12·   ·foundation.
13·   ·foundation.                                                13·   · · · · ·Q.· ·(BY MS. ULLERY)· What made you come to
14·   · · · · ·A.· ·Can you repeat that again?                    14·   ·believe that?
15·   · · · · ·Q.· ·(BY MS. ULLERY)· Did you ever come to         15·   · · · · ·A.· ·So you asked two aspects of that.· What
16·   ·suspect that Northstar was paying these fees in part       16·   ·was that again?· Because I want to be clear.
17·   ·so that Casey Kirschner would ensure Amazon continued      17·   · · · · ·Q.· ·Sure.· What made you suspect that this
18·   ·to conduct business with Northstar?                        18·   ·payment arrangement was improper?· Start there.
19·   · · · · · · · MR. SMART:· Same objection.                   19·   · · · · ·A.· ·Yeah.· It seemed to me that having two
20·   · · · · ·A.· ·Yes.                                          20·   ·brothers who had been in business before together, for
21·   · · · · ·Q.· ·(BY MS. ULLERY)· During your employment       21·   ·one to get business -- to give us business and the
22·   ·at Northstar, did you come to believe or suspect --        22·   ·other brother to get compensated for that didn't feel
23·   ·strike that.· Did you suspect that this payment            23·   ·appropriate.
24·   ·arrangement violated any of Northstar's agreements         24·   · · · · ·Q.· ·You said have been in business before
25·   ·with Amazon?                                               25·   ·together.· What do you mean?

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            197–200      YVer1f
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                                                       Page 201                                                          Page 202
·1·   · · · · ·A.· ·It was my understanding that they worked      ·1·   · · · · ·A.· ·No.
·2·   ·together, that Christian had a company that did            ·2·   · · · · · · · MS. ULLERY:· Go ahead and pull up Tab 5.
·3·   ·vacation rentals and that Casey was in that business       ·3·   · · · · · · · MR. SMART:· Same objection.· Can you
·4·   ·with him as well, too.                                     ·4·   ·speak up a little on your questioning?
·5·   · · · · ·Q.· ·Do you know anything more about that          ·5·   · · · · · · · MS. ULLERY:· Sure.
·6·   ·business?                                                  ·6·   · · · · · · · MR. SMART:· It tails off on the end of
·7·   · · · · ·A.· ·Just that it went out of business in the      ·7·   ·them.
·8·   ·early 2010s.                                               ·8·   · · · · · · · MS. ULLERY:· Sorry about that.· I'll
·9·   · · · · ·Q.· ·Okay.· Did Brian Watson ever make any         ·9·   ·project.
10·   ·reference to keeping this arrangement a secret?            10·   · · · · · · · MR. SMART:· Thank you.
11·   · · · · ·A.· ·No.                                           11·   · · · · · · · MS. ULLERY:· We will be marking as
12·   · · · · ·Q.· ·Did he ever make any reference to             12·   ·Exhibit 17 a November 25th, 2019 email chain, Bates-
13·   ·concealing it from Amazon specifically?                    13·   ·numbered WDC 0440482 through 485.
14·   · · · · ·A.· ·No.                                           14·   · · · · · · · (Deposition Exhibit 17 was marked.)
15·   · · · · ·Q.· ·Did he ever indicate to you that he           15·   · · · · ·Q.· ·(BY MS. ULLERY)· Can you let us know
16·   ·thought this payment arrangement might be illegal?         16·   ·when you see the document?
17·   · · · · ·A.· ·No.                                           17·   · · · · ·A.· ·I see it.
18·   · · · · ·Q.· ·Did you ever have any conversations with      18·   · · · · ·Q.· ·Great.· Please take a look at it.· This
19·   ·Casey Kirschner suggesting that he would personally        19·   ·is an email that Brian Watson sent to you and
20·   ·benefit from these fees paid to Villanova Trust?           20·   ·Christian Kirschner, correct?
21·   · · · · · · · MR. SANDHU:· Objection, form and              21·   · · · · ·A.· ·Correct.
22·   ·foundation.                                                22·   · · · · ·Q.· ·Could you direct your attention to the
23·   · · · · ·A.· ·No.                                           23·   ·very first email in the thread?· And by "first," I
24·   · · · · ·Q.· ·(BY MS. ULLERY)· Did you overhear any of      24·   ·mean first in time.
25·   ·these conversations?                                       25·   · · · · ·A.· ·Right.· I see it.
                                                       Page 203                                                          Page 204
·1·   · · · · ·Q.· ·I can't.· Sorry.· Just a minute.              ·1·   ·providing any services in exchange for this payment?
·2·   · · · · ·A.· ·No, no problem.                               ·2·   · · · · · · · MR. GARNETT:· Objection to form.
·3·   · · · · ·Q.· ·Do you see it where he says, "Tim, I          ·3·   · · · · · · · MR. SMART:· Objection, foundation.· And
·4·   ·would like to arrange a phone call this week between       ·4·   ·please remember to speak into the microphone.· That
·5·   ·you, Christian, and I to discuss the delayed fee           ·5·   ·would be better.
·6·   ·schedule for the Sterling deals?· Christian has            ·6·   · · · · · · · MR. SANDHU:· Counsel, if it helps, this
·7·   ·several questions and wants to verify this this week"?     ·7·   ·is the microphone he's picking you up on.· If you move
·8·   ·What were the Sterling deals?                              ·8·   ·that closer to you.
·9·   · · · · ·A.· ·Those were the Amazon data centers.           ·9·   · · · · ·A.· ·I'm sorry.· Could you repeat?
10·   · · · · ·Q.· ·And what was the fee schedule that Brian      10·   · · · · · · · MS. ULLERY:· Could you read the last
11·   ·Watson referenced for these deals?                         11·   ·question back?
12·   · · · · ·A.· ·The referral fees were triggered with         12·   · · · · · · · (The last question was read back as
13·   ·certain transactions, so signing of a lease.· There        13·   ·follows:· "Do you know if Christian Kirschner was
14·   ·was a couple other steps in the development process        14·   ·providing any services in exchange for this payment?")
15·   ·that would trigger a referral fee to Christian.            15·   · · · · ·A.· ·The only service that I understood that
16·   · · · · ·Q.· ·So Brian Watson was paying Christian          16·   ·he provided was making the connection.
17·   ·Kirschner a fee for participating in some way in these     17·   · · · · ·Q.· ·The initial introduction?
18·   ·deals?                                                     18·   · · · · ·A.· ·Correct.
19·   · · · · · · · MR. SANDHU:· Objection, form.                 19·   · · · · ·Q.· ·And then he continued to receive
20·   · · · · ·A.· ·Correct.                                      20·   ·payments after that initial introduction?
21·   · · · · ·Q.· ·(BY MS. ULLERY)· And this is pursuant to      21·   · · · · · · · MR. SANDHU:· Objection, form and
22·   ·the agreement we just looked at, the referral              22·   ·foundation.
23·   ·agreement?                                                 23·   · · · · ·A.· ·Correct.
24·   · · · · ·A.· ·Correct.                                      24·   · · · · ·Q.· ·(BY MS. ULLERY)· There's a reference to
25·   · · · · ·Q.· ·Do you know if Christian Kirschner was        25·   ·a delay in making these payments.· Do you know what

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                                                       Page 205                                                          Page 206
·1·   ·that delay was?                                            ·1·   ·during that meeting?
·2·   · · · · ·A.· ·There were delays in the development and      ·2·   · · · · ·A.· ·So there was a spreadsheet that we had
·3·   ·construction process, which were pushing back those        ·3·   ·of the payments that would be due, and just went
·4·   ·transaction triggers.                                      ·4·   ·through, and the goal was to give Christian some sense
·5·   · · · · ·Q.· ·What was causing those delays?                ·5·   ·of what the timing would be of when the payments were
·6·   · · · · ·A.· ·We had a variety of different issues. I       ·6·   ·just based on the construction process.
·7·   ·would -- delays in the construction process for            ·7·   · · · · ·Q.· ·Was anyone else present for that
·8·   ·materials.· There was some concerns about certain site     ·8·   ·conversation?
·9·   ·work that had to get done that was -- you know, how        ·9·   · · · · ·A.· ·I was on the phone in my home, and there
10·   ·were we going to handle this versus that and just          10·   ·were people in the home, but the only people on the
11·   ·general construction issues.                               11·   ·call was myself, Brian, and Christian.
12·   · · · · ·Q.· ·At the time of this email, did you know       12·   · · · · ·Q.· ·Do you recall any references to Casey
13·   ·that Christian Kirschner was related to Casey              13·   ·Kirschner during that call?
14·   ·Kirschner?                                                 14·   · · · · ·A.· ·No.
15·   · · · · ·A.· ·I believe so, yeah.                           15·   · · · · ·Q.· ·Any references to Carleton Nelson during
16·   · · · · ·Q.· ·Okay.· Directing your attention to the        16·   ·that call?
17·   ·last email in the thread, so that is the very first        17·   · · · · ·A.· ·No.
18·   ·page, it mentions a meeting between you, Brian Watson,     18·   · · · · ·Q.· ·Any references to Rodney Atherton during
19·   ·and Christian Kirschner for 11:00 a.m. on                  19·   ·that call?
20·   ·November 26th.· Did that meeting occur?                    20·   · · · · ·A.· ·No.
21·   · · · · ·A.· ·Yes.                                          21·   · · · · ·Q.· ·Any references to Johnny Lim during that
22·   · · · · ·Q.· ·By phone or in person?                        22·   ·call?
23·   · · · · · · · MR. SANDHU:· Objection, form.                 23·   · · · · ·A.· ·No.
24·   · · · · ·A.· ·Phone.                                        24·   · · · · · · · MS. ULLERY:· We will be marking as
25·   · · · · ·Q.· ·(BY MS. ULLERY)· What did you discuss         25·   ·Exhibit 18 a December 6th, 2019 email chain,
                                                       Page 207                                                          Page 208
·1·   ·Bates-numbered WDC 0675596 through 598.                    ·1·   ·Trust, and Christian Kirschner?
·2·   · · · · · · · (Deposition Exhibit 18 was marked.)           ·2·   · · · · · · · MR. SANDHU:· Objection, form and
·3·   · · · · ·Q.· ·(BY MS. ULLERY)· Just let us know when        ·3·   ·foundation.
·4·   ·it comes up for you.                                       ·4·   · · · · ·A.· ·Do I believe that that's what that
·5·   · · · · ·A.· ·That's Document 18.· It starts with an        ·5·   ·document is?· Yes.
·6·   ·email from Brent Gray?                                     ·6·   · · · · ·Q.· ·(BY MS. ULLERY)· That that's what
·7·   · · · · ·Q.· ·Correct.                                      ·7·   ·they're referencing?
·8·   · · · · ·A.· ·Got it.                                       ·8·   · · · · ·A.· ·Yes.
·9·   · · · · ·Q.· ·Okay.· Please take a moment to just look      ·9·   · · · · ·Q.· ·So in December 2019, Christian
10·   ·through it.                                                10·   ·Kirschner's agreement with Brian Watson remained in
11·   · · · · ·A.· ·Sure.                                         11·   ·place?
12·   · · · · ·Q.· ·Do you recognize the email?                   12·   · · · · · · · MR. SANDHU:· Objection, form and
13·   · · · · ·A.· ·I'll let you know here in a second.           13·   ·foundation.
14·   · · · · · · · Okay.                                         14·   · · · · ·A.· ·Yes.
15·   · · · · ·Q.· ·So do you recognize it?                       15·   · · · · ·Q.· ·(BY MS. ULLERY)· To your knowledge, was
16·   · · · · ·A.· ·Yeah.                                         16·   ·an updated version of this agreement ever executed?
17·   · · · · ·Q.· ·Okay.· Can you direct your attention to       17·   · · · · ·A.· ·I don't know.
18·   ·Brent Gray's email to Brian Watson on December 4th,        18·   · · · · ·Q.· ·Do you understand what the reference to
19·   ·2019, where Brent asks Brian Watson, quote, whether an     19·   ·legal here is?
20·   ·updated version of the Villanova LLC contractor            20·   · · · · ·A.· ·I would assume an attorney.
21·   ·agreement has been executed with WDC via legal?· Do        21·   · · · · ·Q.· ·Do you know which attorney?
22·   ·you see that?                                              22·   · · · · ·A.· ·No, I don't.
23·   · · · · ·A.· ·I do.                                         23·   · · · · ·Q.· ·Do you know who, if anyone, wanted the
24·   · · · · ·Q.· ·Is this a reference to the independent        24·   ·agreement to be updated?
25·   ·contractor agreement between WC Holdings, Villanova        25·   · · · · ·A.· ·I do not.

                                                        EXHIBIT 4
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                                                       Page 209                                                          Page 210
·1·   · · · · ·Q.· ·Can you direct your attention to the          ·1·   · · · · · · · MS. ULLERY:· Thank you.· Exhibit 18, a
·2·   ·email at the very top of the first page?· The first        ·2·   ·March 16th, 2020 email chain, Bates-numbered WDC
·3·   ·sentence mentions a call with Christian Kirschner          ·3·   ·0654101 through 109.
·4·   ·regarding Villanova, LLC.· Do you know whether that        ·4·   · · · · · · · MR. SANDHU:· To clarify, you were on 18.
·5·   ·call ever occurred?                                        ·5·   ·This will be 19.
·6·   · · · · ·A.· ·I thought that it occurred right after        ·6·   · · · · · · · MS. ULLERY:· This will be 19.· Excuse
·7·   ·my call.· I think there was two calls that took place.     ·7·   ·me.· Exhibit 19.
·8·   · · · · ·Q.· ·Okay.· Tell me more about that.               ·8·   · · · · · · · (Deposition Exhibit 19 was marked.)
·9·   · · · · ·A.· ·Just my first call with going over the        ·9·   · · · · ·Q.· ·(BY MS. ULLERY)· Let us know when you
10·   ·spreadsheet, and then I believe I dropped and then         10·   ·see the document.
11·   ·Brent got on the call, and then they had that              11·   · · · · ·A.· ·I'm pulling it up now.
12·   ·conversation.                                              12·   · · · · · · · I have it.
13·   · · · · ·Q.· ·Between Brent and Christian Kirschner?        13·   · · · · ·Q.· ·Just take a minute to look through it,
14·   · · · · ·A.· ·Yep.                                          14·   ·and let us know when you've done so.
15·   · · · · ·Q.· ·Was Brian Watson on that call?                15·   · · · · ·A.· ·Okay.
16·   · · · · ·A.· ·Yes, I believe so.                            16·   · · · · ·Q.· ·Okay.· Do you recognize this email?
17·   · · · · ·Q.· ·Okay.· Did you ever hear from Brent what      17·   · · · · ·A.· ·I do.
18·   ·was discussed on that call?                                18·   · · · · ·Q.· ·In this email, Brent Gray forwarded you
19·   · · · · ·A.· ·I don't recall him saying what they           19·   ·an email exchange between himself and Christian
20·   ·discussed.                                                 20·   ·Kirschner, correct?
21·   · · · · ·Q.· ·Okay.                                         21·   · · · · ·A.· ·Yes.
22·   · · · · · · · MS. ULLERY:· Can you pull up Tab 7?           22·   · · · · ·Q.· ·Can you take a look at Pages 8 and 9 of
23·   · · · · · · · We're going to be marking as Exhibit --       23·   ·the document?
24·   ·what number are we on?                                     24·   · · · · ·A.· ·Sure.
25·   · · · · · · · MR. SANDHU:· I think you're at 18.            25·   · · · · ·Q.· ·It's the very first email in this thread
                                                       Page 211                                                          Page 212
·1·   ·from Brent Gray to Christian Kirschner on                  ·1·   · · · · ·A.· ·I do.
·2·   ·December 31st, 2019.· There are two attachments titled     ·2·   · · · · ·Q.· ·Okay.· And then do you see where Brent
·3·   ·Villanova payments.· Do you see that?                      ·3·   ·responds on Page 6 and mentions a, quote, dev fee
·4·   · · · · ·A.· ·Yes.· Starting out, "Hi, Christian, did       ·4·   ·being paid to WDC?
·5·   ·you mean cell?"                                            ·5·   · · · · ·A.· ·Let me get there.
·6·   · · · · ·Q.· ·Yes.· And Christian responds the same         ·6·   · · · · · · · MR. SMART:· Are you on Page 6?
·7·   ·day and says, "Thank you again for the call today."        ·7·   · · · · · · · MS. ULLERY:· Yes.· So the email is kind
·8·   ·Do you see that?                                           ·8·   ·of split between 6 and 7, top of 7, bottom of 6.
·9·   · · · · ·A.· ·I do.                                         ·9·   · · · · · · · MR. SMART:· Are you asking for the lease
10·   · · · · ·Q.· ·Did you participate in this call on           10·   ·fee?· Where it says, "Can we also expect payment of
11·   ·December 31st, 2019?                                       11·   ·the lease fee," or are we somewhere else?
12·   · · · · ·A.· ·No.                                           12·   · · · · · · · MS. ULLERY:· "Do you have any updates to
13·   · · · · ·Q.· ·Do you know whether it occurred?              13·   ·the fee schedule," and then Brent responding,
14·   · · · · ·A.· ·I do not.                                     14·   ·mentioning the dev fee.
15·   · · · · ·Q.· ·Okay.· Can you take a look at Page 7 of       15·   · · · · · · · MR. GARNETT:· You're not clearing
16·   ·the document, where Christian Kirschner asks, "Do you      16·   ·anything up, Adam, for the record.
17·   ·have any updates to the fee schedule"?                     17·   · · · · · · · MR. SMART:· No, I'm lost on the exhibit.
18·   · · · · · · · MR. GARNETT:· And by 7, are you going on      18·   ·That's why I'm asking.
19·   ·the exhibit page numbers?                                  19·   · · · · · · · MS. ULLERY:· Okay.· "Hi, Christian, hope
20·   · · · · · · · MS. ULLERY:· Are they different?              20·   ·you are in good spirits and well."
21·   · · · · · · · MR. SANDHU:· They look the same to me.        21·   · · · · · · · MR. SMART:· Yes, I see that.
22·   · · · · · · · MR. GARNETT:· Okay.· Great.· So the           22·   · · · · · · · MS. ULLERY:· Okay.· It's that email.
23·   ·answer is yes.                                             23·   · · · · · · · MR. SMART:· Okay.· No, I understand
24·   · · · · · · · MS. ULLERY:· I wasn't sure.                   24·   ·that.· That's what we're looking at, right, not any
25·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you see that?             25·   ·other section of this document.

                                                        EXHIBIT 4
                                               Timothy Lorman· - 03/11/2022                                            209–212      YVer1f
       Case 1:20-cv-00484-RDA-TCB Document   696-5 Services
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·1·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you see that?             ·1·   · · · · ·A.· ·No, it didn't seem unusual.
·2·   · · · · · · · (The deponent nodded head up and down.)       ·2·   · · · · ·Q.· ·(BY MS. ULLERY)· Not high or low?
·3·   · · · · · · · MR. SMART:· Got it.· I see dev fee. I         ·3·   · · · · ·A.· ·No.
·4·   ·thought you were saying debt fee.· Apologize.              ·4·   · · · · ·Q.· ·Not unusual?
·5·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you understand dev        ·5·   · · · · ·A.· ·No.
·6·   ·fee to mean development fee here?                          ·6·   · · · · ·Q.· ·On Page 6, Christian asks, "Can we also
·7·   · · · · ·A.· ·Yes.                                          ·7·   ·expect a payment on the lease fee?"· Did you
·8·   · · · · ·Q.· ·Are these also referred to as                 ·8·   ·understand that Christian here was referring to a
·9·   ·entitlement fees?                                          ·9·   ·percentage of the leasing fee from one of the Amazon
10·   · · · · ·A.· ·They can be, yes.                             10·   ·transactions?
11·   · · · · · · · MR. SMART:· Foundation.                       11·   · · · · · · · MR. SANDHU:· Objection, form and
12·   · · · · ·Q.· ·(BY MS. ULLERY)· Is there a difference        12·   ·foundation.
13·   ·between the two?                                           13·   · · · · ·A.· ·Yes.
14·   · · · · · · · MS. ULLERY:· Did someone join?                14·   · · · · ·Q.· ·(BY MS. ULLERY)· Was the leasing fee
15·   · · · · · · · MR. SMART:· It's just Carl.· He's             15·   ·covering any one specific service provided by
16·   ·appearing via cell phone.                                  16·   ·Northstar at this time?
17·   · · · · ·A.· ·I've seen it referred to as both.             17·   · · · · · · · MR. SMART:· Objection, foundation.
18·   · · · · ·Q.· ·(BY MS. ULLERY)· Did these payments of        18·   · · · · ·A.· ·It was associated with getting the lease
19·   ·development fees seem high to you?                         19·   ·completed for the transaction.
20·   · · · · · · · MR. SMART:· Objection, foundation.            20·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.· Turning back to
21·   · · · · · · · THE DEPONENT:· Did he have an objection?      21·   ·the email thread, if you can look at the first page of
22·   · · · · · · · MR. GARNETT:· We're not sure what it is.      22·   ·the document, where Christian asks about fees owed on
23·   · · · · · · · MR. SMART:· Foundation.                       23·   ·Manassas, Dulles NCP 2, and Quail Ridge.· Do you see
24·   · · · · · · · THE DEPONENT:· Foundation.· I'm getting       24·   ·that?
25·   ·good at this.                                              25·   · · · · ·A.· ·I'm getting there in one second, please.
                                                       Page 215                                                          Page 216
·1·   · · · · · · · Is this the first page?                       ·1·   ·conversation about making sure that we paid our
·2·   · · · · ·Q.· ·Yes.                                          ·2·   ·referral.· He would check in when a trigger point
·3·   · · · · ·A.· ·"I am reaching out to confirm we're on        ·3·   ·occurred to make sure that we made our payments to
·4·   ·track for fees owed on Manassas and for Dulles NCP for     ·4·   ·Villanova.
·5·   ·Building 3."· Yes.                                         ·5·   · · · · ·Q.· ·And he was the only referral partner for
·6·   · · · · ·Q.· ·Okay.· Do you know whether Christian          ·6·   ·these Amazon deals; is that correct?
·7·   ·Kirschner had a similar fee schedule agreement for the     ·7·   · · · · ·A.· ·To the best of my knowledge, yes.
·8·   ·Manassas property?                                         ·8·   · · · · ·Q.· ·Okay.
·9·   · · · · · · · MR. SANDHU:· Objection to form and            ·9·   · · · · · · · MR. SMART:· Foundation.
10·   ·foundation.                                                10·   · · · · · · · MS. ULLERY:· Can you pull Tab 8, please?
11·   · · · · ·A.· ·It was my understanding that the fee          11·   ·We will be marking as Exhibit 20 a February 2nd, 2020
12·   ·lease -- the referral agreement covered all of them.       12·   ·email, Bates-numbered WDC 0350745 through 747.
13·   · · · · ·Q.· ·(BY MS. ULLERY)· All of them?                 13·   · · · · · · · (Deposition Exhibit 20 was marked.)
14·   · · · · ·A.· ·Yes.                                          14·   · · · · ·Q.· ·(BY MS. ULLERY)· Just let us know when
15·   · · · · ·Q.· ·Including Quail Ridge?                        15·   ·you see it.
16·   · · · · ·A.· ·Yes.                                          16·   · · · · ·A.· ·I have it.
17·   · · · · ·Q.· ·Including Dulles and NCP 2?                   17·   · · · · ·Q.· ·Okay.· Do you recognize this email?
18·   · · · · ·A.· ·Yes.                                          18·   · · · · ·A.· ·It looks familiar, yeah.
19·   · · · · ·Q.· ·And to your knowledge, did Brian Watson       19·   · · · · ·Q.· ·Brent Gray wrote these were all
20·   ·know about these arrangements?                             20·   ·discussed and understood based on our 12/31/2019 phone
21·   · · · · ·A.· ·Yes.                                          21·   ·call with our referral partner and nothing significant
22·   · · · · ·Q.· ·Okay.· Why do you believe that he knew        22·   ·has changed with the exception of understanding Dulles
23·   ·about them?                                                23·   ·and NCP II in relation to the JV agreements and
24·   · · · · ·A.· ·I believe it based upon the fact that         24·   ·original Dulles purchase.
25·   ·the referral agreement was in place and there was          25·   · · · · · · · This call he's referencing on

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·1·   ·December 31st, is this the same call that we just saw      ·1·   ·are back on the record.
·2·   ·in the last exhibit?                                       ·2·   · · · · ·Q.· ·(BY MS. ULLERY)· Mr. Lorman, do you
·3·   · · · · ·A.· ·I don't know.                                 ·3·   ·understand you're still under oath?
·4·   · · · · ·Q.· ·Okay.· Did Brent Gray ever say anything       ·4·   · · · · ·A.· ·I do.
·5·   ·to you about any calls he had with Christian               ·5·   · · · · ·Q.· ·Now, earlier, we talked about your
·6·   ·Kirschner?                                                 ·6·   ·meeting with Mr. Gilpin.
·7·   · · · · ·A.· ·Just that he had spoken with Christian.       ·7·   · · · · ·A.· ·Yeah.
·8·   · · · · ·Q.· ·Nothing more?                                 ·8·   · · · · ·Q.· ·We're going to go back through some of
·9·   · · · · ·A.· ·He was -- he alluded to the fact, as he       ·9·   ·that, and you may have already answered a couple of
10·   ·stated in that email, that he was tired of dealing         10·   ·these questions, but just to make sure we cover
11·   ·with Christian's calls all the time.                       11·   ·everything.· You met with Mr. Gilpin in person on or
12·   · · · · ·Q.· ·Is that why he forwarded this to you?         12·   ·about January 28th, 2020.· Does that sound right?
13·   · · · · ·A.· ·Yeah.                                         13·   · · · · ·A.· ·Yes.
14·   · · · · ·Q.· ·So do you understand that when Brent          14·   · · · · ·Q.· ·During this meeting, did you tell
15·   ·Gray wrote the "referral partner" he was referring to      15·   ·Mr. Gilpin about what you understood to be an
16·   ·Christian Kirschner here?                                  16·   ·arrangement between Casey Kirschner and Brian Watson?
17·   · · · · ·A.· ·Yes.                                          17·   · · · · ·A.· ·Christian.
18·   · · · · · · · MS. ULLERY:· Let's go ahead and take --       18·   · · · · ·Q.· ·Christian Kirschner?
19·   ·can we take a quick break?                                 19·   · · · · ·A.· ·Yes.
20·   · · · · · · · MR. SANDHU:· Sure.                            20·   · · · · ·Q.· ·Apologies.· Christian Kirschner and
21·   · · · · · · · MS. ULLERY:· Just a five-minute break.        21·   ·Brian Watson?
22·   · · · · · · · THE VIDEOGRAPHER:· The time is 2:26.· We      22·   · · · · ·A.· ·Correct.
23·   ·are going off the record.                                  23·   · · · · ·Q.· ·And did you tell him that you suspected
24·   · · · · · · · (Recess taken.)                               24·   ·that Brian Watson, Kyle Ramstetter, Will Camenson, and
25·   · · · · · · · THE VIDEOGRAPHER:· The time is 2:35.· We      25·   ·Christian Kirschner may have engaged in misconduct?
                                                       Page 219                                                          Page 220
·1·   · · · · · · · MR. SANDHU:· Objection to form.               ·1·   ·no.
·2·   · · · · ·A.· ·No.                                           ·2·   · · · · ·Q.· ·(BY MS. ULLERY)· Did you at some other
·3·   · · · · ·Q.· ·(BY MS. ULLERY)· What did you tell him?       ·3·   ·point in time?
·4·   · · · · ·A.· ·I just simply wanted to know if he was        ·4·   · · · · · · · MR. SMART:· Objection, form.
·5·   ·aware of the referral agreement.                           ·5·   · · · · ·A.· ·Yeah, subsequent to that, I did.
·6·   · · · · ·Q.· ·And going into the meeting, if he said        ·6·   · · · · ·Q.· ·(BY MS. ULLERY)· What caused that
·7·   ·he didn't know if he was aware, would that have            ·7·   ·suspicion?
·8·   ·signified misconduct to you?                               ·8·   · · · · ·A.· ·The suspicion was the fact that the
·9·   · · · · · · · MR. SMART:· Objection, foundation.            ·9·   ·lease budget didn't reflect where the actual money was
10·   · · · · ·A.· ·It would have signified misconduct in         10·   ·being -- how it was being allocated and used.
11·   ·that it was my understanding of the agreement that         11·   · · · · ·Q.· ·Do you recall about when you started to
12·   ·formed the entity that they were partners and that it      12·   ·suspect this?
13·   ·was inappropriate under those terms.                       13·   · · · · ·A.· ·Late January, early February.
14·   · · · · ·Q.· ·So he didn't know about it --                 14·   · · · · ·Q.· ·Okay.· So after this first meeting?
15·   · · · · ·A.· ·He did not.                                   15·   · · · · ·A.· ·Yep.
16·   · · · · ·Q.· ·-- that you believed that the agreement       16·   · · · · ·Q.· ·At this point in time, did you suspect
17·   ·violated Northstar's agreement with IPI?                   17·   ·these individuals might have violated the law?
18·   · · · · ·A.· ·Yeah.                                         18·   · · · · · · · MR. SANDHU:· Objection; form,
19·   · · · · ·Q.· ·At the time of the meeting, did you           19·   ·foundation.
20·   ·suspect that Brian Watson, Kyle Ramstetter, Will           20·   · · · · · · · MR. SMART:· Same objections.
21·   ·Camenson, and Christian Kirschner had violated a lease     21·   · · · · ·A.· ·No, I really didn't see it as a legal
22·   ·agreement signed with Amazon?                              22·   ·matter at that point in time.
23·   · · · · · · · MR. SMART:· Objection, foundation.            23·   · · · · ·Q.· ·(BY MS. ULLERY)· When did it become a
24·   · · · · · · · MR. GARNETT:· Objection to form.              24·   ·legal matter to you?
25·   · · · · ·A.· ·I don't know that I did at that time,         25·   · · · · ·A.· ·I don't know that it did.· I always

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·1·   ·considered it to be a civil issue, not necessarily a       ·1·   ·you're intending to waive that in connection with
·2·   ·criminal issue.                                            ·2·   ·these questions.
·3·   · · · · ·Q.· ·Okay.· Did you share any of these             ·3·   · · · · · · · MS. ULLERY:· We are not.
·4·   ·possible suspicions with Luke at the time or did you       ·4·   · · · · · · · MR. GARNETT:· Sorry.· Go ahead.
·5·   ·just go in asking if he knew about this --                 ·5·   · · · · ·Q.· ·(BY MS. ULLERY)· Go ahead and answer.
·6·   · · · · · · · MR. SANDHU:· Objection, form.                 ·6·   · · · · ·A.· ·I'm sorry.· I don't recall what the
·7·   · · · · ·A.· ·I just wanted to know if they knew about      ·7·   ·question was.
·8·   ·the referral agreement.                                    ·8·   · · · · · · · MS. ULLERY:· Can you repeat the question
·9·   · · · · ·Q.· ·(BY MS. ULLERY)· Other than no, what          ·9·   ·for us?
10·   ·else did he tell you?                                      10·   · · · · · · · (The last question was read back as
11·   · · · · ·A.· ·He just asked me to explain what I knew       11·   ·follows:· "Why did you take this information to Luke
12·   ·about it because he had no idea what this referral         12·   ·Gilpin at IPI instead of someone else at Northstar?")
13·   ·agreement was, and he seemed shocked when I told him.      13·   · · · · ·A.· ·Because he was one of the directors in
14·   · · · · ·Q.· ·He seemed shocked?                            14·   ·the IPI-NS organization entity that was responsible
15·   · · · · ·A.· ·Uh-huh.                                       15·   ·for these transactions.
16·   · · · · ·Q.· ·Did he seem upset?                            16·   · · · · ·Q.· ·(BY MS. ULLERY)· Were you concerned that
17·   · · · · ·A.· ·I don't know that he seemed upset.· It        17·   ·if you took this information to Brian Watson, it could
18·   ·was just more shock.                                       18·   ·backfire in some way?
19·   · · · · ·Q.· ·Why did you take this information to          19·   · · · · · · · MR. SANDHU:· Objection; form,
20·   ·Luke Gilpin at IPI instead of someone else at              20·   ·foundation.
21·   ·Northstar?                                                 21·   · · · · ·A.· ·I don't think so, no.
22·   · · · · · · · MR. GARNETT:· Counsel, I just want to         22·   · · · · ·Q.· ·(BY MS. ULLERY)· Did you ever bring this
23·   ·interpose an objection to make sure I'm clear.· It's       23·   ·to Brian Watson's attention?
24·   ·my understanding that Amazon has asserted a common         24·   · · · · ·A.· ·Which -- bring what?
25·   ·interest privilege with IPI, and I'm wondering whether     25·   · · · · ·Q.· ·The fact that IPI didn't know about the
                                                       Page 223                                                          Page 224
·1·   ·agreement.                                                 ·1·   ·those specific types of documents?
·2·   · · · · ·A.· ·No.                                           ·2·   · · · · ·A.· ·Just to show that money had exchanged
·3·   · · · · ·Q.· ·Why not?                                      ·3·   ·hands based on the terms of the referral agreement.
·4·   · · · · ·A.· ·I don't know.                                 ·4·   · · · · ·Q.· ·Okay.
·5·   · · · · ·Q.· ·Following this meeting with Luke Gilpin,      ·5·   · · · · · · · MR. GARNETT:· Shocking.
·6·   ·on or around February 14th, 2020, did you share            ·6·   · · · · · · · MS. ULLERY:· What?
·7·   ·documents with him that you believed evidenced some        ·7·   · · · · · · · MR. GARNETT:· Nothing.· I was talking to
·8·   ·kind of misconduct by these individuals?                   ·8·   ·Mr. Watson.
·9·   · · · · ·A.· ·Yes.                                          ·9·   · · · · ·Q.· ·(BY MS. ULLERY)· Let's go back to
10·   · · · · · · · MS. ULLERY:· Let's go ahead -- actually,      10·   ·Exhibit 10, which should be probably Document 11.
11·   ·no, this has already been marked.                          11·   · · · · ·A.· ·Got it.
12·   · · · · ·Q.· ·(BY MS. ULLERY)· Can you take a look at       12·   · · · · ·Q.· ·Same question here.· Is this one of the
13·   ·Exhibit 8?· I guess it's probably Document 9.              13·   ·documents you shared with Mr. Gilpin?
14·   · · · · · · · MR. SANDHU:· Yes.                             14·   · · · · ·A.· ·It looks similar to one of the documents
15·   · · · · ·A.· ·Got it.                                       15·   ·that I shared.
16·   · · · · ·Q.· ·(BY MS. ULLERY)· Is this one of the           16·   · · · · · · · MS. ULLERY:· And can we go ahead and
17·   ·documents that you shared with Mr. Gilpin?                 17·   ·upload a document?· This will be marked as Exhibit 21,
18·   · · · · ·A.· ·I don't know, but it looks similar to         18·   ·I believe.· Is that correct?
19·   ·documents that I did share.                                19·   · · · · · · · MR. SANDHU:· I'll see when it comes up.
20·   · · · · ·Q.· ·Okay.· It looks similar.                      20·   · · · · · · · This is 21.
21·   · · · · ·A.· ·Uh-huh.                                       21·   · · · · · · · MS. ULLERY:· So we will be marking as
22·   · · · · ·Q.· ·What types of documents do you recall         22·   ·Exhibit 21 a spreadsheet.· And for the record, this
23·   ·sharing?                                                   23·   ·document is Exhibit 7 to Amazon's second amended
24·   · · · · ·A.· ·I believe that I shared wire transfers.       24·   ·complaint, Docket Number 155-7.
25·   · · · · ·Q.· ·Do you recall why you decided to share        25·   · · · · · · · (Deposition Exhibit 21 was marked.)

                                                        EXHIBIT 4
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·1·   · · · · ·A.· ·I have it.                                    ·1·   ·pursuant to the January 2018 referral agreement?
·2·   · · · · · · · MS. ULLERY:· Sorry.· That was the wrong       ·2·   · · · · · · · MR. SANDHU:· Objection, form and
·3·   ·one.                                                       ·3·   ·foundation.
·4·   · · · · ·A.· ·So 21 is not correct?                         ·4·   · · · · ·A.· ·Yes.
·5·   · · · · ·Q.· ·(BY MS. ULLERY)· I believe not. I             ·5·   · · · · · · · MS. ULLERY:· What exhibit marking is
·6·   ·believe 21 is a duplicate of Exhibit 10 already.· You      ·6·   ·this?
·7·   ·know, while he's uploading this, let's go ahead and        ·7·   · · · · · · · MR. GARNETT:· 22.
·8·   ·stick with Exhibit 10.                                     ·8·   · · · · · · · MR. SANDHU:· 22.
·9·   · · · · ·A.· ·I have it too, by the way.                    ·9·   · · · · · · · MS. ULLERY:· We're marking as Exhibit 22
10·   · · · · ·Q.· ·You have it up.· Who was listed as the        10·   ·a spreadsheet, and, again, for the record, this is
11·   ·originator here?                                           11·   ·Exhibit 7 to Amazon's second amended complaint, Docket
12·   · · · · ·A.· ·In which one, on 10?                          12·   ·Number 155-7.
13·   · · · · ·Q.· ·Exhibit 10, yeah.                             13·   · · · · · · · (Deposition Exhibit 22 was marked.)
14·   · · · · ·A.· ·Document 11, Exhibit 10.· Originator is       14·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you see that one
15·   ·WDC Holdings.                                              15·   ·now?
16·   · · · · ·Q.· ·And that's Northstar?                         16·   · · · · ·A.· ·I do.
17·   · · · · ·A.· ·Correct.                                      17·   · · · · ·Q.· ·Do you recognize it?
18·   · · · · ·Q.· ·And who is listed as the beneficiary of       18·   · · · · ·A.· ·It looks familiar.
19·   ·the $321,000?                                              19·   · · · · ·Q.· ·Is this one of the documents that you
20·   · · · · ·A.· ·Beneficiary is Villanova Trust.               20·   ·provided to Luke Gilpin in February 2020?
21·   · · · · ·Q.· ·Okay.· And what's the description of the      21·   · · · · ·A.· ·It could be.
22·   ·beneficiary information that you see there?                22·   · · · · ·Q.· ·It could be.
23·   · · · · ·A.· ·Manassas leasing fee.                         23·   · · · · ·A.· ·I don't know specifically what I -- I
24·   · · · · ·Q.· ·Okay.· Is this an example of a record of      24·   ·don't recall specifically what I sent.
25·   ·payment that Northstar made to Villanova Trust             25·   · · · · ·Q.· ·Did you choose to provide documents that
                                                       Page 227                                                          Page 228
·1·   ·showed referral payments being made from WDC Holdings      ·1·   · · · · ·A.· ·I do not know.
·2·   ·to Villanova Trust?                                        ·2·   · · · · ·Q.· ·Okay.· Let's talk about -- well, let's
·3·   · · · · · · · MR. SANDHU:· Objection, form.                 ·3·   ·go back.· Did you have another meeting with Luke
·4·   · · · · · · · MR. SMART:· Objection, form and               ·4·   ·Gilpin after this first one in January?
·5·   ·foundation.                                                ·5·   · · · · ·A.· ·I don't recall having one.
·6·   · · · · ·A.· ·Yes.                                          ·6·   · · · · ·Q.· ·Did you have a conversation with him?
·7·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.· And does this         ·7·   · · · · ·A.· ·I talked to him about many things.
·8·   ·show that?                                                 ·8·   · · · · ·Q.· ·Do you recall providing him with an
·9·   · · · · ·A.· ·Yes.                                          ·9·   ·audio recording of a conversation that we've already
10·   · · · · · · · MR. SMART:· Objection, form.                  10·   ·discussed between Brian Watson and Kyle Ramstetter and
11·   · · · · ·Q.· ·(BY MS. ULLERY)· According to the             11·   ·Will Camenson?
12·   ·spreadsheet, how much money did WDC Holdings owe           12·   · · · · ·A.· ·I do.
13·   ·Villanova Trust at the time?                               13·   · · · · ·Q.· ·If you could take a look at Exhibit 12,
14·   · · · · · · · MR. SMART:· Objection, foundation.            14·   ·which earlier you were asked about this transcript,
15·   · · · · ·Q.· ·(BY MS. ULLERY)· Is it not flipping for       15·   ·and you said it was an accurate reflection of that
16·   ·you?                                                       16·   ·recording.· Do you remember that?
17·   · · · · ·A.· ·It's not flipping.                            17·   · · · · ·A.· ·I do.· Am I looking at Exhibit 12 again?
18·   · · · · · · · MR. SMART:· For the record, there is a        18·   · · · · ·Q.· ·Pardon?
19·   ·record that's already in on that deposition that's in      19·   · · · · ·A.· ·Look at Exhibit 12?
20·   ·the right orientation.                                     20·   · · · · ·Q.· ·Yes.
21·   · · · · ·A.· ·That's okay.· I've got it.· So referrals      21·   · · · · ·A.· ·Got it.
22·   ·Villanova owed is $1,447,614.50.                           22·   · · · · ·Q.· ·Why did you make this recording?
23·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.· To your               23·   · · · · ·A.· ·Brian asked me to.
24·   ·knowledge, was this money paid by Northstar to             24·   · · · · ·Q.· ·What else did he tell you that he asked
25·   ·Villanova Trust?                                           25·   ·you to do?

                                                        EXHIBIT 4
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·1·   · · · · ·A.· ·I don't think there was any other             ·1·   ·recording that you made on your phone?
·2·   ·instructions associated with that.                         ·2·   · · · · ·A.· ·It appears to be.
·3·   · · · · ·Q.· ·Did you question the legality of making       ·3·   · · · · ·Q.· ·When you first discussed this with Brian
·4·   ·the recording?                                             ·4·   ·Watson, what did he tell you about what he believed
·5·   · · · · ·A.· ·No.· It's my understanding that Colorado      ·5·   ·Kyle and Will had done?
·6·   ·was a one-party consent, so I didn't see any objection     ·6·   · · · · ·A.· ·It was -- what he shared with me is that
·7·   ·to it.                                                     ·7·   ·Will and Kyle had made an arrangement to acquire a
·8·   · · · · ·Q.· ·During which parts of the conversation        ·8·   ·piece of land that Amazon was interested in based upon
·9·   ·were you present in the room?                              ·9·   ·their knowledge -- based upon information that Amazon
10·   · · · · ·A.· ·I was not present -- I was present just       10·   ·shared with them.· They purchased the property and
11·   ·for the very start of the conversation with                11·   ·then flipped it to Amazon.
12·   ·Ramstetter, and then, as it states here, I stepped         12·   · · · · ·Q.· ·Okay.· And when he was discussing this
13·   ·out.                                                       13·   ·with you, did he make any mention to you of Casey
14·   · · · · ·Q.· ·Okay.                                         14·   ·Kirschner?
15·   · · · · ·A.· ·And then I was present for the entire         15·   · · · · ·A.· ·I don't recall specifically, no.
16·   ·meeting with Will Camenson.                                16·   · · · · ·Q.· ·Carleton Nelson?
17·   · · · · ·Q.· ·Did you listen to the recorded portions       17·   · · · · ·A.· ·I don't recall specifically, no.
18·   ·of the conversation for which you were not present?        18·   · · · · · · · MS. ULLERY:· Okay.· And just so everyone
19·   · · · · ·A.· ·Yes.                                          19·   ·is on the same page, when I reference a page number
20·   · · · · ·Q.· ·So you are familiar with the entire           20·   ·for the transcript, I'm referring to the number at the
21·   ·recording?                                                 21·   ·top of the page, which should be the same as the
22·   · · · · ·A.· ·I am.                                         22·   ·document number.
23·   · · · · ·Q.· ·And to the best of your knowledge -- I        23·   · · · · ·Q.· ·(BY MS. ULLERY)· So if you could look at
24·   ·believe we discussed this earlier, but this transcript     24·   ·Page 19 for me, please.· In the middle of the page
25·   ·is a complete and accurate transcription of that           25·   ·where Brian Watson says, quote, Do you know Nova WPC,
                                                       Page 231                                                          Page 232
·1·   ·LLC.                                                       ·1·   · · · · ·A.· ·It's been referred to by several names,
·2·   · · · · ·A.· ·Okay.· So Page 19 of 25?                      ·2·   ·but I know which one you're talking about.
·3·   · · · · ·Q.· ·Uh-huh.                                       ·3·   · · · · ·Q.· ·About how much money did Nova WPC, LLC
·4·   · · · · ·A.· ·I see it.                                     ·4·   ·make on the White Peaks deal?
·5·   · · · · ·Q.· ·Okay.· Are you familiar with the entity       ·5·   · · · · · · · MR. SMART:· Objection, foundation.
·6·   ·Nova WPC, LLC?                                             ·6·   · · · · ·A.· ·I don't know.
·7·   · · · · ·A.· ·Only insofar as we did some research to       ·7·   · · · · ·Q.· ·(BY MS. ULLERY)· You don't know?
·8·   ·see who had registered that entity.                        ·8·   · · · · ·A.· ·No.· Some amount of the delta between
·9·   · · · · ·Q.· ·Okay.· And who had registered it?             ·9·   ·the sale price and what they paid for it.
10·   · · · · ·A.· ·It was either Will or Kyle.· I don't          10·   · · · · ·Q.· ·When Brian Watson confronted Kyle
11·   ·recall.· One of the two of them with their home            11·   ·Ramstetter about this sale, do you know whether Kyle
12·   ·address.                                                   12·   ·was aware that you were recording the meeting?
13·   · · · · ·Q.· ·Do you know whether Casey Kirschner knew      13·   · · · · ·A.· ·I do not know.
14·   ·about Nova WPC, LLC?                                       14·   · · · · ·Q.· ·During that confrontation, did Brian
15·   · · · · ·A.· ·I do not know.                                15·   ·Watson ask Kyle Ramstetter to pay Northstar a portion
16·   · · · · ·Q.· ·Can you direct your attention to the          16·   ·of the proceeds from the flip?
17·   ·large paragraph at the bottom of the page where Brian      17·   · · · · · · · MR. SANDHU:· Objection; form,
18·   ·Watson says that the entity is, quote, transacted for      18·   ·foundation.
19·   ·98.7 million and then, quote, on the same day, that        19·   · · · · ·A.· ·I was not in that meeting, so it would
20·   ·same entity flipped it for 116.4 million?· Do you see      20·   ·be recollection that if it states this in the
21·   ·that?                                                      21·   ·transcript, he did.
22·   · · · · ·A.· ·I do.                                         22·   · · · · ·Q.· ·(BY MS. ULLERY)· Could you turn your
23·   · · · · ·Q.· ·The property that Mr. Watson is               23·   ·attention to Page 7?
24·   ·referring to is known as White Peaks property,             24·   · · · · ·A.· ·Yes, please.· Thanks.· It's going slow
25·   ·correct?                                                   25·   ·here.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·That's okay.· We're going to be looking       ·1·   ·meeting that I recall afterwards.· There was a lot of
·2·   ·at the portion where Kyle says, "It's a you and me         ·2·   ·shock.
·3·   ·Casey conversation over a drink."                          ·3·   · · · · ·Q.· ·Did you believe that Brian Watson knew
·4·   · · · · ·A.· ·Page 7.· Okay.· I'm on Page 8.                ·4·   ·what Kyle meant by that statement?
·5·   · · · · ·Q.· ·Now, you've listened to this recording?       ·5·   · · · · ·A.· ·I don't know.
·6·   · · · · ·A.· ·I have.                                       ·6·   · · · · ·Q.· ·Okay.· Can you go ahead and turn to Page
·7·   · · · · ·Q.· ·When you hear "Casey," do you understand      ·7·   ·9?· It's at the top of the page where Kyle Ramstetter
·8·   ·it to mean Casey Kirschner?                                ·8·   ·says, quote, "Like what we did for Amazon, that's
·9·   · · · · ·A.· ·Yes.                                          ·9·   ·FBI."
10·   · · · · ·Q.· ·So is it accurate to say that in              10·   · · · · ·A.· ·Okay.
11·   ·response to Brian's request that Northstar be paid a       11·   · · · · ·Q.· ·Do you see that?
12·   ·portion of these proceeds, in this recording, Kyle         12·   · · · · ·A.· ·I do.
13·   ·suggested that they discuss the payment with Casey         13·   · · · · ·Q.· ·Do you know what Kyle was referring to
14·   ·Kirschner?                                                 14·   ·when he said, quote, what we did for Amazon?
15·   · · · · · · · MR. SANDHU:· Objection, form.                 15·   · · · · ·A.· ·I don't know the details of all the
16·   · · · · ·A.· ·Yes.                                          16·   ·transactions that were involved.
17·   · · · · ·Q.· ·(BY MS. ULLERY)· Do you have any              17·   · · · · ·Q.· ·Do you understand him to be referring to
18·   ·understanding as to what Kyle meant by that statement?     18·   ·a different arrangement here from the White Peaks
19·   · · · · ·A.· ·Not other than the three of them should       19·   ·deal?
20·   ·get together and discuss the situation, and apparently     20·   · · · · · · · MR. SMART:· Objection; form, foundation.
21·   ·there would be some resolution based on that               21·   · · · · · · · MR. SANDHU:· Objection; form,
22·   ·conversation.                                              22·   ·foundation.
23·   · · · · ·Q.· ·Did you ask Brian Watson what he meant        23·   · · · · ·A.· ·It was my understanding that was outside
24·   ·by that?                                                   24·   ·the context of the White Peaks deal.
25·   · · · · ·A.· ·No.· We didn't really discuss the             25·   · · · · ·Q.· ·(BY MS. ULLERY)· So this was a different
                                                       Page 235                                                          Page 236
·1·   ·thing?                                                     ·1·   ·did not immediately fire Kyle and Will; is that
·2·   · · · · ·A.· ·Yes.· In my opinion, yes.                     ·2·   ·correct?
·3·   · · · · ·Q.· ·And you understand the "we" to include        ·3·   · · · · ·A.· ·That's correct.
·4·   ·Brian Watson?                                              ·4·   · · · · ·Q.· ·Okay.· What happened after the
·5·   · · · · ·A.· ·Yes.                                          ·5·   ·conversations with Kyle and Will ended?
·6·   · · · · ·Q.· ·In the next sentence where Kyle says,         ·6·   · · · · ·A.· ·They left the building.· We had a -- I
·7·   ·you have -- quote, you have two corporate real estate      ·7·   ·believe we had a team meeting then, that morning, to
·8·   ·people for the largest tenant in the world that you        ·8·   ·kind of talk through what had just happened.
·9·   ·can trace the money.· The tenant here, did you             ·9·   · · · · ·Q.· ·Okay.· Did you speak with either of them
10·   ·understand that to be Amazon?                              10·   ·after that meeting?
11·   · · · · ·A.· ·Yes.                                          11·   · · · · ·A.· ·With Will or -- yeah.· They -- Brent
12·   · · · · · · · MR. SANDHU:· Objection; form,                 12·   ·wanted to call Kyle, and he didn't take our call.
13·   ·foundation.                                                13·   · · · · ·Q.· ·What about Will?
14·   · · · · ·Q.· ·(BY MS. ULLERY)· And who are the, quote,      14·   · · · · ·A.· ·No.
15·   ·two corporate real estate people?                          15·   · · · · ·Q.· ·Let's back up really quickly, actually.
16·   · · · · · · · MR. SMART:· Objection, foundation.            16·   ·I believe you mentioned earlier that you waited in the
17·   · · · · ·A.· ·My understanding, it was Casey and Carl.      17·   ·lobby or some other room with Will while Kyle was
18·   · · · · ·Q.· ·(BY MS. ULLERY)· And what did you             18·   ·meeting with Brian; is that correct?
19·   ·understand, quote, the money to be traced to mean?         19·   · · · · ·A.· ·Correct.
20·   · · · · · · · MR. SMART:· Objection, foundation.            20·   · · · · ·Q.· ·Did Will say anything to you?
21·   · · · · · · · MR. SANDHU:· Objection, foundation.           21·   · · · · ·A.· ·We just talked idle.
22·   · · · · ·A.· ·Any of the fees that were moving around.      22·   · · · · ·Q.· ·Nothing about this?
23·   · · · · ·Q.· ·(BY MS. ULLERY)· To Villanova Trust?          23·   · · · · ·A.· ·Nope.
24·   · · · · ·A.· ·Uh-huh.                                       24·   · · · · ·Q.· ·What conversations did you have with
25·   · · · · ·Q.· ·At the end of this meeting, Brian Watson      25·   ·Brian Watson after this ended?

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·1·   · · · · ·A.· ·I think the primary conversation that we      ·1·   · · · · ·Q.· ·Do you recall him mentioning anything
·2·   ·had was was it the right thing to go ahead and fire        ·2·   ·about Carl Nelson in those conversations?
·3·   ·them or to just suspend them while we figured out          ·3·   · · · · ·A.· ·I do not, no.
·4·   ·exactly what was happening, was there damage to the        ·4·   · · · · ·Q.· ·After this confrontation occurred with
·5·   ·Amazon relationship based upon this, and what we were      ·5·   ·Kyle and Will, I believe earlier you discussed a call
·6·   ·going to do with the projects in flight going forward.     ·6·   ·with Casey Kirschner; is that correct?
·7·   · · · · ·Q.· ·Did he explain what, quote, FBI stuff         ·7·   · · · · ·A.· ·Uh-huh.
·8·   ·meant?                                                     ·8·   · · · · ·Q.· ·You were present for the conversation?
·9·   · · · · ·A.· ·No.                                           ·9·   · · · · ·A.· ·My conversation with Casey or --
10·   · · · · ·Q.· ·Did you ask him?                              10·   · · · · ·Q.· ·Brian Watson's conversation with Casey.
11·   · · · · ·A.· ·No.                                           11·   · · · · ·A.· ·I was there for a portion of it, yeah.
12·   · · · · ·Q.· ·Did he explain the, quote, money to be        12·   · · · · ·Q.· ·What did he say on that call?
13·   ·traced?                                                    13·   · · · · ·A.· ·As I recall, the primary tone of the
14·   · · · · ·A.· ·No.                                           14·   ·conversation was Brian just trying to make sure we're
15·   · · · · ·Q.· ·Did you ask him?                              15·   ·okay.· I believe that Casey denied that he knew
16·   · · · · ·A.· ·No.                                           16·   ·anything about what happened.· Oh, no.· One thing he
17·   · · · · ·Q.· ·Did you have any other conversations          17·   ·mentioned, he had never spoken with Will before.
18·   ·with Brent Gray after this ended?                          18·   · · · · ·Q.· ·Okay.
19·   · · · · ·A.· ·We had many conversations.· I think both      19·   · · · · ·A.· ·And wasn't even sure clearly who Will
20·   ·of us were just -- I can't speak for him, but just --      20·   ·was, and then he made the comment about, "And then I
21·   ·it was a lot of information thrown at us in a short        21·   ·didn't care for Kyle either because he figured out
22·   ·period of time, and there was a lot of shock and awe.      22·   ·what we were doing."
23·   · · · · ·Q.· ·Do you recall him mentioning anything         23·   · · · · ·Q.· ·And I believe we discussed earlier that
24·   ·about Casey Kirschner in those conversations?              24·   ·this is when you left the room?
25·   · · · · ·A.· ·Brent?· No, I don't recall that.              25·   · · · · ·A.· ·Yes.
                                                       Page 239                                                          Page 240
·1·   · · · · ·Q.· ·Did Brian Watson ever ask you why you         ·1·   ·version of it.
·2·   ·left the room?                                             ·2·   · · · · ·Q.· ·Okay.· Can you now look at Exhibit 14?
·3·   · · · · ·A.· ·I don't recall him asking me, no.             ·3·   · · · · ·A.· ·I have it.
·4·   · · · · ·Q.· ·Did he ever try to explain what Casey         ·4·   · · · · ·Q.· ·Okay.· This is the signed version of
·5·   ·meant by that?                                             ·5·   ·your declaration, correct?
·6·   · · · · ·A.· ·No.                                           ·6·   · · · · ·A.· ·I believe so.
·7·   · · · · ·Q.· ·Did you ask?                                  ·7·   · · · · ·Q.· ·Okay.· Would you ever sign anything
·8·   · · · · ·A.· ·No.                                           ·8·   ·submitted to a court without first reviewing it?
·9·   · · · · ·Q.· ·After this occurred, to the best of your      ·9·   · · · · ·A.· ·No.
10·   ·knowledge, did Brian Watson inform any Amazon employee     10·   · · · · ·Q.· ·And if you stated that you believe
11·   ·aside from Casey Kirschner that Nova WPC, LLC had          11·   ·something to be true, you would mean that, correct?
12·   ·purchased the White Peaks land and sold it to Amazon       12·   · · · · ·A.· ·Correct.
13·   ·on the same day?                                           13·   · · · · ·Q.· ·Is it fair to say that you carefully
14·   · · · · ·A.· ·To anybody else at --                         14·   ·reviewed this declaration before you signed it?
15·   · · · · ·Q.· ·At Amazon.                                    15·   · · · · ·A.· ·I did.
16·   · · · · ·A.· ·No, I'm not aware of that.                    16·   · · · · ·Q.· ·And at the time you signed it, you
17·   · · · · ·Q.· ·Okay.· Let's go back to Lorman Exhibit        17·   ·believed everything in it to be true?
18·   ·7.                                                         18·   · · · · ·A.· ·I did.
19·   · · · · ·A.· ·Okay.· Is this a filing?· Oh, it's my         19·   · · · · ·Q.· ·So it's fair to say that this is your
20·   ·declaration?                                               20·   ·own testimony?
21·   · · · · ·Q.· ·Right.                                        21·   · · · · ·A.· ·Yes.
22·   · · · · ·A.· ·Okay.                                         22·   · · · · ·Q.· ·Okay.· And nobody else's?
23·   · · · · ·Q.· ·I just want to confirm for the record.        23·   · · · · ·A.· ·Correct.
24·   ·You did not sign this declaration, correct?                24·   · · · · ·Q.· ·Let's talk about -- we were just talking
25·   · · · · ·A.· ·I don't believe that I signed this            25·   ·about you didn't raise some of these concerns or have

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·1·   ·some of these conversations with Brian Watson after        ·1·   · · · · ·A.· ·Yeah.
·2·   ·this confrontation.· Did Northstar employees feel          ·2·   · · · · ·Q.· ·Did you feel like Brian Watson was
·3·   ·comfortable raising issues with Brian Watson in            ·3·   ·forthcoming when Northstar employees raised an issue
·4·   ·general?                                                   ·4·   ·to him?
·5·   · · · · ·A.· ·I can't speak to other employees.             ·5·   · · · · ·A.· ·To an extent.
·6·   · · · · ·Q.· ·Did you?                                      ·6·   · · · · ·Q.· ·To an extent.· Can you tell me more
·7·   · · · · ·A.· ·I did.                                        ·7·   ·about what you mean?
·8·   · · · · ·Q.· ·Were you ever present for Northstar           ·8·   · · · · ·A.· ·I don't know that there was full
·9·   ·employees bringing issues to his attention?                ·9·   ·disclosure of all the issues or resolution of the
10·   · · · · ·A.· ·Well, every other week, we had a team         10·   ·issues or that it was a full conversation.
11·   ·meeting, and people would raise their hands and speak      11·   · · · · ·Q.· ·Did you feel like when you raised issues
12·   ·in public; and I assume that other people would meet       12·   ·with him there was full disclosure?
13·   ·with him one on one if they had questions or issues.       13·   · · · · ·A.· ·I do think so.
14·   ·I know Kyle did.· Both the Kyles, Kyle Henderson and       14·   · · · · ·Q.· ·What about with respect to the questions
15·   ·Kyle Ramstetter.                                           15·   ·you asked about Villanova Trust?
16·   · · · · ·Q.· ·In these meetings that you were present       16·   · · · · ·A.· ·So the main questions that I'd asked
17·   ·for when an employee raised an issue with him, how did     17·   ·regarding Villanova Trust were really what was it, who
18·   ·he react?                                                  18·   ·was involved with it, and that was about it.· I didn't
19·   · · · · ·A.· ·It would depend upon the issue.· You          19·   ·drill down too much into it.· It was -- there was
20·   ·know, I can't say that there was, like, one way that       20·   ·aspects of it that made me feel uncomfortable, but I
21·   ·he would react.· It really was varied upon what the        21·   ·didn't explore that.
22·   ·issue was.                                                 22·   · · · · ·Q.· ·So you didn't share with him that you
23·   · · · · ·Q.· ·Did he ever raise his voice?                  23·   ·were uncomfortable?
24·   · · · · ·A.· ·There was times, yeah.                        24·   · · · · ·A.· ·No.
25·   · · · · ·Q.· ·Did he ever get angry?                        25·   · · · · ·Q.· ·Okay.· Earlier, am I correct that you
                                                       Page 243                                                          Page 244
·1·   ·stated you did not know whether Casey Kirschner or         ·1·   ·I believe, a February 13th, 2020 email chain,
·2·   ·Carleton Nelson received a portion of the funds that       ·2·   ·Bates-numbered WDC 0995285 through 52 -- 5290.
·3·   ·Villanova Trust received?                                  ·3·   ·Apologies.· Can you tell us when you see the document?
·4·   · · · · · · · MR. SANDHU:· Objection to the extent it       ·4·   · · · · ·A.· ·I will.
·5·   ·misstates testimony.                                       ·5·   · · · · ·Q.· ·You do?
·6·   · · · · ·A.· ·I did not.· I did not, no.                    ·6·   · · · · ·A.· ·And we're waiting.· Which one are we
·7·   · · · · ·Q.· ·(BY MS. ULLERY)· Did you know that Casey      ·7·   ·looking at, Number 22?
·8·   ·Kirschner and Carleton Nelson did not receive a            ·8·   · · · · · · · MR. SMART:· There it is.· Mine just
·9·   ·portion of the funds that Villanova Trust received?        ·9·   ·showed up.
10·   · · · · ·A.· ·I did not, no.                                10·   · · · · ·A.· ·Yes, 23.· I got it.
11·   · · · · ·Q.· ·So you didn't know either way?                11·   · · · · · · · (Deposition Exhibit 23 was marked.)
12·   · · · · ·A.· ·Either way.                                   12·   · · · · ·Q.· ·(BY MS. ULLERY)· As founder and CEO of
13·   · · · · · · · MS. ULLERY:· Let's take a quick               13·   ·Northstar, did Brian Watson have the final say on any
14·   ·five-minute break, and then I'll finish up my line of      14·   ·actions taken by his company?
15·   ·questioning.                                               15·   · · · · ·A.· ·Yes.
16·   · · · · · · · MR. GARNETT:· Great.· That's terrific.        16·   · · · · ·Q.· ·Did Brian Watson dictate which projects
17·   · · · · · · · THE VIDEOGRAPHER:· The time is 3:01.· We      17·   ·his employees at Northstar should prioritize?
18·   ·are going off the record.                                  18·   · · · · ·A.· ·Yes.
19·   · · · · · · · (Recess taken.)                               19·   · · · · ·Q.· ·Did these projects ever include Brian
20·   · · · · · · · THE VIDEOGRAPHER:· This time is 3:08.         20·   ·Watson's personal projects as opposed to professional
21·   ·We are back on the record.                                 21·   ·projects?
22·   · · · · ·Q.· ·(BY MS. ULLERY)· Mr. Lorman, you              22·   · · · · ·A.· ·Yes.
23·   ·understand you're still under oath?                        23·   · · · · ·Q.· ·Can you take a look at the document?
24·   · · · · ·A.· ·I do.                                         24·   · · · · ·A.· ·Sure.
25·   · · · · ·Q.· ·We're going to be marking as Exhibit 22,      25·   · · · · ·Q.· ·Do you recognize the email?

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·1·   · · · · ·A.· ·Not yet.                                      ·1·   ·condo at Stanley Lake.
·2·   · · · · · · · MR. GARNETT:· And just so we're clear,        ·2·   · · · · ·Q.· ·Sorry.· At where?
·3·   ·Counsel, we're looking at Exhibit 23?                      ·3·   · · · · ·A.· ·Stanley Lake, just on the west side of
·4·   · · · · · · · MS. ULLERY:· Correct.                         ·4·   ·town.· Sloan's Lake?· Sloan's Lake?· Sloan's Lake.
·5·   · · · · · · · MR. GARNETT:· Okay.                           ·5·   ·I'm sorry.
·6·   · · · · ·A.· ·Okay.                                         ·6·   · · · · ·Q.· ·Did Brian Watson ask Jake to assist with
·7·   · · · · ·Q.· ·(BY MS. ULLERY)· So you recognize it?         ·7·   ·his personal loan application for this property?
·8·   · · · · ·A.· ·I do.                                         ·8·   · · · · ·A.· ·I believe so.
·9·   · · · · ·Q.· ·In this email, did Brian Watson forward       ·9·   · · · · ·Q.· ·Can you direct your attention to Jake's
10·   ·you an email thread between himself and Jake,              10·   ·response to Brian Watson on February 13th, 2020, where
11·   ·apologies if I mispronounce, Meilach?                      11·   ·he says, quote, I have a very full plate of pressing
12·   · · · · · · · MR. SANDHU:· Objection, form.                 12·   ·NCP-related deals and this is another personal
13·   · · · · ·A.· ·He did.                                       13·   ·administrative exercise that I can't spend time on?
14·   · · · · ·Q.· ·(BY MS. ULLERY)· And who is Jake?             14·   ·Do you see that?
15·   · · · · ·A.· ·Jake handled our debt acquisition.            15·   · · · · ·A.· ·Yeah, I'm just scrolling up here.· Yeah.
16·   · · · · ·Q.· ·Can you take a look at the very first         16·   · · · · ·Q.· ·And do you see Brian Watson's response
17·   ·email in the chain between Jeri Shoop and Brian Watson     17·   ·where he says that, quote, "NCP put up the EMD and we
18·   ·where Jeri Shoop says, quote, Thank you for contacting     18·   ·need to protect it.· Any of my interests are interests
19·   ·me to help you finance your investment at the lake         19·   ·the team should work on"?
20·   ·house.· Do you see that?                                   20·   · · · · ·A.· ·Yep.
21·   · · · · ·A.· ·Okay, here it is.· Jeri Shoop.                21·   · · · · ·Q.· ·What does it mean for NCP to have put up
22·   · · · · · · · Okay.                                         22·   ·the EMD?
23·   · · · · ·Q.· ·Do you know what this lake house              23·   · · · · · · · MR. GARNETT:· Objection to form and
24·   ·investment was?                                            24·   ·foundation.
25·   · · · · ·A.· ·I do not.· I assume that this was the         25·   · · · · ·A.· ·I'm drawing a blank on what the acronym
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·1·   ·stands for.                                                ·1·   · · · · ·Q.· ·Was this the first time that Mr. Watson
·2·   · · · · ·Q.· ·(BY MS. ULLERY)· Is EMD earnest money         ·2·   ·had asked a Northstar employee to assist with a
·3·   ·deposit?                                                   ·3·   ·personal purchase?
·4·   · · · · ·A.· ·Oh, yeah.                                     ·4·   · · · · ·A.· ·I don't believe so.
·5·   · · · · · · · MR. SANDHU:· Objection; form,                 ·5·   · · · · ·Q.· ·To your knowledge, was this the first
·6·   ·foundation.                                                ·6·   ·time that Mr. Watson had used Northstar funds to help
·7·   · · · · · · · MR. GARNETT:· Also relevance.                 ·7·   ·pay for a personal purchase?
·8·   · · · · ·Q.· ·(BY MS. ULLERY)· So back to my original       ·8·   · · · · ·A.· ·I'm not aware of what else he purchased.
·9·   ·question.· What would it mean for NCP to put up the        ·9·   · · · · ·Q.· ·During your employment at Northstar, did
10·   ·EMD?                                                       10·   ·you witness Brian Watson mix personal and company
11·   · · · · ·A.· ·That means that, according to this, NCP,      11·   ·funds on more than one occasion?
12·   ·the company, had paid the earnest money deposit for        12·   · · · · · · · MR. GARNETT:· Objection, relevance.
13·   ·the development.                                           13·   ·It's not relevant to this lawsuit.
14·   · · · · ·Q.· ·So Mr. Watson used Northstar financials       14·   · · · · ·A.· ·So because I had no exposure to any of
15·   ·to pay the earnest money deposit for the property?         15·   ·the financial information, I had anecdotal
16·   · · · · · · · MR. SANDHU:· Objection, form.                 16·   ·conversations with both Kristi, Brent, and Jake that
17·   · · · · ·A.· ·According to this, yes.                       17·   ·indicated that was the case.
18·   · · · · ·Q.· ·(BY MS. ULLERY)· Okay.· And this was a        18·   · · · · ·Q.· ·(BY MS. ULLERY)· What did they say?
19·   ·personal home purchase?                                    19·   · · · · ·A.· ·Just that -- it was a little complicated
20·   · · · · ·A.· ·Yes.                                          20·   ·how money flowed in and out of the entities, and money
21·   · · · · ·Q.· ·When he forwarded you this email,             21·   ·would go into -- and this is, like, the real fringe of
22·   ·Mr. Watson said that, quote, As the person that pays       22·   ·my understanding because I didn't have exposure to how
23·   ·them, they need to work on my items I request, whether     23·   ·the finances worked, but I believe cars and some other
24·   ·personal or professional.· Do you see that?                24·   ·things were -- the apartment downtown were all
25·   · · · · ·A.· ·I do.                                         25·   ·purchased by NCP or WDC.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·Did Brent Gray ever complain to you           ·1·   · · · · ·Q.· ·Do you know whether your wife ever
·2·   ·about these types of purchases?                            ·2·   ·worked with Casey Kirschner?
·3·   · · · · ·A.· ·He was frustrated.                            ·3·   · · · · ·A.· ·She has not.
·4·   · · · · ·Q.· ·Why was he frustrated?                        ·4·   · · · · ·Q.· ·Do you know whether she ever worked with
·5·   · · · · ·A.· ·I don't -- he alluded to the fact that        ·5·   ·Carleton Nelson?
·6·   ·he didn't feel it was appropriate.                         ·6·   · · · · ·A.· ·She has not.
·7·   · · · · ·Q.· ·What about Kristi Fisher?                     ·7·   · · · · ·Q.· ·So their paths never crossed?
·8·   · · · · ·A.· ·She was frustrated as well, too.              ·8·   · · · · ·A.· ·No.
·9·   · · · · ·Q.· ·For the same reason?                          ·9·   · · · · ·Q.· ·Has your wife ever worked on the
10·   · · · · ·A.· ·Yes.                                          10·   ·transactions between Northstar and Amazon?
11·   · · · · ·Q.· ·Earlier, I believe you mentioned that         11·   · · · · ·A.· ·No.
12·   ·your wife works for Amazon, right?                         12·   · · · · ·Q.· ·Have you discussed this matter at all
13·   · · · · ·A.· ·Correct.                                      13·   ·with your wife?
14·   · · · · ·Q.· ·How long has she worked there?                14·   · · · · ·A.· ·Yes.
15·   · · · · ·A.· ·She started October-ish in 2019.· It's        15·   · · · · ·Q.· ·What have you discussed?
16·   ·in one of the documents.                                   16·   · · · · ·A.· ·Just what we were going through.
17·   · · · · ·Q.· ·And what is her job title?                    17·   · · · · ·Q.· ·Has your wife ever asked you to take any
18·   · · · · ·A.· ·She is a construction job manager.            18·   ·action related to this matter in order to benefit
19·   · · · · ·Q.· ·Do you know what office she is based in?      19·   ·Amazon?
20·   · · · · ·A.· ·Our house.· She works for AMZL, so she        20·   · · · · ·A.· ·No.
21·   ·works on the transportation team for logistics.            21·   · · · · ·Q.· ·Has your wife ever asked you to say
22·   · · · · ·Q.· ·Where is that office located?                 22·   ·anything that you believed to be untrue as it relates
23·   · · · · ·A.· ·I don't know that they have a specific        23·   ·to this matter?
24·   ·office.· They're distributed all across the country.       24·   · · · · ·A.· ·No.
25·   ·A number of people work out of Seattle.                    25·   · · · · ·Q.· ·So is it fair to say that your wife's
                                                       Page 251                                                          Page 252
·1·   ·employment with Amazon has not impacted the accuracy       ·1·   ·I'll call conflict of interest questions.
·2·   ·of your statements and representations in this matter      ·2·   · · · · ·A.· ·Okay.
·3·   ·in any way?                                                ·3·   · · · · ·Q.· ·First of all, about your wife.· And I'm
·4·   · · · · · · · MR. SANDHU:· Objection, form.                 ·4·   ·assuming the reason they're asking those questions is
·5·   · · · · ·A.· ·Correct.                                      ·5·   ·because people are concerned it might look a little
·6·   · · · · · · · MR. SMART:· Same objection.                   ·6·   ·odd that your wife got this job at Amazon right after
·7·   · · · · · · · MS. ULLERY:· All right.· I'll pass the        ·7·   ·you took over responsibility on the -- for the Amazon
·8·   ·witness.                                                   ·8·   ·projects at Northstar, right?
·9·   · · · · · · · MR. GARNETT:· Thank you.                      ·9·   · · · · · · · MS. ULLERY:· Objection, misstates
10·   · · · · · · · Mr. Lorman, I do have a few follow-up         10·   ·testimony and form.
11·   ·questions.· Would you prefer I sit in Mr. Sandhu's         11·   · · · · ·Q.· ·(BY MR. GARNETT)· Do you think that's
12·   ·chair?                                                     12·   ·why people might be asking about that?
13·   · · · · · · · Okay.· Great.                                 13·   · · · · ·A.· ·I have no clue why they would be.
14·   · · · · · · · MR. SANDHU:· Stan, if you want me to          14·   · · · · ·Q.· ·And your testimony is that even though
15·   ·leave my computer here, you can have access to the         15·   ·your wife works at Amazon, that hasn't influenced
16·   ·exhibits.                                                  16·   ·anything about what you're saying here today?
17·   · · · · · · · MR. GARNETT:· I wouldn't know what to do      17·   · · · · ·A.· ·No.
18·   ·with it.· Thank you.                                       18·   · · · · ·Q.· ·Now, with regard to the -- you just saw
19·   · · · · · · · · · · · EXAMINATION                           19·   ·some emails about what Mr. Watson calls the lake
20·   ·BY MR. GARNETT:                                            20·   ·house.· Do you know what I'm talking about?
21·   · · · · ·Q.· ·So, Mr. Lorman, are you still doing all       21·   · · · · ·A.· ·I do.
22·   ·right?                                                     22·   · · · · ·Q.· ·And that's the property out by -- is it
23·   · · · · ·A.· ·I'm doing great.                              23·   ·Sloan's Lake or Stanley Lake?
24·   · · · · ·Q.· ·You are doing great.· Let me follow up.       24·   · · · · ·A.· ·I'm not quite sure.· It's one of the
25·   ·Counsel was asking you some questions that I guess         25·   ·two.

                                                        EXHIBIT 4
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·1·   · · · · ·Q.· ·And your understanding is that that           ·1·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Well, you
·2·   ·property was being -- at least the down payment was        ·2·   ·certainly didn't think there was anything
·3·   ·being paid by Northstar.· Is that what you understood?     ·3·   ·inappropriate about that, did you?
·4·   · · · · ·A.· ·Correct.                                      ·4·   · · · · ·A.· ·No.
·5·   · · · · ·Q.· ·Now, when you came to Northstar,              ·5·   · · · · ·Q.· ·Okay.· Now, you're aware that an
·6·   ·Mr. Lorman, you had done some research of the company,     ·6·   ·injunction has been imposed by the court requiring
·7·   ·right?                                                     ·7·   ·Mr. Watson to post with the court more than
·8·   · · · · ·A.· ·Uh-huh.                                       ·8·   ·$21 million.· Are you aware of that?
·9·   · · · · ·Q.· ·Yes?                                          ·9·   · · · · ·A.· ·I am.
10·   · · · · ·A.· ·Yes.                                          10·   · · · · ·Q.· ·You've read about that in the paper?
11·   · · · · ·Q.· ·And you knew that, in fact, Northstar         11·   · · · · ·A.· ·Uh-huh.
12·   ·had been founded by Mr. Watson, right?                     12·   · · · · ·Q.· ·And you probably know that Mr. Watson
13·   · · · · ·A.· ·Yes.                                          13·   ·has had some difficulty with that, right?
14·   · · · · ·Q.· ·And, in fact, that Mr. Watson was             14·   · · · · · · · MS. ULLERY:· Objection, form.
15·   ·basically the guy that ran Northstar, right?               15·   · · · · ·A.· ·Apparently, yeah.
16·   · · · · ·A.· ·Yes.                                          16·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Do you have any
17·   · · · · ·Q.· ·And, in fact, that he was the sole owner      17·   ·idea from what you know about these transactions as to
18·   ·of the LLC WDC Holdings, right?                            18·   ·why the Court would order Mr. Watson to post 21. --
19·   · · · · ·A.· ·Yes.                                          19·   ·almost $21.5 million with the court?
20·   · · · · ·Q.· ·And that that was not only totally            20·   · · · · ·A.· ·No.
21·   ·legal, but you knew all about that before you went to      21·   · · · · ·Q.· ·Is there anything about anything you've
22·   ·work there, right?                                         22·   ·seen in the record here that would explain that amount
23·   · · · · · · · MS. ULLERY:· Objection, calls for a           23·   ·that would have to be posted by Mr. Watson and WDC
24·   ·legal conclusion and form.                                 24·   ·Holdings?
25·   · · · · ·A.· ·Yes.                                          25·   · · · · · · · MS. ULLERY:· Objection, form.
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·1·   · · · · ·A.· ·No.                                           ·1·   ·and Mr. Watson's reaction to White Peaks was both
·2·   · · · · ·Q.· ·(BY MR. GARNETT)· And you were the COO        ·2·   ·pretty intense and pretty understandable, from what I
·3·   ·of Northstar, right?                                       ·3·   ·understand of what you've said.· Is that a fair
·4·   · · · · ·A.· ·Correct.                                      ·4·   ·summary?
·5·   · · · · ·Q.· ·During the relevant time when all of          ·5·   · · · · · · · MS. ULLERY:· Objection, form.
·6·   ·these things were coming to a head with Amazon, right?     ·6·   · · · · ·A.· ·Yes.
·7·   · · · · ·A.· ·Correct.                                      ·7·   · · · · ·Q.· ·(BY MR. GARNETT)· And Mr. Smart asked
·8·   · · · · ·Q.· ·And you didn't see anything in the            ·8·   ·you in passing something about the fact that IPI had
·9·   ·records of Amazon -- or of Northstar that would            ·9·   ·helped to fund White Peaks.· Did you know that before
10·   ·explain why an injunction of $21 million would make        10·   ·today?
11·   ·any sense, correct?                                        11·   · · · · · · · MS. ULLERY:· Objection, misstates
12·   · · · · · · · MS. ULLERY:· Objection, form.                 12·   ·testimony and form.
13·   · · · · ·A.· ·Yeah, I don't understand the calculus         13·   · · · · ·A.· ·No.
14·   ·behind it.                                                 14·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Now that you
15·   · · · · ·Q.· ·(BY MR. GARNETT)· Sure.· Are you aware        15·   ·know that IPI was involved in helping to fund the
16·   ·that a receiver has been put in place to take control      16·   ·White Peaks transaction that was a theft of corporate
17·   ·over Mr. Watson's personal finances and also WDC           17·   ·opportunity for Northstar, does that cause you any
18·   ·Holdings?                                                  18·   ·concern?
19·   · · · · ·A.· ·I am.                                         19·   · · · · · · · MS. ULLERY:· Objection, assumes facts
20·   · · · · ·Q.· ·And are you aware that that receiver,         20·   ·not in evidence.
21·   ·among other things, is handling the sale of this lake      21·   · · · · ·A.· ·I would -- this is all new information,
22·   ·house that counsel was asking you about?                   22·   ·so I'd have to think through it.
23·   · · · · ·A.· ·I am now.                                     23·   · · · · ·Q.· ·(BY MR. GARNETT)· Sure.· If you had
24·   · · · · ·Q.· ·Okay.· So Mr. Smart was asking you --         24·   ·known that back in January, do you think you would
25·   ·let's circle back about White Peaks.· So White Peaks       25·   ·have gone out to Chicago to meet with an IPI

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·1·   ·representative and talk about the Villanova Trust          ·1·   · · · · ·A.· ·So I'm not sure what conclusion I jumped
·2·   ·situation?                                                 ·2·   ·to.· I simply wanted to know if they were aware of the
·3·   · · · · · · · MS. ULLERY:· Objection, form.                 ·3·   ·referral agreement because there were some referral
·4·   · · · · ·A.· ·I believe so, yes.                            ·4·   ·agreements that were disclosed and apparently some
·5·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Do you think         ·5·   ·that weren't, and I was trying to sort out what was
·6·   ·that IP -- knowing this now, do you think that IPI         ·6·   ·exactly going on.
·7·   ·could be trusted with information about the financial      ·7·   · · · · ·Q.· ·(BY MR. GARNETT)· Well, you were not
·8·   ·situation at Northstar?                                    ·8·   ·only working for Northstar; you were getting paid by
·9·   · · · · · · · MS. ULLERY:· Objection, form.                 ·9·   ·Northstar more than you'd been paid in any other job.
10·   · · · · ·A.· ·I'm not sure how the knowledge that they      10·   ·Don't you think you had an obligation to bring that to
11·   ·participated in one transaction would impact their         11·   ·Mr. Watson's attention --
12·   ·credibility in giving information.· I'm not drawing        12·   · · · · · · · MS. ULLERY:· Objection --
13·   ·the connection between the two.                            13·   · · · · ·Q.· ·-- before you took it to IPI?
14·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Well, and I'm        14·   · · · · · · · MS. ULLERY:· Objection, argumentative.
15·   ·not here to argue with you.· At least I'm not supposed     15·   · · · · ·A.· ·I don't know.
16·   ·to argue with you, so let me ask it this way.              16·   · · · · ·Q.· ·(BY MR. GARNETT)· What about Matt Ahern?
17·   · · · · · · · It's puzzling to hear you talk.· Here         17·   ·Was he involved in any of your conversations?· Or was
18·   ·you are the COO of Northstar, and you talk about being     18·   ·it just Luke Gilpin that you know of?
19·   ·hesitant to bring information to Brian Watson's            19·   · · · · ·A.· ·I spoke to Matt Ahern.· We talked in two
20·   ·attention; and yet you jumped to conclusions about         20·   ·meetings -- I think Brian was in one of them, and
21·   ·Villanova, take that to IPI's attention without even       21·   ·several of us were in another -- where we tried to
22·   ·telling Mr. Watson.· Can you understand why that might     22·   ·talk about what our go-forward strategy was after the
23·   ·seem a little odd?                                         23·   ·White Peaks transaction.· So I've had a couple
24·   · · · · · · · MS. ULLERY:· Objection; form, misstates       24·   ·conversations with Matt.
25·   ·testimony.                                                 25·   · · · · ·Q.· ·And when you talk about meetings, I'm
                                                       Page 259                                                          Page 260
·1·   ·assuming just from context that these were phone           ·1·   · · · · ·A.· ·It would have been helpful to have all
·2·   ·conference meetings?                                       ·2·   ·the information available.
·3·   · · · · ·A.· ·No, we flew to Chicago twice.                 ·3·   · · · · ·Q.· ·(BY MR. GARNETT)· Sure.· In particularly
·4·   · · · · ·Q.· ·And you met with Mr. Ahern in person?         ·4·   ·the White Peaks transaction, that was such kind of a
·5·   · · · · ·A.· ·Yes.                                          ·5·   ·flash point in changing everything.· To know that IPI
·6·   · · · · ·Q.· ·Okay.· And that was because you were          ·6·   ·was behind that, would that have been important to you
·7·   ·wanting to make sure that the relationship with IPI        ·7·   ·to know?
·8·   ·was not damaged with White Peaks?                          ·8·   · · · · · · · MS. ULLERY:· Objection, assumes facts
·9·   · · · · ·A.· ·Yes, absolutely.· We were absolutely          ·9·   ·not in evidence.
10·   ·concerned.· After what happened with the White Peaks       10·   · · · · ·A.· ·Yes.
11·   ·transaction, they had questions about now with Kyle        11·   · · · · ·Q.· ·(BY MR. GARNETT)· Okay.· Now, this 1.3
12·   ·and Will being gone how were we going to perform as a      12·   ·million amount that you mentioned that you were
13·   ·development partner.                                       13·   ·concerned about in December, if I'm understanding what
14·   · · · · ·Q.· ·And did Mr. Ahern or anybody from IPI         14·   ·you're saying, you had questions about that, and then
15·   ·tell you they had funded the White Peaks transaction?      15·   ·from your review of documents, you were never able to
16·   · · · · ·A.· ·No.                                           16·   ·quite figure out how that fit into the arrangements.
17·   · · · · · · · MS. ULLERY:· Objection, assumes facts         17·   ·Is that right?
18·   ·not in evidence.                                           18·   · · · · ·A.· ·To be clear, the first group to raise
19·   · · · · ·Q.· ·(BY MR. GARNETT)· Well, if that was           19·   ·concerns about it was IPI, not me, and so they asked
20·   ·true, don't you think they should have told you that?      20·   ·me to look into it.· So that's when we started to
21·   · · · · · · · MS. ULLERY:· Objection, form.                 21·   ·track it down.
22·   · · · · ·Q.· ·(BY MR. GARNETT)· In hindsight, don't         22·   · · · · ·Q.· ·So that's -- then you called Casey
23·   ·you wish you would have known that when you were           23·   ·Kirschner, and he indicated that they were not going
24·   ·flying out to meet with them?                              24·   ·to fund that?
25·   · · · · · · · MS. ULLERY:· Objection, form.                 25·   · · · · ·A.· ·I believe Brian and I had a conversation

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·1·   ·as well, too, and Brian said that should certainly be      ·1·   ·concern about this acquisition fee?
·2·   ·in the lease, talk to Casey.                               ·2·   · · · · · · · MS. ULLERY:· Same objections.
·3·   · · · · ·Q.· ·And were you aware that, in fact, IPI         ·3·   · · · · ·A.· ·Yes, about the acquisition fee.· I'm
·4·   ·had in documents approved that precise amount almost a     ·4·   ·sorry if I misunderstood the question.
·5·   ·year prior to that time?                                   ·5·   · · · · · · · MR. GARNETT:· Okay.· I think,
·6·   · · · · · · · MS. ULLERY:· Objection, form.                 ·6·   ·Mr. Lorman, I'm pretty close to being done, like
·7·   · · · · ·A.· ·I don't recall what we knew what IPI had      ·7·   ·literally very close, but can you give me just a
·8·   ·done.· I mean, they would have had to have approved        ·8·   ·couple minutes to chat with my client and we'll wrap
·9·   ·it, I would think, in order for that to be taking          ·9·   ·up?
10·   ·place, and I think as we were doing deeper review          10·   · · · · · · · THE DEPONENT:· Sure.
11·   ·under the finances based upon the issues that we had       11·   · · · · · · · MR. GARNETT:· Great.
12·   ·with the draw that that came to their attention again.     12·   · · · · · · · THE VIDEOGRAPHER:· The time is 3:27.
13·   · · · · ·Q.· ·(BY MR. GARNETT)· And, obviously, IPI         13·   ·We're going off the record.
14·   ·was able to use that issue, from your testimony,           14·   · · · · · · · (Recess taken.)
15·   ·eventually to terminate Mr. Watson as the manager of       15·   · · · · · · · THE VIDEOGRAPHER:· The time is 3:31.· We
16·   ·these entities on April 2nd in those letters that you      16·   ·are back on the record.
17·   ·received; is that right?                                   17·   · · · · · · · MR. GARNETT:· Mr. Lorman, thank you very
18·   · · · · · · · MS. ULLERY:· Objection, misstates             18·   ·much.· I don't have any further questions.
19·   ·testimony and form.                                        19·   · · · · · · · THE DEPONENT:· Oh, okay.· Great.
20·   · · · · ·A.· ·I don't know what they used.                  20·   · · · · · · · MS. ULLERY:· Mr. Smart?
21·   · · · · ·Q.· ·(BY MR. GARNETT)· And maybe I                 21·   · · · · · · · MR. GARNETT:· Mr. Smart, do you have
22·   ·misunderstood, but didn't you testify earlier that it      22·   ·anything?
23·   ·was your understanding that the reason they terminated     23·   · · · · · · · MR. SMART:· Unfortunately, I have a few,
24·   ·Mr. Watson on April 2nd in those letters that you          24·   ·but they shouldn't take long.
25·   ·received and then sent to him was because of their         25·   · · · · · · · THE DEPONENT:· You Florida people, I'm
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·1·   ·telling you what.                                          ·1·   · · · · ·A.· ·With the exhibit?
·2·   · · · · · · · · · · · EXAMINATION                           ·2·   · · · · ·Q.· ·(BY MR. SMART)· Exhibit 1.· And we'll go
·3·   ·BY MR. SMART:                                              ·3·   ·to Exhibit A to Exhibit 1, sorry, the very last page
·4·   · · · · ·Q.· ·When is the last time you spoke to Matt       ·4·   ·with the chart.
·5·   ·Ahern?                                                     ·5·   · · · · ·A.· ·With the chart.· Yeah.
·6·   · · · · ·A.· ·It was in one of our in-person meetings       ·6·   · · · · ·Q.· ·I'm focusing in on the manager's net
·7·   ·the fall of 2019.                                          ·7·   ·profits interest percentage column there.
·8·   · · · · ·Q.· ·Okay.· And when was the last time you         ·8·   · · · · ·A.· ·Yes.
·9·   ·spoke to Luke Gilpin?                                      ·9·   · · · · ·Q.· ·I just want to clarify something.· That
10·   · · · · ·A.· ·Probably February or March of 2020.           10·   ·portion of the chart, it is referring to a sale of the
11·   · · · · · · · MR. SMART:· And let's pull up real quick      11·   ·property that is subject to the lease, correct?
12·   ·Exhibit 7.· I don't know.· If someone else has             12·   · · · · ·A.· ·Correct.
13·   ·control, they can do it.· It doesn't matter to me. I       13·   · · · · ·Q.· ·Okay.· So it is part of a -- it is not
14·   ·just want to get to the last page of it.· I'm sorry.       14·   ·necessarily a part of the lease transaction, but it's
15·   · · · · ·A.· ·Which exhibit am I looking at?                15·   ·part of the overall sort of running of that process,
16·   · · · · · · · MR. GARNETT:· 7 is --                         16·   ·that there can be a sale of that underlying property
17·   · · · · · · · MR. SMART:· No, I'm looking at -- hold        17·   ·during the lease transaction or the (inaudible)?
18·   ·on.· I'll tell you.                                        18·   · · · · · · · MS. ULLERY:· Objection, form.
19·   · · · · · · · MR. GARNETT:· Are you looking for the         19·   · · · · · · · THE COURT REPORTER:· I'm sorry.· "Lease
20·   ·declaration?                                               20·   ·transaction or the" --
21·   · · · · · · · MR. SMART:· No, I'm not.· It's actually       21·   · · · · ·Q.· ·(BY MR. SMART)· Let me rephrase the
22·   ·Exhibit 1.                                                 22·   ·question.· I believe there was a question by counsel
23·   · · · · · · · MR. GARNETT:· Okay.                           23·   ·that that involves a sale transaction, and I know
24·   · · · · · · · MR. SMART:· The independent contractor        24·   ·technically it does involve a sales transaction, but I
25·   ·agreement.· I want to get to the last page.                25·   ·want to make sure the record is clear that when you

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·1·   ·have a built-to-lease transaction that there can be a      ·1·   ·and DRG, did you found a company or anything like
·2·   ·sale that occurs within the context of the property        ·2·   ·that?
·3·   ·that is subject to that build-to-suit lease                ·3·   · · · · ·A.· ·No.
·4·   ·transaction, correct?                                      ·4·   · · · · · · · MS. ULLERY:· Objection, form.
·5·   · · · · ·A.· ·Correct.                                      ·5·   · · · · ·Q.· ·(BY MR. SMART)· Okay.· Have you founded
·6·   · · · · ·Q.· ·And that column there is referring to if      ·6·   ·a company at any time since leaving Northstar?
·7·   ·a sale like that occurs, that is what that column is       ·7·   · · · · ·A.· ·I was looking at doing an acquisition,
·8·   ·referring to with respect to the fees in that chart,       ·8·   ·and we formed an entity associated with anticipation
·9·   ·correct?                                                   ·9·   ·of acquiring another business, but it never -- never
10·   · · · · ·A.· ·Correct.                                      10·   ·happened.
11·   · · · · · · · MR. SMART:· Okay.· That's it on that.         11·   · · · · ·Q.· ·Okay.· What kind of business was that?
12·   ·We can take that down.                                     12·   · · · · ·A.· ·I was looking at a couple of different
13·   · · · · ·Q.· ·(BY MR. SMART)· Last topic.· During --        13·   ·businesses.· One was a construction business that did
14·   ·you worked for Cushman for a little bit of time after      14·   ·part of residential construction.· I was looking at a
15·   ·Northstar?                                                 15·   ·couple of others.· One was a waste removal business.
16·   · · · · ·A.· ·I did.                                        16·   ·I'm trying to think of anything.· A cookie shop.
17·   · · · · ·Q.· ·And were they soliciting transactions         17·   ·That's right, because I love cookies, but, yeah, if
18·   ·with Amazon during your time there?                        18·   ·there was any entities that were formed, it was
19·   · · · · ·A.· ·Not to the best of my knowledge.              19·   ·associated with that.
20·   · · · · ·Q.· ·Okay.· And you're now with DRGinvest?         20·   · · · · · · · MR. SMART:· Okay.· Just one second.
21·   · · · · ·A.· ·Correct.                                      21·   · · · · · · · All right.· I don't have any further
22·   · · · · ·Q.· ·And have they been soliciting                 22·   ·questions.· Thank you for your time today.
23·   ·transactions with Amazon during your time there?           23·   · · · · · · · THE DEPONENT:· Great.· Thanks a lot.
24·   · · · · ·A.· ·No.                                           24·   · · · · · · · MS. ULLERY:· Nothing further from us.
25·   · · · · ·Q.· ·And then, between your time at Cushman        25·   · · · · · · · THE VIDEOGRAPHER:· The time is 3:37.· We
                                                       Page 267                                                                 Page 268
                                                                  ·1· · · · · · · · I, TIMOTHY LORMAN, do hereby certify
·1·   ·are going off the record.· This will complete the
                                                                  ·2· ·that I have read the foregoing transcript and that the
·2·   ·deposition for this witness.
                                                                  ·3· ·same and accompanying amendment sheets, if any,
·3·   · · · · · · · · (The deposition concluded at
                                                                  ·4· ·constitute a true and complete record of my testimony.
·4·   ·3:37 p.m., March 11, 2022.)
                                                                  ·5
·5
                                                                  ·6· · · · · · · · · · · · · · · ___________________________
·6
                                                                  ·7· · · · · · · · · · · · · · · Signature of Deponent
·7
                                                                  ·8
·8
                                                                  ·9· · · · · · · · · · · · · · · (· · ·) No amendments
·9
                                                                  10· · · · · · · · · · · · · · · (· · ·) Amendments attached
10
                                                                  11
11
                                                                  12
12
                                                                  13· · · · · · · · Acknowledged before me this _____ day of
13
                                                                  14· ·___________________, 2022.
14
                                                                  15
15
                                                                  16· · · · · · · · Notary Public:· ________________________
16
                                                                  17· · · · · · · · My commission expires ___________________
17
                                                                  18· · · · · · · · Seal:
18
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                                                           EXHIBIT 4
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·1· · · · · · · · · ·REPORTER'S CERTIFICATE                               ·1·   ·AB LITIGATION SERVICES
                                                                          · ·   ·216 - 16th Street, Suite 600
·2· ·STATE OF COLORADO· · · · · )
                                                                          ·2·   ·Denver, Colorado· 80202
·3· · · · · · · · · · · · · · · )· ss.                                    ·3·   ·March 22, 2022
                                                                          ·4·   ·Stanley L. Garnett, Esq.
·4· ·CITY AND COUNTY OF DENVER· )
                                                                          · ·   ·410 17th Street, Suite 2200
·5· · · · · · I, SANDRA L. BRAY, do hereby certify that I                 ·5·   ·Denver, Colorado 80202
                                                                          ·6·   ·Re:· Deposition of TIMOTHY LORMAN
·6· ·am a Registered Diplomate Reporter, Certified Realtime
                                                                          · ·   · · · Amazon.com Inc v. WDC Holdings LLC
·7· ·Reporter, and Notary Public within the State of                      ·7·   · · · Case No. 1:20-cv-484-RDA-TCB
                                                                          ·8·   ·The aforementioned deposition is ready for
·8· ·Colorado; that previous to the commencement of the
                                                                          · ·   ·reading and signing.· Please attend to this
·9· ·examination, the deponent was duly sworn or affirmed                 ·9·   ·matter by following BOTH of the items indicated
                                                                          · ·   ·below:
10· ·to testify to the truth.
                                                                          10
11· · · · · · I further certify that this deposition was                  · ·   ·_____ Call 303-296-0017 and arrange with us
                                                                          11·   · · · ·to read and sign the deposition in our
12· ·taken in shorthand by me at the time and place herein                · ·   · · · ·office
13· ·set forth and was thereafter reduced to typewritten                  12
                                                                          · ·   ·_XXX_ Have the deponent read your copy and sign
14· ·form, and that the foregoing constitutes a true and                  13·   · · · ·the signature page and amendment sheets, if
15· ·correct transcript.                                                  · ·   · · · ·applicable; the signature page is attached
                                                                          14
16· · · · · · I further certify that I am no related to,                  · ·   ·_____ Read the enclosed copy of the deposition
17· ·employed by, nor of counsel for any of the parties or                15·   · · · ·and sign the signature page and amendment
                                                                          · ·   · · · ·sheets, if applicable; the signature page
18· ·attorneys herein, nor otherwise interested in the                    16·   · · · ·is attached
19· ·result of the within action.                                         17·   ·_XXX_ WITHIN 30 DAYS OF THE DATE OF THIS LETTER
                                                                          18·   ·_____ By _______ due to a trial date of________
20· · · · · · In witness whereof, I have affixed my                       19·   ·Please be sure the original signature page and
21· ·signature this 15th of March, 2022.                                  · ·   ·amendment sheets, if any, are SIGNED BEFORE A
                                                                          20·   ·NOTARY PUBLIC and returned to AB Litigation Services
22· · · · · · My commission expires January 17, 2024.                     · ·   ·for filing with the original deposition.· A copy
23                                                                        21·   ·of these changes should also be forwarded to
                                                                          · ·   ·counsel of record.· Thank you.
· · · · · · · · · · ·__________________________________                   22
24· · · · · · · · · · · Sandra L. Bray                                    · ·   ·AB LITIGATION SERVICES
                                                                          23
· · · · · · · · · · · · Registered Diplomate Reporter                     · ·   ·cc:· All Counsel
25· · · · · · · · · · · Certificate Realtime Reporter                     24
                                                                          25

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· · ·216 - 16th Street, Suite 600
                                                                          · · · · · ·Deposition of TIMOTHY LORMAN
·2· ·Denver, Colorado· 80202
·3                                                                        · · · · · · · · · March 11, 2022
·4                                                                        · · · · Amazon.com Inc v. WDC Holdings LLC
·5· · · · · · · · · · ·TIMOTHY LORMAN
                                                                          · · · · · ·Case No. 1:20-cv-484-RDA-TCB
· · · · · · · · · · · ·March 11, 2022
·6· · · · · · Amazon.com Inc v. WDC Holdings LLC                          The deponent wishes to make the following changes
· · · · · · · · ·Case No. 1:20-cv-484-RDA-TCB                             in the testimony as originally given:
·7
                                                                          Page· Line· · · · · ·Should Read· · · · · Reason
·8
·9· ·The original deposition was filed with                               ____· ____· ___________________________· ________
10· ·Stanley L. Garnett, Esq. on approximately                            ____· ____· ___________________________· ________
11· ·the 22nd day of March, 2022.
                                                                          ____· ____· ___________________________· ________
12· ·_____ Signature waived
13· ·_____ Signature not requested                                        ____· ____· ___________________________· ________
14· ·_____ Unsigned; signed signature page and                            ____· ____· ___________________________· ________
· · · · · ·amendment sheets, if any, to be filed at
                                                                          ____· ____· ___________________________· ________
15· · · · ·trial
16· ·_XXX_ Unsigned; original amendment sheets and/or                     ____· ____· ___________________________· ________
· · · · · ·signature pages should be forwarded to                         ____· ____· ___________________________· ________
17· · · · ·AB Litigation Services to be filed in the
· · · · · ·envelope attached to the sealed original                       ____· ____· ___________________________· ________

18                                                                        ____· ____· ___________________________· ________
19
                                                                          ____· ____· ___________________________· ________
· · ·Thank you.
20                                                                        ____· ____· ___________________________· ________
· · ·AB LITIGATION SERVICES                                               Signature of Deponent: __________________________
21
                                                                          Acknowledged before me this ____ day of _________,
· · ·cc:· All Counsel
22                                                                        20___.
23                                                                        (seal)· · · ·Notary's signature _________________
24
                                                                          · · · · · · ·My commission expires_______________
25


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